Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 1 of 172




            EXHIBIT 5
    Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 2 of 172




                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK




In re: AMLA LITIGATION                 Consolidated Case No. 1:16-cv-06593 (JSR)




       EXPERT REBUTTAL REPORT OF DR. JONATHAN D. HIBBARD

                    SUBMITTED IN RESPONSE TO
           THE EXPERT REPORT OF J. MICHAEL DENNIS, PH.D.
         Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 3 of 172



Table of Contents

Background and My Qualifications ..............................................................................................p.1

Materials Reviewed and Compensation .......................................................................................p.2

Overview of this Report ................................................................................................................p.4

Dennis Survey and Dennis Report

          Summary of the Dennis Survey and Dennis Report .........................................................p.4

          Summary of My Opinions Regarding the Dennis Survey and Dennis Report ...............p.10

          My Opinions Regarding the Dennis Survey and Dennis Report ....................................p.12

          Conclusions Regarding the Dennis Survey and Dennis Report......................................p.28

Hibbard Survey

          Summary of the Hibbard Survey ....................................................................................p.29

          Hibbard Survey Methodology......................................................................................... p.32

          Findings from the Hibbard Survey ................................................................................. p.38

          Conclusions from the Hibbard Survey............................................................................ p.44
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 4 of 172



Background and My Qualifications

1.        I have been retained in this matter by attorneys representing L’Oréal USA, Inc. and

Softsheen-Carson, LLC. This rebuttal report provides my opinions in response to the

Declaration and Expert Report provided by J. Michael Dennis, Ph.D., (the “Dennis Report”),

including the survey described in that document (the “Dennis Survey”).1 Given the ongoing

discovery in this matter, I respectfully reserve the right to supplement this rebuttal report.

2.        I am a marketing professor at the Boston University Questrom School of Business. I

have 25 years of experience and expertise as a marketing academic, marketing practitioner,

survey design expert, and educator. I have extensive experience researching, teaching, and

consulting in marketing strategy, marketing channels, branding, consumer behavior and survey

design.

3.        I earned a PhD in marketing and an MBA from Northwestern University’s Kellogg

School and a Bachelor of Science from Boston University. My research, teaching, and

consulting focuses on marketing strategy, survey design, the design and management of

marketing channels, branding, and consumer behavior. My research has appeared in peer

reviewed journals such as the Journal of Marketing Research, Journal of Interactive Marketing,

Psychology & Marketing, Business Strategy Review, Marketing Education Review, and other

outlets. I have authored a number of teaching cases and have presented this research at national

and international forums. I have served as a reviewer for a number of marketing journals and on

the Editorial Review Board of the Journal of Business to Business Marketing.

4.        My research has won acclaim from the Marketing Science Institute, the Institute for the

Study of Business Markets, and the American Marketing Association. I have co-authored (with

Philip Kotler, one of the most well-known and recognized marketing scholars in the world) an

extensive series on the state of marketing for Encyclopaedia Britannica.




1
    Declaration and Expert Report of J. Michael Dennis, Ph.D., dated October 6, 2017.

                                                    -1-
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 5 of 172



5.       At Boston University, I have taught a number of marketing courses on consumer

behavior, business-to-business marketing, marketing strategy, and marketing management, at

both the MBA and undergraduate levels. I also teach in the School’s executive programs.

6.       At the Questrom School of Business, I am the Faculty Lead for the Cross Functional Core

suite of courses. The Core is one of the key elements differentiating Questrom’s Undergraduate

curriculum. It consists of four courses – Marketing, Operations, Finance and Analytics – which

are integrated into a unique one-semester sequence through a common semester-long project

focused on new product or new service development.

7.       My experience includes work in the computer industry as a sales representative for NCR

Corporation, in marketing and public relations, and as a researcher and case writer at the Harvard

Business School.

8.       I have performed research, taught in management development programs and consulted

to organizations on marketing and branding strategy in Europe, Asia, Africa, and South and

North America. Some selected clients: Pitney Bowes, IBM, AT&T, The Wall Street Journal,

Texas Instruments, Goodyear Tire & Rubber, Pharmacia & Upjohn, VISA International,

CitiCorp, BlackRock Financial, ServiceMaster, Encyclopaedia Britannica, Cigna Worldwide,

and Franklin Covey.

9.       A copy of my curriculum vitae, including a list of publications I have authored and a list

of all other cases in which I have testified as an expert during the previous four years, is attached

as Exhibit 1.



Materials Reviewed and Compensation

10.      In writing this rebuttal report and conducting my survey, I have reviewed the following

materials:

             i.   The Consolidated Amended Class Action Complaint, dated March 24, 2017;

          ii.     The Plaintiffs’ Memorandum in Support of Motion for Class Certification,
                  Appointment of Class Representatives, and Appointment of Class Counsel, dated

                  August 11, 2017 and supporting declarations and exhibits;

                                                 -2-
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 6 of 172



          iii.   The Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for Class

                 Certification, Appointment of Class Representatives, and Appointment of Class

                 Counsel, dated August 25, 2017 and supporting declarations and exhibits;

          iv.    The Plaintiffs’ Reply Memorandum in Support of Motion for Class Certification,

                 Appointment of Class Representatives, and Appointment of Class Counsel, dated

                 September 8, 2017 and supporting declarations and exhibits;

           v.    Defendants’ Supplemental Memorandum In Opposition To Plaintiffs’ Motion For

                 Class Certification, Appointment Of Class Representatives, And Appointment Of

                 Class Counsel, dated September 19, 2017;

          vi.    The Declaration of Patricia Cumberland (in Opposition to Plaintiffs’ Motion for

                 Class Certification, Appointment of Class Representatives, and Appointment of

                 Class Counsel, dated August 25, 2017;

         vii.    All iterations of the Relaxer packaging;

        viii.    Declaration of Thomas Maronick, dated August 25, 2017;

          ix.    The transcript from the Deposition of Angela Ellington, dated July 28, 2017;

           x.    The Declaration and Expert Report of J. Michael Dennis, Ph.D., dated October 6,

                 2017, including Attachments and other materials, such as electronic files of survey

                 data; and

          xi.    Materials identified through research on hair relaxers and related topics. Some of

                 those materials are cited in this report, as appropriate.

11.      My time is billed at a rate of $600 per hour, with daily rates for testimony. My

compensation is not dependent on the outcome of this matter.




                                                   -3-
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 7 of 172



Overview of this Report

12.      Based on my review of the Dennis Report, and my review of other materials, I believe that

the Dennis Survey is fundamentally flawed, does not meet generally-accepted research standards,

and does not provide reliable or valid measures relating to claims for the Softsheen-Carson

Optimum Amla Legend Rejuvenating Ritual hair relaxer (“Amla Legend hair relaxer”). I also

believe that the Dennis Report does not accurately portray what the Dennis Survey actually

measured. My report describes the reasons for these conclusions, including that the Dennis

Survey interviewed the incorrect respondents, did not provide a measure of any price premium

paid by those consumers, did not measure materiality, did not replicate marketplace conditions,

did not include any control, and asked a number of leading and biased questions.

13.      In response, I conducted a rebuttal survey (the “Hibbard Survey”). Unlike the Dennis

Survey, my survey interviewed respondents who closely represent the applicable consumer class,

included control questions, asked questions that were neither leading nor biased, and measured

consumers’ beliefs about no-lye hair relaxers.

14.      After describing the Dennis Survey, I will summarize my opinions regarding the Dennis

Survey and the Dennis Report, and then summarize the survey that I conducted in this matter.



Summary of the Dennis Survey and Dennis Report

15.      Screening questions in the Dennis Survey qualified prospective respondents, among other

criteria, as female, age 18 to 54 years old, Black or African American, and representing that they

purchased hair relaxer kits for personal use in the past five years.2




2
 Dennis Report, paragraph 21 and Attachment B. Other qualifying questions asked respondents the state
where they live, whether they purchased “Hair care products (like shampoo, hair care kits, conditioner)” for
personal use in the past five years, and to confirm that they purchased a “Hair relaxer kit” in the past five
years for their personal use.

                                                    -4-
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 8 of 172



16.       After qualification, respondents were provided an initial instruction, and then were

randomly assigned to either the Referendum question or the consumer perceptions questions.3 In

the Referendum path, respondents were first instructed,

          “Suppose you go shopping to buy a hair relaxer kit at the store where you usually
          purchase hair relaxer kits.

          Suppose there are only two hair relaxer kit products available in the store: Product
          A and Product B. You don’t have time to go to a different store.”


17.       Additional instructions informed respondents that Product A and Product B have the same

price, amount of product, number of applications, ability to straighten hair, instructions for how to

apply the product, and gloves. The products were described as differing only in usage risk and

required processing time. Product A was described as “… less likely to result in scalp burning or

irritation, hair breakage, or hair loss when following the instructions that come with the product.”

Product B was described as “… more likely to result in scalp burning or irritation, hair breakage,

or hair loss when following the instructions that come with the product.” Product A was described

as having a processing time of “Up to 20 minutes,” while Product B was described as having a

processing time of “Up to 15 minutes.”4

18.       Figure 1 below depicts a table comparing Product A and Product B that was shown to the

Dennis Survey respondents:5




3
    Dennis Report, paragraph 28.
4
    Dennis Report, Attachment B, Referendum Question Block.
5
    Dennis Report, Attachment C.

                                                  -5-
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 9 of 172



          Figure 1: Table from the Dennis Survey Comparing Product A and Product B




19.       Product A and Product B are described as the “Same” on every attribute except for amount

of processing time, and the likelihood of scalp burning or irritation, hair breakage, or hair loss

when following the instructions that come with the product. While this table was shown,

respondents were asked, “When these two hair care relaxer kits are the only ones available to you,

would you purchase Product A or Product B?”6

20.       Based on the data from this question, Dr. Dennis concluded that, “By a six-to-one margin

(83.3% compared to 13.8%), consumers prefer the safer product even though it has a slower

processing time.”7

21.       The consumer perceptions questions consisted of three survey questions, which were asked

of a group of respondents different than those asked the Referendum question.8 The first

consumer perceptions question asked respondents,


6
    Question REFERENDUM.
7
    Dennis Report, paragraph 32.
8
    Dennis Report, Attachment B, Consumer Perceptions Question Block.

                                                  -6-
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 10 of 172



          “Suppose a hair relaxer kit has the words ‘No-Lye’ on the front of the packaging.

          Compared to hair relaxer kits that do not have the words ‘No-Lye’ on the
          package, what would be your expectation about the ‘No-Lye’ hair relaxer kit?

          The ‘No-Lye’ hair relaxer kit would be…9


22.       The response options for this question included, “Just as harsh or harsher on your hair,”

“Less harsh on your hair,” and “I would not have an expectation.”

23.       The second consumer perceptions question asked respondents,

          “Again, suppose a hair relaxer kit has the words ‘No-Lye’ on the front of the
          packaging.

          Compared to hair relaxer kits that do not have the words ‘No-Lye’ on the
          package, the ‘No-Lye’ hair relaxer kit would be…”10


24.       The response options included, “More safe to use,” “Less safe to use,” and “I would not

have an expectation.”

25.       The third consumer perceptions question asked respondents,

          “Finally, suppose a hair relaxer kit has the words ‘No-Lye’ on the front of the
          packaging.

          Compared to hair relaxer kits that do not have the words ‘No-Lye’ on the
          package, the ‘No-Lye’ hair relaxer kit would be…”11

26.       The response options included, “More likely to be harmful to your scalp and hair,” “Less

likely to be harmful to your scalp and hair,” and “I would not have an expectation.”

27.       Based on the three consumer perceptions questions, Dr. Dennis concluded that consumers

expected a “No-Lye” hair relaxer kit to be “less harsh on your hair” (80.0% of respondents),

“more safe to use” (77.5%), and “less likely to be harmful to your scalp and hair” (77.9%). He

also concluded that the “No-Lye” claim is material to the reasonable consumer of the product.12

9
    Question PERCEPTION_1.
10
     Question PERCEPTION_2.
11
     Question PERCEPTION_3.
12
     Dennis Report, paragraph 18.

                                                  -7-
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 11 of 172



28.      After answering either the Referendum question or the consumer perceptions questions, all

respondents were instructed, “Now, we want your opinion about other words that might appear on

the packaging of hair relaxer kits.” The next screen instructed respondents to “Please take a

moment to consider these images from a hair relaxer kit.” Figure 2 shows the images from the

Amla Legend hair relaxer package that were shown to the Dennis Survey respondents:



      Figure 2: Images from the Amla Legend Hair Relaxer Package Shown to Respondents




                                               -8-
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 12 of 172



29.      After viewing these images, respondents were asked,

         “What is your expectation about the hair relaxer kit because it has the description of
         ‘AMLA LEGEND REJUVENTATING RITUAL’ and ‘WITH AMLA OIL FROM
         INDIA’? (Click here to see Amla Oil image.)

         The product would…

                Make your hair healthier and stronger
                Not make your hair healthier and stronger
                I would not have an expectation.”13


30.      The next question was similar in phrasing, asking respondents,

         “Again, what is your expectation about the hair relaxer kit because it has the description of
         ‘AMLA LEGEND REJUVENTATING RITUAL’ and ‘WITH AMLA OIL FROM
         INDIA’? (Click here to see Amla Oil image again.)

         The product would…

               Use Amla oil to help condition and nourish your hair
               Not use Amla oil to help condition and nourish your hair
               I would not have an expectation.”14


31.      After this question, respondents who had previously been asked the consumer perceptions

questions were given a brief instruction and asked,

         “Suppose using a hair relaxer kit can result in scalp burning or irritation, hair
         breakage, or hair loss when following the instructions that come with the product.

         In your opinion, should the company include information with the product about
         these risks?

               Yes, include the information
               No, do not include the information
               No opinion.” 15




13
  Question AMLA_1. In Attachment B to the Dennis Report, “Amla” was sometimes spelled “Amala. In
Attachment B and Attachment C to the Dennis Report, “Rejuvenating” was spelled “Rejuventating.” This
report uses the spelling that was shown in Attachment C.
14
     Question AMLA_2.
15
     Question DISCLOSE.

                                                 -9-
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 13 of 172



32.       Based on these final three questions, Dr. Dennis concluded that consumers expected that a

hair relaxer kit described as “AMLA LEGEND REJUVENATING RITUAL” and “WITH AMLA

OIL FROM INDIA” would “make your hair healthier and stronger” (85.5% of respondents) and

would “use Amla oil to help condition and nourish your hair” (92.0%).16 Dr. Dennis concluded

that these labels are material. He also concluded that consumers were “nearly unanimous” that a

company should include risk information with the product, with 96.3% answering affirmatively.17



Summary of My Opinions Regarding the Dennis Survey and Dennis Report

33.       Based on my review of the Dennis Report and other materials, I believe that the Dennis

Survey suffers from a number of serious flaws, violates basic and generally-accepted principles

of litigation surveys, and should not be viewed as providing a useful or reliable measure of

claims communicated by the Amla Legend hair relaxer.

34.       As I describe in detail in my report, the flaws in the Dennis Survey include:

             i.   The Dennis Survey included the incorrect population. It is over-inclusive in some

                  respects and under-inclusive in others. Respondents do not represent consumers

                  who purchase no-lye hair relaxers. First, they may have purchased a hair relaxer

                  containing lye. Second, respondents were restricted to ages 18 to 54 years old,

                  even though consumers older than 54 years old may purchase hair relaxers. Third,

                  respondents were required to have purchased a hair relaxer for personal use, but

                  class members may have purchased Amla Legend hair relaxer for someone else,

                  such as a daughter or spouse.

            ii.   The Dennis Survey did not measure the price premium paid by consumers, and did

                  not measure materiality. None of the questions in the Dennis Survey ask

                  respondents what price they paid for a hair relaxer, and no questions ask how much

                  they would be willing to pay. Therefore, the Dennis Survey did not measure what


16
     Dennis Report, paragraph 19.
17
     Dennis Report, paragraph 20.

                                                  - 10 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 14 of 172



                consumers paid, or whether they would pay a price premium for Amla Legend hair

                relaxer. The survey also does not measure materiality. The survey did not ask

                respondents whether they would purchase Amla Legend hair relaxer, or whether

                the claims on the packaging would influence their decision whether to purchase

                Amla Legend hair relaxer.

         iii.   The Dennis Survey does not replicate marketplace conditions. The Dennis Survey

                presented product information in a manner that consumers would never encounter

                in a real marketplace setting. For example, the survey uses a table format that

                consumers would never see in a store. The survey also showed respondents

                excerpts from packages of Amla Legend hair relaxer, but omitted important

                information, including the Safety Warnings panel, which would be available to

                consumers when they purchase Amla Legend hair relaxer kits in a store. The

                survey did not show an actual package of Amla Legend hair relaxer, or a complete

                picture of a package, so it did not measure what consumers would believe when

                they encounter Amla Legend hair relaxer in a store.

         iv.    The Dennis Survey did not include a control, so it cannot establish that any survey

                measures are due to the package, as opposed to other factors. Without a control,

                the results of the survey cannot establish how much of respondents’ beliefs and

                attitudes were caused by claims made on Amla Legend hair relaxer packaging, and

                how much of those beliefs and attitudes came from other influences, such as pre-

                existing attitudes, general beliefs about hair relaxers, acquiescence bias,18 or other

                factors that may affect the survey’s measures.




18
  Acquiescence bias is the possible tendency of survey respondents to agree with survey questions
presented in certain formats, such as “yes” and “no” response options. See Hans Baumgartner and Jan-
Benedict E.M. Steenkamp (2001) “Response Styles in Marketing Research: A Cross-National
Investigation,” Journal of Marketing Research, May 2001, Vol. 38 No. 2, pp. 143-156.

                                                 - 11 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 15 of 172



               v.    Many Dennis Survey questions are leading and biased. A number of questions in

                     the survey are leading and biased. For example, the survey asked respondents to

                     compare a fictitious hair relaxer that does not have the words “No-Lye” on the

                     packaging with a relaxer that does have the words “No-Lye,” but the survey does

                     not indicate what chemical, if any, might be used instead of lye. Also, the survey

                     asked questions that did not reference information that would be present in the real

                     world, such as safety warnings on the Amla Legend hair relaxer package.

35.           I now discuss in detail the flaws and biases in the Dennis Survey.



My Opinions Regarding the Dennis Survey and Dennis Report

36.           This section describes my opinions regarding the Dennis Survey and the Dennis Report in

detail.



         I.          The Dennis Survey included the incorrect population. It is over-inclusive in some

                     respects and under-inclusive in others.

37.           In conducting a survey, one of the most important steps is to interview the right respondent

universe.19 The Dennis Survey interviewed the wrong respondents. The Plaintiffs have proposed

a class consisting of all people who purchased the Amla Legend hair relaxer within the relevant

statute of limitations, either in the United States, or in specific subclass states, including

California, Illinois, Kentucky, Florida, New York, Pennsylvania, or Missouri.20 The Dennis

Survey universe deviated from the proposed class definition in a number of respects, making it




19
  “Selection of the proper universe is a crucial step, for even if the proper questions are asked in a proper
manner, if the wrong persons are asked, the results are likely to be irrelevant.” McCarthy, J. Thomas. §
32:159 “Relevant ‘universe’ surveyed - Defining the universe.” McCarthy on Trademarks and Unfair
Competition, 4th ed., West Group, 2014, p. 1.
20
     Consolidated Amended Class Action Complaint, pp. 43-44.

                                                     - 12 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 16 of 172



over-inclusive in some respects, and under-inclusive in others.21 This means that the database

includes people who should not be included, and excludes people who should be included. 22

38.     The survey universe is over-inclusive on product purchase. As described earlier, the

proposed class in this matter is consumers who purchased Amla Legend hair relaxer kits. Amla

Legend is a no-lye hair relaxer. Among other criteria, the Dennis Survey qualified respondents (in

questions S_BUY3 and S_CONFIRM) as purchasing a hair relaxer kit in the past five years for

their personal use. Based on these two questions, respondents may have qualified for the survey if

they purchased any hair relaxer kit, even if they purchased a hair relaxer kit that contains lye. In

other words, the survey may include respondents who never purchased a no-lye hair relaxer kit,

and do not represent purchasers of no-lye hair relaxer kits.

39.     Some consumer-oriented articles discuss different types of hair relaxer kits, which include

lye-based hair relaxers and no-lye hair relaxers.23 The Dennis Survey fails to qualify respondents

as purchasing a no-lye hair relaxer, and may also include respondents who purchased a lye-based

hair relaxer. The Dennis Survey is over-inclusive on product purchase because it is not limited to

respondents who purchased no-lye hair relaxers.




21
  An over-inclusive survey includes “not only the group of consumers relevant to the legal issue being
tested, but also other individuals.” An under-inclusive survey includes “only a subset of the entire group of
consumers relevant to the legal issue being tested.” Berber, William G. “The Universe.” Trademark and
Deceptive Advertising Surveys: Law, Science, and Design, edited by Shari Seidman Diamond and Jerre B.
Swann, American Bar Association, 2012, p. 28.
22
  See, Diamond, Shari Seidman. “Reference Guide on Survey Research.” Reference Manual on Scientific
Evidence, 3rd ed., National Academy Press, 2011, p. 377. (“The definition of the relevant population is
crucial because there may be systematic differences in the responses of members of the population and
nonmembers. For example, consumers who are prospective purchasers may know more about the product
category than consumers who are not considering making a purchase.”)
23
  For example, see Gonzalez, Susonnah. “Hair Relaxers: What You Should Know.” NaturallyCurly, 14
Nov. 2010, www.naturallycurly.com/curlreading/kinky-hair-type-4a/hair-relaxers-the-facts/. See also
Amay, Joane. “Relaxers 101: What to Expect When Straightening Your Hair for the First Time.”
TheFashionSpot, 27 June 2017, www.thefashionspot.com/beauty/598061-hair-relaxers/. “What Is the
Difference between Lye and No-Lye Relaxers?” Sally Beauty, www.sallybeauty.com/What-is-the-
difference-between-lye-and-no-lye-relaxers%3F/FAQ_WOMEN_OF_COLOR_6,default,pg.html.

                                                   - 13 -
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 17 of 172



40.       The universe is over-inclusive on product purchase, but under-inclusive in other respects.

For example, Dr. Dennis limited his survey to respondents 18 to 54 years old. Hair relaxers can be

used by people outside of this age range, and the Dennis Survey provides no justification for

restricting the survey to this age range. Limiting the survey to respondents 18 to54 years old

creates an “under-inclusive” audience because it excludes respondents who should have been

included.

41.       Also, the survey qualified respondents as purchasing a hair relaxer “for personal use.” The

Dennis Report does not explain why Dr. Dennis limited his survey to those who purchased a hair

relaxer for personal use, when the proposed class and subclass definitions do not mention personal

use. The Complaint indicates that, “The Product is marketed directly to consumers as an at-home

hair relaxer kit.”24 However, there are many possible at-home consumer-based uses that do not

require a purchase for personal use, such as if a mother purchased the product for her teenage

daughter, or a consumer purchased the product for their friend, spouse, or other relative.

42.       Dr. Dennis writes that his survey did not qualify respondents as purchasers of the Amla

Legend due to “… a recognition that consumers of one brand in a category (such as purchasers of

the Defendants’ Kits) are representative of consumers of the overall category (i.e., hair relaxer

kits).”25 However, he provides no evidence that such representativeness exists in this context.

Marketers know that purchasers of a product category may include multiple consumer segments,

each of which is comprised of consumers with unique needs and preferences. Across segments,

“Buyers vary according to how they use products, the needs and preferences that the products

satisfy, and their consumption patterns.”26 The Dennis Report provides no evidence that

consumers who purchased Amla Legend hair relaxer are similar to consumers who purchased

other hair relaxers, including relaxers that contain lye. Without such evidence, there is no

indication that the Dennis Survey represents the proposed class or subclasses.



24
     Consolidated Amended Class Action Complaint, p. 1, footnote 1.
25
     Dennis Report, paragraph 22.
26
     Cravens, David W., and Nigel Piercy. Strategic Marketing, 9th ed., McGraw-Hill, 2009, p. 84.

                                                    - 14 -
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 18 of 172



        II.          The Dennis Survey did not measure the price premium paid by consumers, and did

                     not measure materiality.

43.           Dr. Dennis writes that he was asked “to determine whether consumers paid a price

premium because of the Claims.”27 He concludes that “consumers paid a price premium” for the

Amla Legend hair relaxer.28 His conclusions regarding the price premium supposedly paid by

consumers is entirely without support, because the Dennis Survey did not measure what

consumers paid for the Amla Legend hair relaxer, or even what they were willing to pay.

44.           The Dennis Report defines a price premium as “… the difference between the price paid

by the consumer for the Product and the market price that would exist but for the Claims.”29 The

Dennis Survey did not measure any element of price, and intentionally removed price from any

measures. For example, as shown earlier in Figure 1, the Referendum question included a table

describing Product A and Product B as the “Same” on price.

45.           Except for these instructions to disregard price, no question in the Dennis Survey

referenced price in any regard, and no question in the Dennis Survey measured what consumers

paid for the Amla Legend hair relaxer. Because the survey did not measure what consumers paid,

it does not indicate whether consumers paid a price premium.

46.           The Dennis Report not only asserts that consumers paid a price premium, but also asserts

that the disputed claims affect consumer preference for hair relaxers.30 Despite these assertions,

the survey not only cannot indicate whether consumers paid a price premium, it also cannot

indicate whether they prefer the Amla Legend hair relaxer such that they would have been willing

to pay a price premium.

47.           In the Dennis Survey, only a single question attempted to measure consumer preferences

for one product over another product. This question (Question REFERENDUM) asked

respondents, “When these two hair care relaxer kits are the only ones available to you, would you

27
     Dennis Report, paragraph 14.
28
     Dennis Report, paragraph 17.
29
     Dennis Report, paragraph 14.
30
     Dennis Report, paragraphs 17 and 36.

                                                     - 15 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 19 of 172



purchase Product A or Product B?” This question indicated that Product A and Product B were

priced the “Same.” Survey responses that suggested a preference for one of these non-existent

products over the other cannot be due to price, and does not indicate a willingness to pay a price

premium. No other question in the Dennis Survey measured consumer preference for one hair

relaxer over another, and no question measured the price respondents would be willing to pay for a

hair relaxer.

48.       The vagueness of the Referendum question further restricts the survey from measuring the

price premium that consumers paid. In the table reproduced in Figure 1, Product A is labeled as

“Less Likely” to “Result in scalp burning or irritation, hair breakage, or hair loss when following

the instructions that come with the product.” Product B is labeled as “More Likely.” The table

does not define “Less Likely” or “More Likely,” and provides no standard to compare “Less” and

“More.” For example, the phrase “Less Likely” could be interpreted to mean “less likely than the

other product,” “less likely than not,” “less likely than some other, unidentified product,” or “less

likely than when not following the instructions that come with the product.”

49.       Because this comparison is made on a vague basis, answers may reflect interpretations of

the question from specific respondents, rather than a common understanding of the question. Other

terms in the chart also lack definition, such as the following:

             i.   “Amount of product (scalp pre-treatment, the hair relaxer cream, neutralizing

                  shampoo, conditioner, and moisturizer)”: Does not specify whether it refers to the

                  number of different items that the kit contains, or the volume of each item included.

            ii.   “Number of applications (one)”: Does not specify whether this means that the product

                  can only be used one time, or whether there is more than one purpose that the product

                  can be used for.

           iii.   “Amount of processing time (including application and smoothing time):”31 Does not

                  specify whether the time begins when the first amount of product is placed on the hair,

                  or after the entire hair is covered. Also, does not define application or smoothing time.


31
     Dennis Report, Attachment B, Referendum Question Block.

                                                   - 16 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 20 of 172



50.       The Dennis Report also incorrectly asserts that the survey measured materiality. In the

report, Dr. Dennis writes that he was asked “to test the materiality of the challenged Claims….”32

The Dennis report asserts that “No-Lye,” “AMLA LEGEND REJUVENATING RITUAL,” and

“WITH AMLA OIL FROM INDIA” are material to consumers of the Amla Legend hair relaxer.

As the Dennis report indicates, “Consumers would not purchase the Defendants’ Product in the

but-for world where Defendants accurately described their Product with respect to scalp/hair

health risk.”33

51.       In other words, the Dennis Report asserts that the survey measured the effect of the

challenged claims on the likelihood that consumers would purchase the Amla Legend hair relaxer

product. However, this assertion has no basis, as the Dennis Survey does not provide any data on

materiality. Materiality is not defined in the Dennis Report, but is often interpreted as indicating

whether a claim, or any other marketplace action, has an effect on marketplace behaviors, such as

purchase decisions.34 As described earlier in this report, the Dennis Survey asked respondents

whether they would purchase Product A or Product B. The survey never asked respondents

whether they would purchase the Amla Legend hair relaxer at issue in this matter, whether they

ever purchased the Amla Legend hair relaxer, whether they considered any claims or other

statements in their purchase of the Amla Legend hair relaxer, or whether any claims would affect

their likelihood of purchasing the Amla Legend hair relaxer in the future.

52.       Despite the assertions in the Dennis Report regarding materiality, the Dennis Survey

provides no measure of materiality, and cannot be used as a basis for evaluating whether the

claims at issue in this matter have affected any marketplace behaviors. Dr. Dennis writes that, “…

purchasers are six times more likely to purchase a safer product with a longer processing time than

a less safe product with shorter processing times (83.3% compared to 13.8%).”35 This statement is


32
     Dennis Report, paragraph 14.
33
     Dennis Report, paragraphs 18-19 and 36.
34
  See, Leighton, Richard J. “Materiality and Puffing in Lanham Act False Advertising Cases: The Proofs,
Presumptions, and Pretexts.” The Trademark Reporter, vol. 94, 2004, pp. 586–587.
35
     Dennis Report, paragraph 17.

                                                 - 17 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 21 of 172



without sufficient foundation. It is based on an artificial tradeoff between two fictional products.

It excludes other attributes, such as brand name, price, product performance, or retailer. The

question did not ask whether consumers would pay more for the safer product, and did not

measure whether consumers did pay more for a safer product.



      III.          The Dennis Survey does not replicate marketplace conditions.

53.          A survey represents an environment in which phenomena that occur in the real-world

marketplace can be replicated in an environment where their effect can be measured. For the

measures generated by a survey to be valid, those measures must come from a survey that

reasonably represents the real world.36

54.          The Dennis Survey presented respondents with stimuli that do not represent reasonable

marketplace conditions, so the measures from the survey should not be viewed as representing the

marketplace. Rather than showing respondents shelf displays, product packaging, or advertising

for the Amla Legend hair relaxer, the Dennis Survey presented product information in a manner

that consumers would never have encountered outside of the survey. Also, the Dennis Survey

presented respondents with product combinations that do not correspond to marketplace

conditions.

55.          As described earlier, respondents in the Referendum section were shown descriptions for

two fictitious products, Product A and Product B. As depicted earlier in Figure 1,37 the products

were shown in table format, with different features described in instructions that precede the table,

or in plain font in each row of the table.

56.          This presentation format is very different from a realistic marketplace context. In a real

purchase situation, a variety of product attributes may influence a consumer’s purchase decision.

These attributes might include brand name, product performance, price, product features, product


36
   “…the closer the survey methods mirror the situation in which the ordinary person would encounter the
trademark, the greater the evidentiary weight of the survey results.” See McCarthy, J. Thomas. § 32:163
“Survey methodology - Approximating market conditions.” McCarthy on Trademarks and Unfair
Competition, 4th ed., West Group, 2014, p. 1.
37
   Dennis Report, Attachment C.

                                                     - 18 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 22 of 172



volume, the retailer where the product is sold, and other factors. In the Dennis Survey, all such

attributes were held constant, and respondents were only told that attributes such as these are the

“Same” for both Product A and Product B. This does not represent a realistic marketplace context

for the purchase of hair relaxers.

57.     Exhibit 2 compares packages for the Amla Legend hair relaxer and 22 other no-lye hair

relaxer kits.38 This package comparison further confirms that the Referendum question does not

represent a realistic marketplace context. Exhibit 2 compares the packages along attributes such

as active ingredients, whether mixing is required, other products included in the kit (such as pre-

treatment, shampoo, and other items), application time, safety warnings, and price.

58.     The comparison provided in the Exhibit indicates that the market for no-lye hair relaxers is

very different from the overly simplistic and unrealistic scenario represented in the Referendum

question. For example, in the Referendum question, Product A is described as having a

processing time of “Up to 20 minutes” and “Less Likely” to be harmful to hair or scalp. Product

B is described as having a processing time of “Up to 15 minutes” and “More Likely” to be

harmful to hair or scalp. This implies that hair relaxers offer a trade-off of time and safety, where

a product requires more processing time with reduced safety risk. Exhibit 2 indicates this is not

the case. With three exceptions (each at 25 minutes), the maximum processing time for most of

these products is 20 minutes or less. Also, the Exhibit shows that all kits also provide safety

warnings. Some of the safety warnings indicate that the amount of processing time depends on

hair type. None of the safety warnings indicate that consumers can use the product for more (or

less) time if they are willing to accept more (or less) risk to their hair or scalp. This indicates that

the trade-off of time and safety indicated in the Referendum question does not represent a realistic

marketplace trade-off.




38
  Exhibit 2 describes the procedures I followed to identify these no-lye hair relaxer kits, the kits I selected,
and information about each kit that is provided on and/or inside the packaging.

                                                     - 19 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 23 of 172



59.    The Dennis Report provides no other indication that this tradeoff resembles the

marketplace in any manner, and does not explain why the times of “Up to 20 minutes” and “Up to

15 minutes” were used in the survey. The back of the Amla Legend hair relaxer package indicates

that Amla Legend, “Works in 13-15 minutes.” This is different from “Up to 15 minutes.” The

Dennis Report also does not indicate why Product A has a processing time of “Up to 20 minutes,”

as opposed to any other processing time. Finally, the Dennis Report does not indicate that any

product in the marketplace presents the tradeoff described in the survey, where the consumer

trades-off product risk for minutes of processing time, in the absence of considerations related to

any other product attribute, such as price, brand, or the ability to straighten hair.

60.    The comparison in the Referendum question has other differences compared with the

marketplace. In the Referendum question, price is the same for Products A and B. Exhibit 2

indicates that prices of the no-lye hair relaxers I examined ranged from $4.37 to $13.97.

61.    In the Referendum question, the amount of products in the kit is the same for Products A

and B. However, Exhibit 2 indicates that the types of products included in different kits varies

considerably. Of the 23 items compared, only 9 include pre-treatment, and only 12 include

mousse, lotion, moisturizer or strengthener.

62.    In the Referendum question, the ability to straighten hair is the same for Products A and B.

However, Exhibit 2 indicates that only Amla Legend uses the active ingredient lithium hydroxide,

and it is the only “no-mix” kit on the list. The other leading kits use calcium hydroxide and/or

guanidine carbonate, and require mixing. Counsel has informed me that different active

ingredients may vary in their effectiveness at straightening hair. In addition, counsel has informed

me that consumers may or may not mix ingredients completely in a kit that requires mixing, which

could also impact effectiveness.

63.    The lack of realism also applies to the images from the package shown later in the survey.

As shown in Figure 2, those images include the name “AMLA LEGEND REJUVENATING

RITUAL,” the drop of oil, the phrase “WITH AMLA OIL FROM INDIA,” the head of a model,
and three sentences of text from the back of the package.



                                                 - 20 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 24 of 172



64.     In a real-world marketplace such as the shelf of a drugstore, consumers would be able to

examine the entire package of the Amla Legend hair relaxer, which might appear in a form similar

to that shown in Figure 3 below:


                        Figure 3: Package of Amla Legend Hair Relaxer39




39
  This is the Bilingual Package, identified in the Declaration of Patricia Cumberland, dated August 25,
2017.

                                                  - 21 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 25 of 172



65.     Figure 3 shows that product packaging looks quite different in the survey environment than

it would look in the real world. As can be seen above, the product package uses colors, stylized

fonts, pictures, graphics, and other design elements to communicate information. For example,

among other information, the front of the Amla Legend hair relaxer package indicates that the

product is for “medium to coarse hair,” and that it contains one application. The back of the Amla

Legend package indicates that using the product involves five steps. The top and front warn,

“IMPORTANT – READ & FOLLOW THE SAFETY WARNINGS.” The side panel lists

instructions in a section of the package labeled, “IMPORTANT – READ BEFORE

PURCHASING,” which is displayed in Figure 4.40



                         Figure 4: Section of Amla Oil Package Labeled
                       “IMPORTANT – READ BEFORE PURCHASING”




66.     The “INSTRUCTIONS” panel shown in Figure 4 provides the following instructions,

which consumers are directed to read “BEFORE PURCHASING:”




40
  The advisories and warnings are from the Bilingual Carton. (For a description of the different packages,
see the Declaration of Patricia Cumberland, dated August 25, 2017.)

                                                  - 22 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 26 of 172



            -   This product may not be suitable for all hair types; a strand test must be performed
                prior to application.
            -   Not suitable for use on children.
            -   Do not use on bleached hair, highlighted hair, hair treated with henna or
                metallic salts, or hair processed with a thio/perm product such as
                thioglycolate, thiolactate, cysteine, cysteamine, sulfite. Hair loss or breakage
                could occur.
            -   Do not use on hair that is fragile, breaking, splitting or otherwise damaged, for
                example, due to frequent coloring or other chemical processes.
            -   If you have permanent or demi-permanent haircolor, wait at least 2 weeks before
                relaxing.
            -   Do not use if you have a sensitive, irritated or damaged scalp.
            -   It is recommended that you use Amla Scalp Protective Pre-treatment during
                application as indicated on the enclosed instructions.


67.     The side panel also provides “SAFETY WARNINGS,” which are displayed in Figure 5.41


         Figure 5: Section of Amla Legend Package Labeled “SAFETY WARNINGS”




68.     The “SAFETY WARNINGS” panel shown in Figure 5 provides the following warnings:


            -   Read and follow enclosed instruction sheet completely before using. Failure to
                follow instructions or warnings or other misuse of the product can cause serious
                injury to eyes or skin and can damage hair or result in permanent hair loss.
            -   Keep out of reach of children.
            -   Contains alkali.
            -   Wear gloves provided in the kit throughout the relaxing process.
            -   Avoid contact with eyes. Can cause blindness. In case of contact with eyes,
                rinse immediately and thoroughly with water and consult a doctor.
            -   Keep relaxer off scalp and other skin areas.
            -   In case of contact with skin, rinse immediately.


41
  The advisories and warnings are from the Bilingual Carton. (For a description of the different packages,
see the Declaration of Patricia Cumberland, dated August 25, 2017.)

                                                  - 23 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 27 of 172



69.         The images shown to respondents in the Dennis Survey were only portions of some of the

sides of the package, which were shown in a configuration in which they do not appear on Amla

Legend packages. Also, the Dennis Survey omitted in its entirety the safety information that

appears on the Amla Legend hair relaxer package. The images shown in the Dennis Survey do not

resemble a hair relaxer package, and entirely omit any information that is communicated by

graphics in the actual Amla Legend hair relaxer package.

70.         A survey conducted in such an artificial environment can provide data, but that data bears

little resemblance to the real world.


      IV.          The Dennis Survey did not include a control, so it cannot establish that any survey

                   measures are due to the package, as opposed to other factors.

71.         In the Dennis Survey, all respondents were shown images at some point in the survey, and

were asked questions about those pictures. For example, respondents in the Referendum section

were shown the table from Figure 1 comparing Product A and Product B, and then were asked

which product they would purchase. Later in the survey, all respondents were shown images from

the Amla Legend hair relaxer package in Figure 2, and were asked questions about those images.

72.         Survey researchers refer to such images as “test stimuli,” because these images are tested

in the survey. An advertising communication survey, such as the Dennis Survey, is typically

designed to measure the messages communicated by the test stimuli. However, the measures from
the Dennis Survey relating to these images, and to other survey questions, do not reflect the use of

a control, which is a standard element of survey research.

73.         Survey responses may be affected by a number of factors, including the elements that the

survey is intended to measure, as well as other factors. For example, survey measures may be

affected by pre-existing attitudes and biases among respondents, or by respondents who are

hurried or inattentive as they take the survey. The use of a control stimulus can allow the survey

to provide measures that minimize what Professor McCarthy calls “general background noise.”42

 McCarthy, J. Thomas. § 32:187 “The need for a survey control.” McCarthy on Trademarks and Unfair
42

Competition, 4th ed., West Group, 2014, p. 1.

                                                   - 24 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 28 of 172



74.       A control helps remove the effect of such influences, enabling a survey to directly measure

the effect associated with the elements of interest, which in this matter are the messages

communicated or implied by communications printed on the Amla Legend hair relaxer package.

When evaluating a survey such as Dr. Dennis conducted in this matter, it is appropriate to consider

whether the research incorporated a proper control.43

75.       Unfortunately, the Dennis Survey did not incorporate any control. One type of control

consists of control questions. Control questions are asked of the same respondents who view the

test stimulus, and ask about messages that are clearly not communicated by the test stimulus.44

76.       Without a control, there is no way to determine how much of the survey’s measures come

from the use of certain claims, as opposed to pre-existing attitudes among respondents, respondent

inattentiveness, guessing, or other factors. The Dennis Report claims that the Dennis Survey

measures how respondents perceive the “No-Lye” claim, and how they perceive a hair relaxer kit

described as “AMLA LEGEND REJUVENATING RITUAL” and “WITH AMLA OIL FROM

INDIA.”45 Without a control, there is no way to know how much of this belief comes from

sources other than the disputed claims on packages of Amla Legend hair relaxer.

77.       For example, some respondents may believe that any hair relaxer made with Amla Oil, or

any oil, is rejuvenating. These respondents may have answered affirmatively to survey questions

not because of statements they read in the test stimulus, but merely because they have pre-existing

attitudes about Amla Oil or oils in general.




43
  Diamond, Shari Seidman. “Reference Guide on Survey Research.” Reference Manual on Scientific
Evidence, 3rd ed., National Academy Press, 2011, p. 398.
44
  See, Diamond, Shari Seidman. “Reference Guide on Survey Research.” Reference Manual on Scientific
Evidence, 3rd ed., National Academy Press, 2011, p. 401. (“Control groups and, as a second choice, control
questions are the most reliable means for assessing response levels against the baseline level of error
associated with a particular question.”)
45
     Dennis Report, paragraphs 16-19.

                                                  - 25 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 29 of 172



78.     The relevant question in this matter is not whether respondents believe that the hair relaxer

in the Amla Legend package provides certain benefits, but whether respondents hold such beliefs

as a result of statements made on the package. Because the survey does not use any controls, it

cannot identify beliefs specifically caused by the disputed claims, as opposed to general beliefs not

related to communications from the package for the Amla Legend hair relaxer.



      V.       Many Dennis Survey questions are leading and biased.

79.     In addition to its other problems, the Dennis Survey also has leading and biased questions.

80.     For example, in the consumer perceptions section of the survey, three questions asked

respondents to compare hair relaxer kits that do not have the words “No-Lye” on the package with

hair relaxer kits that have the words “No-Lye” on the front of the package. Questions ask whether

the product with “No-Lye” would be “just as harsh or harsher” or “less harsh,” “more safe” or

“less safe,” or “more likely” or “less likely” to be harmful to scalp and hair.

81.     None of the three questions indicate the basis for the comparison, or what the No-Lye

relaxer would use instead of lye. None of the questions indicate that the No-Lye hair relaxer uses

any chemical instead of lye. Instead, the questions ask respondents to evaluate a non-existent

alternative between a product that does have lye and another product that does not have lye but is

not described as having anything instead of lye. Given such an alternative, it is not surprising that

a strong majority of respondents chose the “No-Lye” products, but this does not mean that they

would make the same choice in a real-world marketplace.

82.     Other questions in the Dennis Survey are also leading. For example, later in the survey,

respondents were shown images from the Amla Legend hair relaxer package, and were asked two

questions. Both started with, “What is your expectation about the hair relaxer kit because it has

the description of ‘AMLA LEGEND REJUVENTATING RITUAL’ and ‘WITH AMLA OIL

FROM INDIA’?” As described earlier, the images only included excerpts from the package, and

omitted any warnings or safety information.




                                                - 26 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 30 of 172



83.    Question AMLA_1 asked respondents whether such a hair relaxer would “Make your hair

healthier and stronger,” or would “Not make your hair healthier and stronger.” It is not surprising

that most respondents indicated that a hair care product described as “AMLA LEGEND

REJUVENATING RITUAL” would “Make your hair healthier and stronger.” The product is

described as “REJUVENATING,” which might reasonably imply healthier and stronger.

84.    Question AMLA_2 asked respondents whether such a hair relaxer would “Use Amla oil to

help condition and nourish your hair,” or would “Not use Amla oil to help condition and nourish

your hair.” It is also not surprising that most respondents thought that a hair care product “WITH

AMLA OIL FROM INDIA” would “Use Amla oil to help condition and nourish your hair.” The

question implies that the Amla Oil must be there to do something, and it is a reasonable guess that

a hair care product would use oil to condition and nourish the hair.

85.    In other words, terms such as “legend,” “rejuvenating,” and “oil” are likely to suggest

positive qualities for hair when they are used in connection with a hair care product, particularly

when they are used in an artificial survey environment that lacks elements that would be present in

a real-world marketplace. This does not mean that consumers would be misled if they saw an

actual package, or that these claims are necessarily misleading. For example, if Amla oil actually

rejuvenates, conditions, and nourishes hair, then respondents believing that it conditions and

nourishes the hair is not misleading.

86.    The last survey question (Questions DISCLOSE) is leading and biased. It asked, “Suppose

using a hair relaxer kit can result in scalp burning or irritation, hair breakage, or hair loss when

following the instructions that come with the product. In your opinion, should the company

include information with the product about these risks?”

87.    The phrasing tells respondents that the product can have outcomes such as scalp burning or

irritation, hair breakage, or hair loss, even when instructions are followed. The question does not

indicate the likelihood, frequency, or magnitude of these “risks,” which the phrasing suggests are

inherent even when the product is used as instructed. If a hair care product has risks such as these,
which are present even when the product is used as directed, it is difficult to imagine any scenario

in which a reasonable consumer would not want the company to disclose these risks.

                                                 - 27 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 31 of 172



88.    Given the question phasing, it is not at all surprising that a large majority of respondents

selected the disclosure. As described earlier, the Amla Legend hair relaxer package includes an

entire panel of warnings and advisories, labeled “IMPORTANT – READ BEFORE

PURCHASING” and “SAFETY WARNINGS.” The package also includes an instruction sheet

with an extensive series of instructions and additional warnings. The question does not measure

whether respondents are misled by these disclosures and warnings, whether respondents are

satisfied with the existing disclosures and warnings, or whether consumers are misled by (or in

spite of) those disclosures and warnings.



Conclusions Regarding the Dennis Survey and Dennis Report

89.    As I have described, I believe that the Dennis Survey suffers from numerous, extensive

and fundamental flaws, including the following:

          i.   The Dennis Survey included the incorrect population. It is over-inclusive in some

               respects and under-inclusive in others.

         ii.   The Dennis Survey did not measure the price premium paid by consumers, and did

               not measure materiality.

        iii.   The Dennis Survey does not replicate marketplace conditions.

        iv.    The Dennis Survey did not include a control, so it cannot establish that any survey

               measures are due to the package, as opposed to other factors.

         v.    A number of the Dennis Survey questions are leading and biased.

90.    Because of these flaws, I conclude that the Dennis Survey should not be viewed as valid

or reliable measures of the issues under dispute in this matter.

91.    As described in this section, there are a number of problems with the Dennis Survey.

Given the issues with the Dennis Survey I have discussed, I conducted a rebuttal survey, which

addresses many of the flaws inherent in the design of the Dennis Survey.

92.    The next sections summarize the Hibbard Survey, and describes the details of the Hibbard
Survey, including its methodology, its findings, and conclusions.



                                                - 28 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 32 of 172



Summary of the Hibbard Survey

93.     The Hibbard Survey was developed to address issues in the Dennis Survey. My survey

incorporated elements of the Dennis Survey, but also made changes to address the many

problematic aspects of the Dennis Survey. For example, the Hibbard Survey interviewed

consumers who do purchase no-lye hair relaxers, included control questions, asked questions that

were not leading, biased, or vague, and measured consumers’ beliefs about no-lye hair relaxers.

94.     Some qualification criteria for my survey were similar to those used in the Dennis

Survey. For example, my survey qualified respondents, among other criteria, as African

American women, at least 18 years old, who had purchased hair relaxers in the past five years.

95.     Unlike the Dennis Survey, my survey included women older than 54 years old, as they

may purchase hair relaxers. Also unlike the Dennis Survey, my survey qualified respondents as

purchasing no-lye hair relaxers, which is the product category relevant to this matter. Also,

where appropriate, my survey adjusted phrasing or response options for qualification questions.46

96.     Questions in the main part of the Hibbard Survey asked respondents how many times

they have purchased a no-lye hair relaxer kit (Question 1) and how often they typically purchase

no-lye hair relaxer kits (Question 2).

97.     Question 3 in the Hibbard Survey asked respondents whether certain statements do or do

not describe their beliefs about no-lye hair relaxers. Among other statements, the question asked

respondents whether or not they believe that no-lye hair relaxers use strong chemicals to

straighten hair, may cause hair to fall out, may irritate the scalp, and may damage hair or skin.




46
  For example, qualification question D_RACE in the Dennis Survey asked respondents to select a single
response to indicate their race or ethnicity. Question D in my survey allowed respondents to select more
than one option. If a respondent was both African American and Hispanic, they could select both responses
in Question D. In the Dennis Survey, they could select only one of these two responses.

                                                 - 29 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 33 of 172



98.     Question 3 also included two control statements. This was done so that the survey

measures provided by this question could later be adjusted for extraneous factors, such as

acquiescence bias.47 Controls are used to address the possible tendency of respondents to answer

“yes” to fixed-response questions.48 This is sometimes called “acquiescence” or “yea-saying.”

It is not a universal phenomenon. The amount of acquiescence can vary greatly depending on

contextual variables such as question phrasing and respondent characteristics.49 These control

statements asked respondents whether or not they believe that no-lye hair relaxers come with

silver earrings, and should be applied only while driving.

99.     Question 4 in the Hibbard Survey asked respondents to identify whether or not they have

ever experienced certain outcomes as a result of using a no-lye hair relaxer. These outcomes

included scalp burning, hair breakage, and hair loss. Question 4 also included a control question,

which asked respondents whether they had ever experienced Darcy disease50 as a result of using

a no-lye hair relaxer.

100.    Question 5 in the Hibbard Survey asked respondents to identify whether or not they use

certain items on or in their hair at least once every three months. Among other items, the items

included hair coloring or hair dye, hair bleach or lightener, hair highlights, hair braids or

extensions, hair dryer, hot comb, flat iron, and curling iron.

101.    The Hibbard Survey included a number of quality control criteria, including control

questions. In total, the Hibbard Survey interviewed 379 Black or African American adult

women, all of whom indicated, among other qualification criteria, that they had purchased a no-

lye hair relaxer kit in the past five years.

47
  Acquiescence bias is the possible tendency of survey respondents to agree with survey questions
presented in certain formats, such as “yes” and “no” response options.
48
 Fixed-response questions are those that respondents answer by selecting from a list of possible responses.
By contrast, respondents answer open-ended questions by providing a response in their own words.
 For example, see Hans Baumgartner and Jan-Benedict E.M. Steenkamp (2001) “Response Styles in
49

Marketing Research: A Cross-National Investigation,” Journal of Marketing Research, May 2001, Vol. 38
No. 2, pp. 143-156.
50
  It is my belief that Darcy disease is not a real disease. Therefore, any respondent who indicated they
experienced Darcy disease as a result of using a no-lye hair relaxer would be indicating they had a non-
existent disease.

                                                   - 30 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 34 of 172



102.    Based on the data from my survey, I conclude the following:

           i.   Respondents have purchased no-lye hair relaxer kits multiple times over a long

                period of time. A majority of respondents (70.7%) indicated they have purchased a

                no-lye hair relaxer kit more than 10 times. In addition, 55.9% of respondents

                indicated that they typically purchase no-lye hair relaxer kits at least once every

                two to three months. These results indicate that consumers who have purchased

                no-lye hair relaxer kits are typically experienced with no-lye hair relaxers.

         ii.    Respondents understand that no-lye hair relaxers can involve certain risks. Before

                adjusting for the control, 83.1% of respondents indicated that they believe no-lye

                hair relaxers may irritate the scalp, while 80.2% indicated that they believe no-lye

                hair relaxers may damage hair or skin, 72.3% indicated that they believe no-lye

                hair relaxers use strong chemicals to straighten hair, and 66.2% indicated that they

                believe no-lye hair relaxers may cause hair to fall out. After adjusting for the

                control statements, the net measures were 80.4%, 77.5%, 69.6%, and 63.5%,

                respectively.51

         iii.   Respondents understand that hair relaxers involve certain safety procedures.

                Before adjusting for the control, 96.6% of respondents indicated that they believe

                no-lye hair relaxers should be applied to hair while wearing gloves, while 94.7%

                indicated that they believe no-lye hair relaxers come in a package that has safety

                warnings, 88.1% indicated that they believe no-lye hair relaxers should be put on

                after applying scalp protector, and 86.8% indicated that they believe no-lye hair

                relaxers should be applied to hair after conducting a strand test. After adjusting for

                the control statements, the net measures were 93.9%, 92.0%, 85.4%, and 84.1%,

                respectively.




51
  The average response to the control questions was 2.7%. The net measures are calculated as the gross
measures minus the 2.7% average of the control measures. For example, the net measure for “may irritate
the scalp” is calculated as 83.1% minus 2.7%, which equals 80.4%.

                                                 - 31 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 35 of 172



         iv.    Respondents have experienced negative outcomes as a result of using no-lye hair

                relaxers. The Hibbard Survey also asked respondents to indicate whether or not

                they had ever experienced certain outcomes as a result of using a no-lye hair

                relaxer. Of all respondents, 77.6% indicated they had experienced scalp burning,

                53.8% indicated they had experienced hair breakage, and 32.4% indicated they had

                experienced hair loss as a result of using a no-lye hair relaxer. Additionally, 0.3%

                indicated they had experienced Darcy disease as a result of using a no-lye hair

                relaxer. After accounting for the control, the net measures were 77.3%, 53.5%, and

                32.1%, respectively.

          v.    Respondents use other potentially-damaging products in or on their hair. The

                Hibbard Survey also asked respondents to indicate whether or not they use certain

                items on or in their hair at least once every three months. Of all respondents,

                71.0% indicated they use a hair dryer at least once every three months, compared

                with 63.1% for flat iron, 46.2% for curling iron, 40.4% for hair coloring or dye,

                40.4% for hair braids or extensions, 18.5% for hot comb, 10.8% for hair highlights,

                and 5.0% for hair bleach or lightener. As I understand it, these items may be

                damaging to hair when used on a regular basis.



Hibbard Survey Methodology

103.    As mentioned previously, I conducted the Hibbard Survey in rebuttal to the Dennis Survey.

My survey addresses the flaws in the Dennis Survey.

104.    The Hibbard Survey interviewed respondents who were qualified, among other criteria, as

having purchased a no-lye hair relaxer in the past five years. Other qualification criteria were

similar to those used in the Dennis Survey, but were modified where appropriate.52


52
  For example, Question D_RACE asked respondents to specify their race or ethnicity. The possible
responses included White, Hispanic or Latino, Black or African American, Native American or American
Indian, Asian / Pacific Islander, and Other. The question allowed only a single response, even though more
than one may have applied. (The question does not indicate how respondents should answer who consider
themselves both African American and Hispanic, or African American and Asian.)

                                                  - 32 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 36 of 172



105.    The Hibbard Survey qualified prospective respondents with questions that included the

following:

           i.   Geography: Question A asked respondents the state in which they live. The survey

                database is consistent with the distribution of Black or African-American adult

                females in the U.S. population,53 across geographic regions used by the Census

                Bureau,54 including Midwest (18.2% of respondents), Northeast (16.9%), South

                (54.3%), and West (10.6%).

         ii.    Gender: Question B asked respondents their gender. Respondents qualified if they

                indicated that they are female.

         iii.   Age: Question C asked respondents their age. The database reflects three age

                groups, including 18 to 34 years old (35.6% of respondents), 35 to 54 years old

                (38.0%), and 55 years old or older (26.4%).

         iv.    Race or Ethnicity: Question D asked respondents their race or ethnicity, and

                allowed respondents to select all of the races or ethnicities that apply to them.

                Respondents qualified for the survey if they selected “Black or African-American,”

                even if they selected other races and/or ethnicities as well.

         v.     Items purchased: Question E asked respondents whether they had purchased, in the

                past five years, “Nail care products (like hardener and polish),” “Hair care products

                (like shampoo, hair care kits, and conditioner),” “Foot care products (like creams

                and orthotics),” “Skin care products (like lotions and cleansers),” “First aid kit,”

                “Vitamins (like multi-vitamins, Vitamin A, or Vitamin C),” “None of these,”

                and/or “I don’t know.” Respondents qualified for the survey if they answered that

                they had purchased “Hair care products (like shampoo, hair care kits, and

                conditioner).”


53
  Age and geography characteristics for female African-Americans 18 years old and older were taken from
the U.S. Census Bureau, available at https://www2.census.gov.
54
  Regions are defined by the U.S. Census Bureau. A map of regions is available at
https://www2.census.gov/geo/pdfs/maps-data/maps/reference/us_regdiv.pdf.

                                                  - 33 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 37 of 172



         vi.    Hair care products purchased: Question F asked respondents which hair care

                products they had purchased in the past five years. Responses included, “Hair

                color kit,” “Hair extensions,” “Hair relaxer kit,” “Shampoo,” “None of these,” and

                “I don’t know.” Respondents qualified for the survey if they selected “Hair relaxer

                kit.”

        vii.    Type of hair relaxer kit purchased: Question G asked respondents which type of

                hair relaxer kit they had purchased in the past five years. Responses included, “No-

                lye hair relaxer kit (described on the package as ‘no-lye’),” “Conditioning hair

                relaxer kit (described on the package as ‘conditioning’),” “Children’s hair relaxer

                kit (described on the package as for children),” “None of these,” and “I don’t

                know.” Respondents qualified for the survey if they selected “No-lye hair relaxer

                kit (described on the package as ‘no-lye’).”

106.    Other questions qualified respondents as not working for any sensitive types of

businesses,55 not participating in a survey regarding hair care products within the past 30 days,56

and wearing eyeglasses or contact lenses if needed.

107.    The Hibbard Survey was conducted online, with respondents typing their own answers to

questions. Online panels are used frequently for surveys conducted in both litigation and

commercial contexts. Respondents were recruited through an online survey panel of consumers

provided by Survey Sampling International (SSI), a well-respected company that has provided

sampling and data collection for more than 40 years. SSI offers a broad consumer sample, and

partners with researchers to conduct more than 32 million surveys each year. SSI currently serves

more than 3,000 customers, including consumer research organizations, universities, and political

polling. SSI has a number of screening and quality control measures in place to ensure the




55
 Sensitive types of businesses in Question H included marketing research; advertising or public relations;
manufacturer, distributor, or retailer of hair care products; and hair salon or hair stylist.
56
  Question I asked, “In the past 30 days, how many surveys have you participated in regarding hair care
products?” Respondents were permitted to continue the survey if they answered “None.”

                                                  - 34 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 38 of 172



integrity and quality of potential respondents.57 The survey was conducted in a double-blind

manner, as neither the respondents nor SSI knew the purpose of the survey.

108.    Exhibit 3 shows the qualifying questions and questionnaire used in the Hibbard Survey.

109.    The survey was conducted online. After qualification, at the beginning of the survey,

respondents were given this instruction:

        “The remaining questions in this survey ask about no-lye hair relaxer kits. Hair
        relaxer kits contain lotions or creams that relax or straighten naturally curly or
        kinky hair. No-lye hair relaxer kits are described on the package as ‘no-lye.’

        As before, please do not guess, and please do not consult any other sources while
        you take this survey. If you do not know the answer to a question or do not have
        an opinion, please indicate that you do not know.”


110.    Question 1 asked, “How many times have you ever purchased a no-lye hair relaxer kit? As

a reminder, a no-lye hair relaxer kit contains lotions or creams that relax or straighten naturally

curly or kinky hair.” Responses included, “Never,” “1 to 2 times,” “3 to 5 times,” “6 to 10 times,”

“More than 10 times,” and “I don’t know.” “Never” was included as another quality control

measure. Respondents who selected “Never” were removed from the survey, because their

previous response to Question G indicated they had purchase a no-lye hair relaxer kit in the past

five years.

111.    Question 2 asked, “How often do you typically purchase no-lye hair relaxer kits?”

Responses included, “Less often than once per year,” “Once per year,” “2 to 3 times per year,”

“Once every 2 to 3 months,” “About once per month,” “More often than one per month,” and “I

don’t know.”




57
  For example, the panel uses double opt-in recruitment (where respondents must opt-in to the panel twice
upon joining), IP address verification (verifying the unique address of computers associated with specific
respondents), and straight-line checks (searching for those who selected the same response letter for
multiple questions).

                                                  - 35 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 39 of 172



112.   Question 3 asked respondents whether certain statements did or did not describe their

beliefs about no-lye hair relaxers. The question asked,

       “Please answer this question thinking about no-lye hair relaxer kits.

       Some, all, or none of the statements below may describe your beliefs about no-lye
       hair relaxers. For each statement, please select one response to indicate whether
       the statement does or does not describe your beliefs about no-lye hair relaxers, or
       you don’t know.”


113.   Question 3 then showed a series of statements about no-lye hair relaxers. For each

statement, respondents answered “Yes, this does describe my beliefs about no-lye hair relaxers,”

“No, this does not describe my beliefs about no-lye hair relaxers,” or “I don’t know.” Question 3

showed the following statements one at a time and in random order:

           a.   No-lye hair relaxers use strong chemicals to straighten hair.
           b.   No-lye hair relaxers may cause hair to fall out.
           c.   No-lye hair relaxers may irritate the scalp.
           d.   No-lye hair relaxers may damage hair or skin.
           e.   No-lye hair relaxers come in a package that has safety warnings.
           f.   No-lye hair relaxers should be put on hair after applying scalp protector.
           g.   No-lye hair relaxers should be applied to hair while wearing gloves.
           h.   No-lye hair relaxers should be applied to hair after conducting a strand test.
           i.   No-lye hair relaxers provides results that vary depending on hair type.
           j.   No-lye hair relaxers come with conditioner.
           k.   No-lye hair relaxers come with moisturizer.
           l.   No-lye hair relaxers are recommended by people I trust.
           m.   No-lye hair relaxers come with silver earrings.
           n.   No-lye hair relaxers should be used only while driving.


114.   In the list shown in Question 3, Statements m and n are control questions, which measure

the effect of extraneous factors, such as a respondent’s pre-existing impressions, biases,

inattention to survey questions, or tendency to guess. Respondents who answered affirmatively to

the control questions have agreed with a statement that consumers should not believe about no-lye

hair relaxers, and these answers are used during data analysis to adjust the survey measures for the

effect of extraneous factors.




                                                - 36 -
     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 40 of 172



115.    Question 4 asked, “Which, if any, of the following have you ever experienced as a result of

using a no-lye hair relaxer?” Question 4 then showed a series of potential outcomes of using no-

lye hair relaxers. For each outcome, respondents answered “Yes, I have experienced this as a

result of using a no-lye hair relaxer,” “No, I have not experienced this as a result of using a no-lye

hair relaxer,” or “I don’t know.” Question 4 showed the following outcomes one at a time and in

random order: scalp burning, hair breakage, hair loss, and Darcy disease. Darcy disease was

included as a control question. Respondents who answered affirmatively to the control question

have indicated that using a no-lye hair relaxer caused them to contract a fictitious disease, and

these answers are used during data analysis to adjust the survey measures for the effect of

extraneous factors.

116.    Question 5 asked, “Below is a list of items sometimes used for hair care. Please select the

items, if any, that you typically use on or in your hair at least once every 3 months.” Responses

included, “Hair coloring or hair dye,” “Hair bleach or lightener,” “Hair highlights,” “Hair braids or

extensions,” “Shampoo,” “Conditioner,” “Hair brush or comb,” “Hair dryer,” “Hot comb,” “Flat

iron,” “Curling iron,” “None of these,” and “I don’t know.”

117.    Interviews were conducted from October 20, 2017, through October 23, 2017. From the

original database of 385 completed interviews, 6 respondents (1.6%) were removed during

validation, leaving 379 respondents in the final database. This is a large database with sufficient

size to be reliable for analysis.

118.    The survey included several quality control and validation measures, which are described

in Exhibit 4.58 Exhibit 5 summarizes the number of respondents terminated at each point in the

screening and validation processes.




58
  As described in Exhibit 4, respondents were removed from the database if they did not pass validation
using pre-existing information from the panel operator regarding respondent gender, age, and geography.

                                                 - 37 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 41 of 172



Findings from the Hibbard Survey

119.   Exhibit 6 presents cross-tabulation tables for qualifying questions, as well as questions

from the main survey. Exhibit 7 shows all responses to all questions from all respondents, and

includes a data map indicating how variables in the database map to survey responses.

120.   Table A below shows the results of Question 1, which asked respondents how many times

they had ever purchased a no-lye hair relaxer kit.


                         Table A: Summary of Responses to Question 1

                                                                                         All
 Q.1 How many times have you ever purchased a no-lye hair relaxer kit?               Respondents
 Sample size                                                                             379
  More than 10 times                                                                     70.7%
  6 to 10 times                                                                          13.5%
  3 to 5 times                                                                           10.0%
  1 to 2 times                                                                             4.7%
  Never                                                                                    0.0%
  I don’t know                                                                             1.1%



121.   As shown in Table A, most respondents (70.7%) indicated they have purchased a no-lye

hair relaxer kit more than 10 times, which was the largest response category provided to

respondents. Another 13.5% of respondents indicated they have purchased a no-lye hair relaxer

kit 6 to 10 times, meaning that 84.2% indicated they have purchased a no-lye hair relaxer kit six

times or more. By contrast, only 4.7% of respondents indicated that they have purchased a no-lye

hair relaxer 1 to 2 times.




                                               - 38 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 42 of 172



122.   Table B below shows the results of Question 2, which asked respondents how often they

typically purchase no-lye hair relaxer kits.



                          Table B: Summary of Responses to Question 2
                                                                                       All
 Q.2 How often do you typically purchase no-lye hair relaxer kits?                 Respondents
 Sample size                                                                           379
  More often than once per month                                                       1.3%
  About once per month                                                                 18.7%
  Once every 2 to 3 months                                                             35.9%
  2 to 3 times per year                                                                26.1%
  Once per year                                                                        8.4%
  Less often than once per year                                                        8.5%
  I don’t know                                                                         1.1%



123.   As shown in Table B, more than half of respondents (55.9%) indicated that they typically

purchase no-lye hair relaxer kits once every two to three months, or more often. This includes

35.9% who indicated they typically purchase no-lye hair relaxer kits once every two to three

months, 18.7% who indicated they typically purchase no-lye hair relaxer kits about once per

month, and 1.3% who indicated they typically purchase no-lye hair relaxer kits more often than
once per month.

124.   Table C below summarizes the responses from Question 3, which asked respondents

whether they held certain beliefs about no-lye hair relaxers.




                                               - 39 -
 Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 43 of 172



                       Table C: Summary of Responses to Question 3
                                                                                Percent of
                                                                               Respondents
                                                                            Answering “Does”
Q.3 For each statement, please select one response to indicate whether the Gross,      Net,
statement does or does not describe your beliefs about no-lye hair relaxers, Before    After
or you don’t know.                                                           Controls Controls
Sample size                                                                   379
No-lye hair relaxers should be applied to hair while wearing gloves.         96.6%     93.9%
No-lye hair relaxers come in a package that has safety warnings.             94.7%     92.0%
No-lye hair relaxers provide results that vary depending on hair type.       93.7%     91.0%
No-lye hair relaxers come with conditioner.                                  90.7%     88.0%
No-lye hair relaxers should be put on hair after applying scalp protector.   88.1%     85.4%
No-lye hair relaxers should be applied to hair after conducting a strand test. 86.8%   84.1%
No-lye hair relaxers may irritate the scalp.                                 83.1%     80.4%
No-lye hair relaxers come with moisturizer.                                  81.0%     78.3%
No-lye hair relaxers may damage hair or skin.                                80.2%     77.5%
No-lye hair relaxers use strong chemicals to straighten hair.                72.3%     69.6%
No-lye hair relaxers are recommended by people I trust.                      69.9%     67.2%
No-lye hair relaxers may cause hair to fall out.                             66.2%     63.5%


Control Statements
 No-lye hair relaxers come with silver earrings.                              3.2%      NA
 No-lye hair relaxers should be applied only while driving.                   2.1%      NA
      Average of Control Statements                                          2.7%       NA

NA = Not applicable




                                               - 40 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 44 of 172



125.    As shown by Table C, the percentage of respondents who indicated that each statement

reflects their beliefs about no-lye hair relaxers varied from 66.2% to 96.6%. Of all respondents,

83.1% indicated that they believe no-lye hair relaxers may irritate the scalp. Additionally, 80.2%

indicated that they believe no-lye hair relaxers may damage hair or skin, 72.3% indicated that they

believe no-lye hair relaxers use strong chemicals to straighten hair, and 66.2% indicated that they

believe no-lye hair relaxers may cause hair to fall out.

126.    Two of the statements included in Question 3, “No-lye hair relaxers come with silver

earrings” and “No-lye hair relaxers should be applied only while driving” are control questions.

Table C shows that an average of 2.7% of respondents indicated that they hold at least one of these

beliefs about no-lye hair relaxers. Specifically, 3.2% answered affirmatively to, “No-lye hair

relaxers come with silver earrings,” while 2.1% answered affirmatory to, “No-lye hair relaxers

should be applied only while driving.”

127.    Table C also uses the results from the control questions to calculate net measures for each

statement. As can be seen, the calculations in the table create “net” measures by subtracting the

2.7% average of the control measures from the survey measures for each statements asked in

Question 3. As discussed earlier, the net measures remove the effect of extraneous factors, such as

acquiescence bias.

128.    After accounting for the control, 80.4% of respondents indicated that they believe no-lye

hair relaxers may irritate the scalp. Additionally, 77.5% indicated that they believe no-lye hair

relaxers may damage hair or skin, 69.6% indicated that they believe no-lye hair relaxers use strong

chemicals to straighten hair, and 63.5% indicated that they believe no-lye hair relaxers may cause

hair to fall out.

129.    Table D below summarizes the responses from Question 4, which asked respondents

whether they have ever experienced certain outcomes as a result of using a no-lye hair relaxer.




                                                - 41 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 45 of 172



                         Table D: Summary of Responses to Question 4
                                                                                     Percent of
                                                                                   Respondents
                                                                                    Answering
                                                                                      “I have”
                                                                                  Gross,     Net,
 Q.4 Which, if any, of the following have you ever experienced as a result        Before    After
 of using a no-lye hair relaxer?                                                  Control Control
 Sample size                                                                       379
  Scalp burning                                                                   77.6%      77.3%
  Hair breakage                                                                   53.8%      53.5%
  Hair loss                                                                       32.4%      32.1%

  Control Statement
  Darcy disease                                                                    0.3%          NA

 NA = Not applicable



130.   As shown by Table D, 77.6% of respondents indicated they had experienced scalp burning

as a result of using a no-lye hair relaxer. Furthermore, 53.8% of respondents indicated they had

experienced hair breakage, and 32.4% indicated they had experienced hair loss as a result of using

a no-lye hair relaxer.

131.   For the control measure, 0.3% of respondents indicated they had experienced Darcy

disease as a result of using a no-lye hair relaxer. Table D also indicates that, after accounting for
the control, 77.3% of respondents indicated they had experienced scalp burning as a result of using

a no-lye hair relaxer, 53.5% of respondents indicated they had experienced hair breakage, and

32.1% indicated they had experienced hair loss as a result of using a no-lye hair relaxer.

132.   Table E below summarizes the responses from Question 5, which asked respondents

whether they typically use certain items on or in their hair at least once every three months.




                                                - 42 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 46 of 172



                          Table E: Summary of Responses to Question 5
  Q.5 Below is a list of items sometimes used for hair care. Please select the
  items, if any, that you typically use on or in your hair at least once every 3
  months.
                                                                                           All
 Percentage of respondents selecting item                                              Respondents
 Sample size                                                                               379
 Shampoo                                                                                   94.2%
 Conditioner                                                                               92.9%
 Hair brush or comb                                                                        86.3%
 Hair dryer                                                                                71.0%
 Flat iron                                                                                 63.1%
 Curling iron                                                                              46.2%
 Hair coloring or hair dye                                                                 40.4%
 Hair braids or extensions                                                                 40.4%
 Hot comb                                                                                  18.5%
 Hair highlights                                                                           10.8%
 Hair bleach or lightener                                                                  5.0%
 None of these                                                                             0.5%
 I don’t know                                                                              0.0%



133.   Table E shows that 71.0% of respondents indicated that at least once every three months,
they typically use a hair dryer, 63.1% typically use a flat iron, 46.2% typically use a curling iron,

40.4% typically use hair coloring or hair dye, 40.4% typically use hair braids or extensions, 18.5%

typically use a hot comb, 10.8% typically use hair highlights, and 5.0% typically use hair bleach

or lightener.




                                                - 43 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 47 of 172



Conclusions from the Hibbard Survey
134.       Based on the data from the Hibbard Survey, the majority of respondents (70.7%)

indicated they have purchased a no-lye hair relaxer kit more than 10 times. In addition, 55.9% of

respondents indicated that they typically purchase no-lye hair relaxer kits at least once every two

to three months. These results indicate that consumers who purchase no-lye hair relaxer kits are

typically experienced with no-lye hair relaxers.

135.       The Hibbard Survey also asked respondents whether certain statements reflect their

beliefs about no-lye hair relaxers. Four of these beliefs represent the potential risks alleged in

the complaint, including “No-lye hair relaxers may irritate the scalp,” “No-lye hair relaxers may

damage hair or skin,” “No-lye hair relaxers use strong chemicals to straighten hair,” and “No-lye

hair relaxers may cause hair to fall out.” Of all respondents, 83.1% believe no-lye hair relaxers

may irritate the scalp, and 80.2% believe no-lye hair relaxers may damage hair or skin, 72.3%

indicated that they believe no-lye hair relaxers use strong chemicals to straighten hair, and 66.2%

believe no-lye hair relaxers may cause hair to fall out.

136.       My survey included control questions, which asked respondents whether they believe

“No-lye hair relaxers come with silver earrings” and “No-lye hair relaxers should be applied only

while driving.” An average of 2.7% of respondents indicated they believed at least one of these

control statements, indicating the level of “noise” associated with the measurement of these

beliefs.

137.       After accounting for the control “noise,” a net of 80.4% believe no-lye hair relaxers may

irritate the scalp, and 77.5% believe no-lye hair relaxers may damage hair or skin, 69.6%

indicated that they believe no-lye hair relaxers use strong chemicals to straighten hair, and 63.5%

believe no-lye hair relaxers may cause hair to fall out.




                                                  - 44 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 48 of 172



138.   The Hibbard Surveys also asked respondents whether they have ever experienced certain

outcomes as a result of using a no-lye hair relaxer. These outcomes included scalp burning, hair

breakage and hair loss. The question also asked if respondents had ever experienced Darcy

disease, as a control question. Of all respondents, 77.6% indicated they had experienced scalp

burning as a result of using a no-lye hair relaxer. Additionally, 53.8% indicated they had

experienced hair breakage as a result of using a no-lye hair relaxer, and 32.4% indicated they had

experienced hair loss as a result of using a no-lye hair relaxer. For the control, 0.3% indicated

they had experienced Darcy disease as a result of using a no-lye hair relaxer. After accounting

for the control, a net of 77.3% indicated they had experienced scalp burning, 53.5% indicated

they had experienced hair breakage, and 32.1% indicated they had experienced hair loss as a

result of using a no-lye hair relaxer.

139.   The Hibbard Survey also asked respondents to indicate other potentially damaging items

they typically use on or in their hair at least once every three months. Of all respondents, 71.0%

indicated that at least once every three months, they typically use a hair dryer, 63.1% typically

use a flat iron, 46.2% typically use a curling iron, 40.4% typically use hair coloring or hair dye,

40.4% typically use hair braids or extensions, 18.5% typically use a hot comb, 10.8% typically

use hair highlights, and 5.0% typically use hair bleach or lightener.




                                                - 45 -
   Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 49 of 172



I declare under penalty of perjury under the laws of the United States that the foregoing is true

and correct to the best of my belief and that this report is executed on this 26th day of October,

2017.




                                              ______________________________
                                              Dr. Jonathan D. Hibbard




                                                - 46 -
Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 50 of 172




                           Exhibit 1:
  Professor Jonathan D. Hibbard CV and Testimony Experience
       Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 51 of 172




                                Professor Jonathan D. Hibbard
                                Assistant Professor of Marketing
                                     Marketing Department
                                 Questrom School of Business
                         595 Commonwealth Avenue Boston, MA 02215
                               (617) 353-4411 jhibbard@bu.edu

EDUCATION
    Northwestern University
     Evanston, IL
        J.L. Kellogg Graduate School of Management
        Ph.D. in Marketing, 1995

    Northwestern University
     Evanston, IL
        J.L. Kellogg Graduate School of Management
        Masters of Business Administration (with distinction), 1988

    Boston University Questrom School of Business
     Boston, MA
        Bachelor of Science in Business Administration (summa cum laude), 1982


PUBLICATIONS
    Hibbard, Jonathan, Manish Kacker and Farhad Sadeh (2018), “Performance Impact of
     Distribution Expansion: A Review and Research Agenda,” in R. Dant, J. R. Brown and C.
     A. Ingene (Eds.), Handbook of Research on Distribution Channels, Edward Elgar, 1-31.
     Forthcoming.

    Isaacson, Bruce, Jonathan D. Hibbard, and Scott D. Swain (2012), “Three Critical
     Questions for Evaluating Intellectual Property Surveys,” Intellectual Property Today,
     September 12, 1-5.

    Kim, Stephen, Jonathan D. Hibbard, and Scott Swain, (2011) “Commitment in Marketing
     Channels: Mitigator or Aggravator of the Effects of Destructive Acts?” Journal of
     Retailing. 87 (December), 521-539.

    Joglekar, Nitin and Jonathan D. Hibbard. (2010). Clean Technology: On Top Down and
     Bottom Up Assessment of Business Plans. SiliconIndia, 12 (3).

    Isaacson, Bruce, Jonathan D. Hibbard, and Scott D. Swain (2008), “Why Online Consumer
     Surveys Can Be a Smart Choice in Intellectual Property Cases,” American Bar Association,
     Intellectual Property Law Newsletter, 26 (Spring), 1-15.

    Brunel, Frédéric F. and Jonathan D. Hibbard (2006),” Using Innovations in Student
     Teaming to Leverage Cross-Functional and Marketing Learning: Evidence from a Fully
     Integrated Undergraduate Core,” Marketing Education Review, (Winter) 16, 15-23.


 Hibbard CV, Revised October 2017                                                            Page 1
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 52 of 172




   Brunel, Frédéric F. and Jonathan D. Hibbard (2006), “Teams That Work. The Science
    Behind the Art of Cross-Functional Team Learning,” Builders and Leaders, (Spring), 20-
    23.

   Hibbard, Jonathan D., John E. Hogan, and Gerald Smith (2003), “Assessing the Strategic
    Value of a Business Relationship: The Role of Uncertainty and Flexibility,” Journal of
    Business & Industrial Marketing, 18 (4/5), 376-387.

   Brunel, Frédéric F. and Jonathan D. Hibbard (2002),”CRM and the Test of Time,” Builders
    & Leaders, Boston University School of Management (Fall), 25-27.

   Gregan-Paxton, Jennifer, Jonathan D. Hibbard, Frédéric F. Brunel, and Pablo Azar (2002),
    “'So That's What It Is': Examining the Impact of Analogy on Consumers' Knowledge
    Development for Really New Products,” Psychology & Marketing, 19 (June), 533-550.

   Hibbard, Jonathan D., Frédéric F. Brunel, Rajiv P. Dant, and Dawn Iacobucci (2001),
    “Does Relationship Marketing Age Well?” Business Strategy Review, Winter, Volume 12
    (4), 29-35.

   Hibbard, Jonathan D., Nirmalya Kumar, and Louis W. Stern (2001), “Examining the Impact
    of Destructive Acts in Marketing Channel Relationships,” Journal of Marketing Research,
    (38 February), 45-61.

   Hibbard, Jonathan D., Nirmalya Kumar, and Louis W. Stern (2001), “Examining the Impact
    of Destructive Acts in Marketing Channel Relationships,” Marketing Science Institute
    Working Paper Series, #01-102, Cambridge MA.

   Weinberg, Bruce D. and Jonathan D. Hibbard (2000), “The Emergence of the Internet
    Consumer-Entrepreneur,” The Manager, Boston University School of Management,
    (Spring), 23-24.

   Weinberg, Bruce D. and Jonathan Hibbard (2000), “The New Internet Consumer,” MBA
    Bulletpoint, April, 11-24.

   Iacobucci, Dawn and Jonathan D. Hibbard (1999), “Toward an Encompassing Theory of
    Business Marketing Relationships and Interpersonal Commercial Relationships: An Empirical
    Generalization,” Journal of Interactive Marketing, Summer, 13-33.

   Hibbard, Jonathan D. and Dawn Iacobucci (1999),”Business Marketing Relationships: An
    Empirical Generalization with Implications for Future Research,” (refereed abstract)
    Proceedings of the Ninth Biennial World Marketing Congress: Global Perspectives in
    Marketing for the 21st Century, June, Malta.

   Hibbard, Jonathan D. and Pablo Azar (1998), “The Use of Analogical Reasoning to
    Facilitate a Consumer’s Understanding and Evaluation of Really New Products,” Society of
    Consumer Psychology Winter Conference Proceedings (refereed), Austin, Texas.




Hibbard CV, Revised October 2017                                                         Page 2
        Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 53 of 172




   Hibbard, Jonathan D. (1996), “Supply Chain Management: Broadening the Research
    Perspective,” Manufacturing Roundtable Research Report Series, Report #451, Boston
    University School of Management.

   Hibbard, Jonathan D., Nirmalya Kumar, and Louis W. Stern (1996), “Examining Conflict
    Responses in Interorganizational Settings,” Proceedings of the International Conference on
    Advances in Management, Boston, MA.

   Kumar, Nirmalya Jonathan D. Hibbard, and Louis W. Stern (1994), “The Nature and
    Consequences of Marketing Channel Commitment,” Marketing Science Institute Working
    Paper Series, #94-115, Cambridge, MA.

   Hibbard, Jonathan D., Kent Grayson, and Philip Kotler (1995), “Marketing and
    Merchandising,” Encyclopedia Britannica.

   Hibbard, Jonathan D., Nirmalya Kumar, and Louis W. Stern (1995), “Accommodation
    Processes In Marketing Channel Relationships: Examining the Impact of Destructive Acts,”
    Proceedings of the International Association for Research in Economic Psychology
    (refereed), Summer Conference, Bergen, Norway.

   Buskirk, Bruce and Jonathan D. Hibbard (1987), “Setting the Direct Marketing Research
    Agenda for Academia,” Journal of Direct Marketing, 1 (Autumn), 5-11.

    Cases Authored/Supervised *
        Boston University: Daewoo Motor Corp: U.S. Entry, Intel Corporation: The Pentium
         Processor Problem, Cadbury Schweppes: The Acquisition of Dr. Pepper, Airport Travel
         Journal

        Northwestern University's Kellogg School: The West Bend Company, Lands' End Direct
         Merchants

        Harvard Business School: Anheuser-Busch, British Airways/United Airlines, Vestron,
         Cigna Worldwide
    * Several cases reprinted in teaching case compilation books.


PUBLISHED WORKING PAPERS
2005 “Using Innovations in Student Teaming to Leverage Cross-Functional and Marketing
     Learning: Evidence from a Fully Integrated Undergraduate Core” Boston University
     School of Management Working Paper #2005-50, October 2005 (with Frederic Brunel)

2002 “A Real Option-based Framework for Valuing Business Relationships as Strategic
     Assets,” Boston University School of Management Working Paper Series, #2002-10, with
     John E. Hogan.




Hibbard CV, Revised October 2017                                                          Page 3
       Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 54 of 172




 2001 “Diminishing Returns in Relationship Marketing,” Boston University School of
      Management Working Paper Series, #2001-14, with Frederic F. Brunel, Rajiv P. Dant,
      and Dawn Iacobucci.

 2001 “So That's What It is: Examining the Impact of Analogy on Consumers' Knowledge
      Development for Really New Products,” Boston University School of Management
      Working Paper Series, #2001-05, with Jennifer Gregan-Paxton, Frederic Brunel,
      and Pablo Azar.


PRESENTATIONS/CONFERENCES/PROCEEDINGS
    “Design for Measuring and Managing User Engagement: Evidence from Wearable
     Technologies,” with Fu-ren Lin, Nila Armelia Windasari, and Nitin Joglekar (2016),
     Cornell Symposium on Hospitality and Health Design (October).

    “Impact of Mixed Retail Experiences on Consumer Impressions of Salespersons,” with
     Scott D. Swain, and B. Andrew Cudmore (2016), 22nd International Conference on
     Industry, Engineering, and Management Systems, Cocoa Beach, FL: Association.

    “Attributions of Causality for Destructive Acts in Distribution Channels,”
     Interorganizational SIG Special Session on “Design and Management of Buyer-Seller
     Relationships and Distribution Channels, AMA Summer Marketing Educators’ Conference,
     August 2014, San Francisco (with Hadi Eslaminosratabadi and Manish Kacker).

    “Attributions of Causality for Destructive Acts in Distribution Channels,” Institute for the
     Study of Business Markets (ISBM) Academic Conference, July 2014, San Francisco (with
     Hadi Eslaminosratabadi and Manish Kacker).

    “Consumer Responses to Promotional Games in Social Media,” Academy of Marketing
     Science World Marketing Congress, (with Richard C. Hanna and Scott D. Swain) Reims,
     France, July 2011, eds. Barry J. Babin and Adilson Borges. p.814.

    “A Study of the Dual Effects of Dealer Commitment Under Relational Distress,” Academy
     of World Business Marketing and Management Development Conference (with Stephen K.
     Kim, Scott D. Swain), Oulu, Finland (July 2010).

    “Trademark Infringement: When is Similarity Confusing to Consumers?” Academy of
     Marketing Science World Marketing Congress (with Scott D. Swain and Richard C. Hanna)
     July 2009. Oslo, Norway. eds. Victoria L. Crittenden, Linda Ferrell, and Göran Svensson:
     333.

    “Order Effects in Retail Service Encounters,” 15th International Conference on Industry,
     Engineering, and Management Systems, March 2009. Cocoa Beach, FL: California State
     University Press, Stanislaus (with Scott D. Swain and Andrew Cudmore).




 Hibbard CV, Revised October 2017                                                             Page 4
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 55 of 172




   “Integrating Research Techniques for Deeper Customer Insights: Blurring Boundaries
    Between Research Methods,” American Marketing Association Marketing Research
    Conference, September 2008, Boston, MA (with Scott D. Swain and Bruce Isaccson).

   “A Signal Detection Approach for Assessing Response Biases in Consumer Confusion,”
    14th International Conference on Industry, Engineering, and Management Systems, Cocoa
    Beach, FL, March 2008 (with Scott D. Swain, Richard C. Hanna, and B. Andrew
    Cudmore).

   “SM323 - The Cross-Functional Core,” Decision Sciences Institute National Meeting,
    Phoenix, Arizona, November 2007 (with Peter Arnold and Frédéric Brunel).

   “Managing Cross-Functional, Multi-Section Required Courses,” 17th Annual Production
    and Operations Management Society Conference, Boston, MA, April 2006 (with Peter
    Arnold, Frédéric Brunel, J. Robb Dixon, Nitin Joglekar and Paul Morrison).

   “Entrepreneurial Ventures as the Cross-Functional Integration Mechanism in a Core
    Curriculum,” Changing the Entrepreneurial Landscape, Joint Conference of the United
    State Association for Small Business and Entrepreneurship and The Small Business
    Institute, Tucson AZ, January 2006 (with Nitin Joglekar and Frédéric Brunel).

   “Lessons and Best Practices in Cross-Functional Management Education,” Management
    Education Alliance Conference, held at Bentley College, Waltham, MA, November 2005
    (with Nitin Joglekar and Frederic Brunel).

   “Integrated Curriculum: Lessons from 12 years of Cross-Functional Learning,” Mid-
    Atlantic Association of Colleges of Business Administration Annual Conference,
    Baltimore, MD, October 2005 (with Nitin Joglekar and Frederic Brunel).

   “Cross Functional Integration in a Core Curriculum: Lessons, Best Practices and Evidence
    of Team-Learning,” The International College teaching Methods and Styles Conference,
    Reno, NV, September 2005 (with Frederic Brunel and Nitin, Joglekar).

   “Team Learning in a Cross-Functional NPD Course,” Decision Sciences Institute, Boston,
    MA, (with Peter Arnold, Frédéric Brunel, and Nitin Joglekar), November 2004.

   “The SMG Undergraduate Cross Functional Core Course” Curricular Innovations in
    Management Education Conference, Boston, MA (with Frédéric Brunel and Nitin
    Joglekar), October 2004.

   “Product Development as the Integrative Theme in Business Core Classes,” AACSB
    International Conference, Montreal, Canada (with Frederic Brunel and Nitin Joglekar),
    April 2004.

   “Building Exit Barriers as a Proactive Strategy for the Management of Conflict,” 7th
    International Research Conference on Relationship Marketing and Customer Relationship
    Management, Berlin, Germany (with Karen Koza and Rajiv Dant), June 2003.



Hibbard CV, Revised October 2017                                                            Page 5
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 56 of 172




   “Exploring Why Relationship Marketing May Not Age Well,” Babson College Research
    Forum, Wellesley MA (with Frederic Brunel), November 2002.

   “Does Relationship Marketing Age Well?,” Society for Consumer Psychology, Austin, TX
    (with Frederic Brunel, Rajiv Dant and Dawn Iacobucci), February 2002.

   “Valuing Buyer-Seller Relationships as Strategic Firm Assets,” presented at the annual
    Marketing Science Conference (with John E. Hogan), Wiesbaden, Germany, July 2001.

   “A Framework for Valuing Buyer-Seller Relationships as Strategic Firm Assets,” invited
    presentation at London Business School, April 2001, London, England (with John E.
    Hogan).

   “A Framework for Valuing Buyer-Seller Relationships as Strategic Firm Assets,” invited
    presentation at INSEAD Business School, April 2001, Fontainebleau, France (with John E.
    Hogan).

   “A Real-Options Based Framework for Valuing Buyer-Seller Relationships as Strategic
    Firm Assets,” presented at The Seventh Joint Conference of the Institute for the Study of
    Business Markets and The Center for Business and Industrial Marketing, February 2001
    (with John E. Hogan), Atlanta, GA.

   “Exploring Diminishing Returns in Long-term Marketing Relationships,” AMA Summer
    Marketing Educators’ Conference, Chicago, IL, August 2000 (with Rajiv Dant and Frederic
    F. Brunel).

   “The Conflict-Performance Assumption in Channels of Distribution,” AMA Summer
    Educators’ Conference, San Francisco, CA, August 1999 (with Rajiv Dant).

   “Business Marketing Relationships: An Empirical Generalization with Implications for Future
    Research,” 9th World Marketing Congress: Global Perspectives, B-to-B and Relationship
    Marketing Track, Malta, June 1999 (with Dawn Iacobucci).

   “Toward an Encompassing Theory of Relationships in Business and Consumer Marketing: An
    Empirical Generalization with Implications for Future Research,” Marketing Science Institute
    Conference in conjunction with Journal of Marketing, Cambridge, MA June 1998 (with Dawn
    Iacobucci).




Hibbard CV, Revised October 2017                                                           Page 6
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 57 of 172




TEACHING EXPERIENCE
 Boston University School of Management, Boston, MA                          1994-present
 Assistant Professor of Marketing
        Marketing Management – Undergraduate; Advanced Marketing Strategy
        Faculty Lead - The Cross Functional Undergraduate Core
        Have taught: Marketing Management (MBA) in China - International MBA
        Asia Pacific Executive MBA (Japan); Korean Executive MBA (Korea)
        Taught Business Marketing (MBA & undergraduate)

 Northwestern University, Evanston, IL                                             1991-1993
 Teaching Assistant, Kellogg Graduate School of Management


WORK EXPERIENCE
 Harvard Business School, Boston, MA                                               1988-1989
 Associate in Research
        Using survey data, researched impact of European Community's Common
        Market in 1992 on European and U.S. firms. Authored teaching cases in
        marketing dealing with entertainment, insurance, airline, and brewing
        industries.

 Boston University, Boston, MA                                                       1983-1987
 Assistant Alumni Director
        Coordinated alumni events in 21 metropolitan areas, servicing 25,000 alumni.
        Traveled to promote University's image, supporting development & recruitment.
        Received two prestigious national awards for creativity in alumni programming.

 NCR Corporation, New Haven, CT                                                    1982-1983
 Sales Representative
        Successfully sold mini-computers to manufacturing and wholesaling firms.
        Developed strong industrial marketing and sales skills.


SUMMARY OF RECENT SERVICE
 Humphrey Fellow Advisor


SELECTED HONORS, AWARDS
 2013 Broderick Award for Outstanding Contribution to the Undergraduate Program

 2009 Nominated as a candidate for 2010 Boston University’s Metcalf Award, the university’s
      highest teaching honor

 2009 Nominated for Marketing Management Association’s 2010 Hormel Meritorious Teaching
      Award



 Hibbard CV, Revised October 2017                                                       Page 7
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 58 of 172




 2007 SM323 Core - Excellence in Entrepreneurship Teaching and Pedagogical Innovation
      from National Consortium of Entrepreneurship Centers

 2004 General Electric Team Learning Award


EXPERT ANALYSIS AND TESTIMONY (LAST FOUR YEARS)
 2016 Pinkette Clothing, Inc., Plaintiff, vs. Cosmetic Warriors Limited, et al., Defendants, US
      District Court Central District of CA. Submitted an Expert Rebuttal report on Behalf of
      Pinkette and Deposed.

 2017 S.C. Johnson & Son, Inc., Plaintiff, v. Minigrip, LLC, Defendant. US District Court for
      the District of Wisconsin. Submitted an Expert Rebuttal report on Behalf of Minigrip and
      Deposed.

 2017 Gallagher, Farar, Lopez, Cordaro, and Cosgrove, Plaintiffs, v. Bayer AG, Bayer
      Corporation and Bayer Healthcare LLC, Defendants. United States District Court
      Northern District of California. Submitted an Expert Rebuttal report on Behalf of
      Plaintiffs and Deposed.




 Hibbard CV, Revised October 2017                                                          Page 8
Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 59 of 172




                           Exhibit 2:
             Comparison of No-Lye Hair Relaxer Kits
        Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 60 of 172




                            Comparison of No-Lye Hair Relaxer Kits

         The comparison provided in this exhibit is a comparison of no-lye hair relaxer kits that

were identified as best-sellers on retail websites, and in articles about hair relaxers.



Method for identifying no-lye hair relaxer kits

         Products were selected for purchase based on visiting retail websites, www.target.com,

www.walgreens.com, and www.walmart.com. On each retail website, the search term “No-lye

hair relaxer” was entered into the search bar, and the results were sorted by best sellers. On each
website, the top five to ten results for no-lye hair relaxer kits with at least one full application

were identified, and are included in this comparison.

         Additionally, a search on www.google.com was conducted for articles listing top hair

relaxers. Hair relaxers that did not specify “no-lye” and hair relaxers that did not include at least

one full application are not included in this comparison. Articles that indicated the top no-lye

hair relaxers are listed below:

        Dowling, April. “Best at Home Relaxer Kit.” BestCovery, February 20, 2015,

         www.bestcovery.com/best-home-relaxer-kit.

        “The 10 Best Hair Relaxers.” Comparaboo, October 2017, www.comparaboo.com/best-

         hair-relaxers.

        Williams, Claudine. “Relaxers for Black Hair.” LoveToKnow,
         www.hair.lovetoknow.com/Relaxers_for_Black_Hair.

        “Top 10 Hair Relaxers.” Ebay, March 13, 2016, http://www.ebay.com/gds/Top-10-Hair-

         Relaxers-/10000000204980413/g.html.




Exhibit 2 – Hibbard Expert Rebuttal Report                                                       Page 1
       Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 61 of 172




Products included in this comparison

        Based on these searches, a list of 23 no-lye hair relaxer kits was developed and included

in the comparison described in this report. The no-lye hair relaxers included in this comparison

include the following:

       Optimum Amla Legend Rejuvenating Ritual No-Mix, No-Lye Relaxer

       Optimum Care Salon Collection Optimum Care Anti-Breakage No-Lye Relaxer System,

        Regular

       Optimum Care Salon Collection Anti-Breakage No-Lye Relaxer System, Super

       ORS Built-In Protection No-Lye Hair Relaxer System, Extra Strength

       Dark and Lovely No-Lye Relaxer, For Color Treated Hair

       SoftSheen-Carson Dark and Lovely Healthy-Gloss 5 Shea Moisture No-Lye Relaxer –

        Regular

       SoftSheen-Carson Dark and Lovely Healthy-Gloss 5 Shea Moisture No-Lye Relaxer –

        Super

       African Pride® Olive Miracle® Regular Deep Conditioning Anti-Breakage No-Lye

        Relaxer Kit Box

       TCB Naturals Regular Conditioning No-Lye Hair Relaxer Box

       Soft & Beautiful Botanicals Regular No-Lye Sensitive Scalp Relaxer
       Soft & Beautiful No-Lye Conditioning Relaxer For Regular Hair

       Creme Of Nature Argan Oil No Lye Relaxer Kit

       Motions Smooth and Straighten No Lye Relaxer System, Regular

       Motions smooth and straighten silkening shine no lye, relaxer system, Regular

       Silk Elements Olive Oil No Lye Regular Relaxer

       Silk Elements No Lye Sensitive Scalp Coarse Relaxer System

       Silk Elements Luxury No Lye Sensitive Scalp Regular Relaxer System

       Ultra Sheen No Lye Conditioning Mild Relaxer
       Dr. Miracle’s No Lye Relaxer Regular Kit


Exhibit 2 – Hibbard Expert Rebuttal Report                                                  Page 2
       Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 62 of 172




       Africa's Best Herbal Intensive dual conditioning no-lye relaxer system, Super

       Africa's Best Herbal Intensive Dual Conditioning Regular/Normal Relaxer System

       PCJ no-lye conditioning & creme relaxer kit

       Elasta QP No Lye Conditioning Relaxer Kit



Product information included in this comparison

        For each of these 23 no-lye hair relaxer kits, certain information about each kit was

recorded and included in the comparison described in this report. This information included the

following:

       Product name: the brand and product name displayed on the package.

       Active ingredient: ingredients that breakdown chemical bonds of the hair.

       Mixing required: signifies whether the hair-relaxer requires mixing an activator with the

        relaxer cream.

       Products included: lists the individual products that are included in the no-lye hair

        relaxer kit.

       Maximum time: the total amount of time instructed when using the relaxer, including

        application and smoothing.

       Safety warning: a caution to not exceed the time limit provided in the instructions.
       Price: the price of the product at time of purchase.




Exhibit 2 – Hibbard Expert Rebuttal Report                                                      Page 3
                                             Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 63 of 172
                                                                             Comparison of No-Lye Hair Relaxer Kits
Product Name                                      Optimum Amla Legend            Optimum Care Salon              Optimum Care Salon           ORS Built-In Protection No- Dark and Lovely No-Lye
                                                  Rejuvenating Ritual No-      Collection Optimum Care         Collection Anti-Breakage        Lye Hair Relaxer System, Relaxer, For Color Treated
                                                   Mix, No-Lye Relaxer          Anti-Breakage No-Lye           No-Lye Relaxer System,               Extra Strength                 Hair
                                                                               Relaxer System, Regular                   Super

Active Ingredient                                    Lithium hydroxide            Calcium hydroxide               Calcium hydroxide               Calcium hydroxide          Calcium hydroxide

Mixing Required                                              No                           Yes                             Yes                            Yes                        Yes
Products included
      Protective pre-treatment                               X                              X                               X
      Relaxer Crème                                          X                              X                               X                            X                           X
      Activator (mixed with Relaxer Crème)                                                  X                               X                            X                           X
      Shampoo                                                 X                             X                               X                            X                           X
      Conditioner                                             X                             X                               X                             x                          X
      Mouse/Lotion/Mouisturizer/Strengthener                  X                             X                               X                            X                           X
      Instructions                                            X                             X                               X                            X                           X
      Wooden spoon                                            X                             X                               X                            X                           X
      Gloves                                                  X                             X                               X                            X                           X
Maximum Time                                           13-15 minutes                 15-20 minutes                   15-20 minutes                 12-20 minutes              15-20 minutes
Safety Warning                                         Do not exceed          Never leave relaxer mixture     Never leave relaxer mixture        Over-processing will         Do not exceed
                                                   recommended process            on hair longer than             on hair longer than               damage hair           recommended process
                                                   time for your hair type     maximum processing time         maximum processing time                                    time for your hair type
                                                                              indicated in the strand test.   indicated in the strand test.
                                                                                   Never exceed the                Never exceed the
                                                                               maximum processing time         maximum processing time
                                                                              indicated in the time chart.    indicated in the time chart.




Price                                                      $12.80                        $8.99                          $10.50                          $8.99                      $5.96




Exhibit 2 - Hibbard Expert Rebuttal Report                                                                                                                                                           Page 1
                                             Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 64 of 172
                                                                             Comparison of No-Lye Hair Relaxer Kits
Product Name                                     SoftSheen-Carson Dark and SoftSheen-Carson Dark and    African Pride® Olive      TCB Naturals Regular      Soft & Beautiful Botanicals
                                                   Lovely Healthy-Gloss 5    Lovely Healthy-Gloss 5    Miracle® Regular Deep    Conditioning No-Lye Hair     Regular No-Lye Sensitive
                                                   Shea Moisture No-Lye      Shea Moisture No-Lye    Conditioning Anti-Breakage       Relaxer Box                  Scalp Relaxer
                                                      Relaxer - Regular          Relaxer -Super        No-Lye Relaxer Kit Box

Active Ingredient                                    Calcium hydroxide            Calcium hydroxide          Calcium hydroxide         Calcium hydroxide        Calcium hydroxide

Mixing Required                                             Yes                          Yes                         Yes                      Yes                      Yes
Products included
      Protective pre-treatment
      Relaxer Crème                                           X                            X                          X                        X                        X
      Activator (mixed with Relaxer Crème)                    X                            X                          x                        X                        X
      Shampoo                                                 X                            X                          X                        X                        X
      Conditioner                                             X                            X                          X                        X                        X
      Mouse/Lotion/Mouisturizer/Strengthener                  X                            X
      Instructions                                            X                            X                         X                          X                       X
      Wooden spoon                                            X                            X                         X                          X                       X
      Gloves                                                  X                            X                         X                          X                       X
Maximum Time                                           15-20 minutes                15-20 minutes              13-20 minutes             18-20 minutes           10-20 minutes
Safety Warning                                         Do not exceed                Do not exceed         Do not exceed time limits!   Do not exceed time      Do not exceed time
                                                   recommended process          recommended process                                      recommended             recommended
                                                   time for your hair type      time for your hair type




Price                                                      $5.58                        $4.99                       $7.99                    $4.37                    $5.79




Exhibit 2 - Hibbard Expert Rebuttal Report                                                                                                                                                Page 2
                                             Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 65 of 172
                                                                             Comparison of No-Lye Hair Relaxer Kits
Product Name                                       No-Lye Conditioning         Creme Of Nature Argan Oil   Motions Smooth and             Motions smooth and        Olive Oil No Lye Regular
                                                  Relaxer For Regular Hair         No Lye Relaxer Kit    Straighten No Lye Relaxer     straighten silkening shine            Relaxer
                                                                                                              System, Regular            no lye, relaxer system,
                                                                                                                                                 Regular

Active Ingredient                                   Calcium hydroxide             Calcium hydroxide           Calcium hydroxide           Calcium hydroxide            Calcium hydroxide

Mixing Required                                             Yes                           Yes                        Yes                          Yes                         Yes
Products included
      Protective pre-treatment                                                                                        X                            X                           X
      Relaxer Crème                                          X                            X                          X                             X                           X
      Activator (mixed with Relaxer Crème)                   X                            X                          X                             X                           X
      Shampoo                                                X                             x                         X                             X                           X
      Conditioner                                            X                             x                          X                            X                           X
      Mouse/Lotion/Mouisturizer/Strengthener                 x                            X                          X
      Instructions                                           X                             x                         X                            X                            X
      Wooden spoon                                           X                             x                         X                            X                            X
      Gloves                                                 X                             x                         X                            X                            X
Maximum Time                                          10-20 minutes                 15-25 minutes              13-20 minutes               15-25 minutes                 10-20 minutes
Safety Warning                                      Do not exceed time         Do not exceed time limits! Do not exceed time limits!   Do not exceed maximum             Do not exceed
                                                      recommended                                                                               time.               recommended processing
                                                                                                                                                                             time!




Price                                                      $6.99                         $9.49                      $5.79                       $13.97                       $6.59




Exhibit 2 - Hibbard Expert Rebuttal Report                                                                                                                                                     Page 3
                                             Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 66 of 172
                                                                            Comparison of No-Lye Hair Relaxer Kits
Product Name                                       No Lye Sensitive Scalp      Luxury No Lye Sensitive   No Lye Conditioning Mild    No Lye Relaxer Regular Kit       Africa's Best Herbal
                                                   Coarse Relaxer System        Scalp Regular Relaxer            Relaxer                                          Intensive dual conditioning
                                                                                       System                                                                        no-lye relaxer system,
                                                                                                                                                                             Super

Active Ingredient                                  Calcium hydroxide and       Calcium hydroxide and        Calcium Hydroxide           Calcium Hydroxide             Calcium Hydroxide
                                                    Guandine Carbonate          Guandine Carbonate
Mixing Required                                             Yes                         Yes                        Yes                          Yes                          Yes
Products included
      Protective pre-treatment                               X                           X                                                       X
      Relaxer Crème                                          X                           X                           X                           X                            X
      Activator (mixed with Relaxer Crème)                   X                           X                           X                           X                            X
      Shampoo                                                X                           X                                                       X                            X
      Conditioner                                            X                           X                                                       X                            X
      Mouse/Lotion/Mouisturizer/Strengthener
      Instructions                                           X                           X                           X                           X                            X
      Wooden spoon                                           X                           X                           X                           X                            X
      Gloves                                                 X                           X                                                       X                            X
Maximum Time                                           12-20 minutes               10-20 minutes               10-20 minutes              15-20 minutes                15-20 minutes
Safety Warning                                         Do not exceed               Do not exceed         Don’t process hair longer   Smooth until the timing         Application must be
                                                  recommended processing      recommended processing        than recommended         period for your hair type      completd within 5 to 8
                                                           time!                       time!             treatment times specified     has expired, then go                minutes
                                                                                                          on TIME CHART for hair     immediately to the sink.
                                                                                                                   type.




Price                                                      $6.59                       $6.59                      $7.99                        $7.75                        $4.99




Exhibit 2 - Hibbard Expert Rebuttal Report                                                                                                                                                      Page 4
                                             Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 67 of 172
                                                                            Comparison of No-Lye Hair Relaxer Kits
Product Name                                         Africa's Best Herbal   PCJ NO-LYE CONDITIONING          No Lye Conditioning
                                                 Intensive Dual Conditioning & CREME RELAXER KIT                 Relaxer Kit
                                                   Regular/Normal Relaxer
                                                            System

Active Ingredient                                    Calcium Hydroxide           Calcium Hydroxide            Calcium Hydroxide

Mixing Required                                             Yes                          Yes                          Yes
Products included
      Protective pre-treatment
      Relaxer Crème                                          X                            X                              X
      Activator (mixed with Relaxer Crème)                   X                            X                              X
      Shampoo                                                X                            X                              X
      Conditioner                                            X                            X                              X
      Mouse/Lotion/Mouisturizer/Strengthener                                              X                              X
      Instructions                                           X                                                           X
      Wooden spoon                                           X                             X                             X
      Gloves                                                 X                             X                             X
Maximum Time                                          15-20 minutes                 10-25 minutes                 10-18 minutes
Safety Warning                                      Application must be         Proper timing is key to Timing is critical. Follow the
                                                   completd within 5 to 8        achieve the beautiful        time listed below or a
                                                          minutes               results you desire. The   lesser time as indicated by
                                                                             strand test should clear any the strand test. The total
                                                                                 uncertainty as to the      time for application and
                                                                                correct timing for you.        smoothing must not
                                                                                Timing starts from the    exceed the maximum time
                                                                               moment of application.         allowed for your hair.
                                                                                 Total application and
                                                                                 smoothing must not
                                                                               exceed maximum time.
                                                                               REMEMBER TO COUNT
                                                                                TIME FROM START OF
                                                                                    APPLICATION.

Price                                                      $5.49                        $7.99                       $12.74




Exhibit 2 - Hibbard Expert Rebuttal Report                                                                                               Page 5
Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 68 of 172




                           Exhibit 3:
             Survey Screener and Main Questionnaire
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 69 of 172



Jonathan Hibbard
October 2017

                                             At Home Survey

                                                 Screener

[DO NOT ALLOW RESPONDENTS TO GO BACK TO ANY PREVIOUS QUESTION.]

Thank you for participating in this survey. If you need glasses or contact lenses to see the screen clearly,
please put them on now. Please answer every question honestly and to the best of your ability. There are
no right or wrong answers; we are only interested in your opinions.

On any question, if you don’t know how to answer or you are not sure, simply indicate that you don’t
know. Please do not guess and please do not consult any other person or source, such as the Internet,
while you complete this survey.

Your individual responses are confidential and will not be shared with anyone.

Also, please do not use your browser's “Back” button to try to return to a prior question or your survey
will be terminated.


A.      In what state do you live? (SELECT ONE RESPONSE FROM DROP-DOWN LIST)

[PROVIDE DROP-DOWN LIST OF STATES, PLUS “Washington, D.C.” AND “Other or I don’t
know”.]

[ASSIGN TO REGION.
[IF REGIONAL QUOTA FILLED OR “OTHER OR I DON’T KNOW”, TERMINATE AND
SKIP TO Q.100. OTHERWISE, CONTINUE.]


B.      What is your gender? (SELECT ONE RESPONSE)

        [ROTATE ORDER OF RESPONSES. ANCHOR “PREFER NOT TO ANSWER” LAST.]
        Male
        Female
        Prefer not to answer

[IF “MALE” OR “PREFER NOT TO ANSWER”, TERMINATE AND SKIP TO Q.100.
OTHERWISE, CONTINUE.]




Exhibit 3 – Hibbard Expert Rebuttal Report                                                           Page 1
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 70 of 172



C.     What is your age? (SELECT ONE RESPONSE)

       17 years old or younger
       18 to 34 years old
       35 to 54 years old
       55 years old or older
       Prefer not to answer

[IF “17 YEARS OLD OR YOUNGER”, “PREFER NOT TO ANSWER”, OR QUOTA FILLED,
TERMINATE AND SKIP TO Q.100.]


D.     Please specify your race or ethnicity. (SELECT ALL THAT APPLY)

       [RANDOMIZE ORDER OF RESPONSES. ANCHOR “OTHER”, “I DON’T KNOW”,
       AND “PREFER NOT TO ANSWER” LAST.]
       White or Caucasian
       Hispanic or Latino
       Black or African American
       Native American or American Indian
       Asian or Pacific Islander
       Other
       I don’t know [EXCLUSIVE]
       Prefer not to answer [EXCLUSIVE]

[IF “BLACK OR AFRICAN AMERICAN”, CONTINUE. OTHERWISE, TERMINATE AND
SKIP TO Q.100.]


E.     Which, if any, of the following items have you purchased in the past 5 years? (SELECT ALL
       THAT APPLY)

       [RANDOMIZE ORDER OF RESPONSES. ANCHOR “NONE OF THESE” AND “I
       DON’T KNOW” LAST.]
       Nail care products (like hardener and polish)
       Hair care products (like shampoo, hair care kits, and conditioner)
       Foot care products (like creams and orthotics)
       Skin care products (like lotions and cleansers)
       First aid kit
       Vitamins (like multi-vitamins, Vitamin A, or Vitamin C)
       None of these [EXCLUSIVE]
       I don’t know [EXCLUSIVE]

[IF “HAIR CARE PRODUCTS” SELECTED, CONTINUE. OTHERWISE, TERMINATE AND
SKIP TO Q.100.]




Exhibit 3 – Hibbard Expert Rebuttal Report                                                  Page 2
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 71 of 172



F.     Which, if any, of the following hair care products have you purchased in the past 5 years?
       (SELECT ALL THAT APPLY)

       [RANDOMIZE ORDER OF RESPONSES. ANCHOR “NONE OF THESE” AND “I
       DON’T KNOW” LAST.]
       Hair color kit
       Hair extensions
       Hair relaxer kit
       Shampoo
       None of these [EXCLUSIVE]
       I don’t know [EXCLUSIVE]

[IF “HAIR RELAXER KIT” SELECTED, CONTINUE. OTHERWISE, TERMINATE AND SKIP
TO Q.100.]


G.     A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair.
       Which, if any, of the following types of hair relaxer kits have you purchased in the past 5 years?
       (SELECT ALL THAT APPLY)

       [RANDOMIZE ORDER OF RESPONSES. ANCHOR “NONE OF THESE” AND “I
       DON’T KNOW” LAST.]
       No-lye hair relaxer kit (described on the package as “no-lye”)
       Conditioning hair relaxer kit (described on the package as “conditioning”)
       Children’s hair relaxer kit (described on the package as for children)
       None of these [EXCLUSIVE]
       I don’t know [EXCLUSIVE]

[IF “NO-LYE HAIR RELAXER KIT (DESCRIBED ON THE PACKAGE AS ‘NO-LYE’)” IS
SELECTED, CONTINUE. OTHERWISE, TERMINATE AND SKIP TO Q.100.]


H.     Do you, or does anyone in your household, work in any of the following types of businesses?
       (SELECT ONE RESPONSE FOR EACH TYPE OF BUSINESS)

       RESPONSES
       [RANDOMIZE. ANCHOR “I DON’T KNOW” LAST.]
       Yes
       No
       I don’t know

       TYPE OF BUSINESS
       [RANDOMIZE ORDER OF TYPES BUSINESSES.]
       Marketing research
       Advertising or public relations
       Manufacturer, distributor, or retailer of hair care products
       Hair salon or hair stylist

[IF “NO” TO ALL, CONTINUE. OTHERWISE, TERMINATE AND SKIP TO Q.100.]




Exhibit 3 – Hibbard Expert Rebuttal Report                                                            Page 3
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 72 of 172



I.     In the past 30 days, how many surveys have you participated in regarding hair care products?
       (SELECT ONE RESPONSE)

       [REVERSE ORDER OF RESPONSES. ANCHOR “I DON’T KNOW” LAST.]
       None
       1 or 2
       3 or more
       I don’t know

[IF “NONE”, CONTINUE. OTHERWISE, TERMINATE AND SKIP TO Q.100.]


J.     Do you usually wear eyeglasses or contact lenses when you use an electronic device like the one
       you are using now? (SELECT ONE RESPONSE)

       [MATCH ORDER OF RESPONSES TO Q.H.]
       Yes, I do usually wear eyeglasses or contact lenses when I use this type of device
       No, I do not usually wear eyeglasses or contact lenses when I use this type of device.

[IF “YES”, CONTINUE. OTHERWISE, SKIP TO MAIN QUESTIONNAIRE.]


K.     Are you wearing your eyeglasses or contact lenses right now? (SELECT ONE RESPONSE)

       [MATCH ORDER OF RESPONSES TO Q.H.]
       Yes, I am wearing my eyeglasses or contact lenses right now
       No, I am not wearing my eyeglasses or contact lenses right now

[IF “NO”, CONTINUE. OTHERWISE, SKIP TO MAIN QUESTIONNAIRE.]


L.     Please put on your eyeglasses or contact lenses to complete the remainder of the survey. After
       you have put on your eyeglasses or contact lenses, please select the appropriate option below.
       (SELECT ONE RESPONSE)

       [MATCH ORDER OF RESPONSES TO Q.H.]
       Yes, I am wearing my eyeglasses or contact lenses
       No, I am not wearing my eyeglasses or contact lenses

[IF “I AM”, CONTINUE. OTHERWISE, TERMINATE AND SKIP TO Q.100.]




Exhibit 3 – Hibbard Expert Rebuttal Report                                                       Page 4
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 73 of 172



                                           Main Questionnaire

The remaining questions in this survey ask about no-lye hair relaxer kits. Hair relaxer kits contain lotions
or creams that relax or straighten naturally curly or kinky hair. No-lye hair relaxer kits are described on
the package as “no-lye.”

As before, please do not guess, and please do not consult any other sources while you take this survey. If
you do not know the answer to a question or do not have an opinion, please indicate that you do not
know.


1.      How many times have you ever purchased a no-lye hair relaxer kit? As a reminder, a no-lye hair
        relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair.
        (SELECT ONE RESPONSE)

        [REVERSE ORDER OF RESPONSES. ANCHOR “I DON’T KNOW” LAST.]
        Never
        1 to 2 times
        3 to 5 times
        6 to 10 times
        More than 10 times
        I don’t know

[IF “NEVER”, TERMINATE AND SKIP TO Q.100. OTHERWISE, CONTINUE.]


2.      How often do you typically purchase no-lye hair relaxer kits? (SELECT ONE RESPONSE)

        [REVERSE ORDER OF RESPONSES TO MATCH Q1. ANCHOR “I DON’T KNOW”
        LAST.]
        Less often than once per year
        Once per year
        2 to 3 times per year
        Once every 2 to 3 months
        About once per month
        More often than once per month
        I don’t know




Exhibit 3 – Hibbard Expert Rebuttal Report                                                           Page 5
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 74 of 172



3.     Please answer this question thinking about no-lye hair relaxer kits.

       Some, all, or none of the statements below may describe your beliefs about no-lye hair relaxers.
       For each statement, please select one response to indicate whether the statement [ROTATE TO
       MATCH Q.H: does or does not] describe your beliefs about no-lye hair relaxers, or you don’t
       know. (SELECT ONE RESPONSE FOR EACH STATEMENT)

       RESPONSES
       [MATCH ORDER OF RESPONSES TO Q.H. ANCHOR “I DON’T KNOW” LAST.]
       Yes, this does describe my beliefs about no-lye hair relaxers
       No, this does not describe my beliefs about no-lye hair relaxers
       I don’t know

       STATEMENTS
       [RANDOMIZE ORDER OF STATEMENTS.]
       No-lye hair relaxers use strong chemicals to straighten hair.
       No-lye hair relaxers may cause hair to fall out.
       No-lye hair relaxers may irritate the scalp.
       No-lye hair relaxers may damage hair or skin.
       No-lye hair relaxers come in a package that has safety warnings.
       No-lye hair relaxers should be put on hair after applying scalp protector.
       No-lye hair relaxers should be applied to hair while wearing gloves.
       No-lye hair relaxers should be applied to hair after conducting a strand test.
       No-lye hair relaxers provide results that vary depending on hair type.
       No-lye hair relaxers come with conditioner.
       No-lye hair relaxers come with moisturizer.
       No-lye hair relaxers are recommended by people I trust.
       No-lye hair relaxers come with silver earrings.
       No-lye hair relaxers should be applied only while driving.




Exhibit 3 – Hibbard Expert Rebuttal Report                                                        Page 6
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 75 of 172



4.     Which, if any, of the following have you ever experienced as a result of using a no-lye hair
       relaxer? For each, please select one response to indicate [ROTATE TO MATCH Q.H: yes, you
       have experienced this; no, you have not experienced this;] or you don’t know. (SELECT ONE
       RESPONSE FOR EACH)

       RESPONSES
       [RANDOMIZE ORDER OF RESPONSES. ANCHOR “I DON’T KNOW” LAST.]
       Yes, I have experienced this as a result of using a no-lye hair relaxer
       No, I have not experienced this as a result of using a no-lye hair relaxer
       I don’t know

       ITEMS
       [RANDOMIZE ORDER OF ITEMS.]
       Scalp burning
       Hair breakage
       Hair loss
       Darcy disease


5.     Below is a list of items sometimes used for hair care. Please select the items, if any, that you
       typically use on or in your hair at least once every 3 months. (SELECT ALL THAT APPLY)

       [RANDOMIZE ORDER OF ITEMS. ANCHOR “NONE OF THESE” AND “I DON’T
       KNOW” LAST.]
       Hair coloring or hair dye
       Hair bleach or lightener
       Hair highlights
       Hair braids or extensions
       Shampoo
       Conditioner
       Hair brush or comb
       Hair dryer
       Hot comb
       Flat iron
       Curling iron
       None of these [EXCLUSIVE]
       I don’t know [EXCLUSIVE]




Exhibit 3 – Hibbard Expert Rebuttal Report                                                        Page 7
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 76 of 172



6.     Please read the statement that follows and click either “I agree” or “I disagree.” If any portion of
       the statement is not true, please click “I disagree.”

       STATEMENT
       I am the person who was invited to participate in this survey. I completed this survey myself,
       without assistance or advice from any other person or source, and in accordance with the
       instructions provided in the survey. The answers I have given are truthful expressions of my
       situation and opinions.

                                 I agree                              I disagree

       Your response to the above statement will not affect your rewards for completing the survey.

[IF “I DISAGREE” IS SELECTED, COUNT RESPONDENT AS TERMINATED. DO NOT
COUNT AS A COMPLETED INTERVIEW AND DO NOT COUNT TOWARD QUOTAS.
REGARDLESS OF ANSWER, CONTINUE TO NEXT SCREEN AND REWARD RESPONDENT
FOR COMPLETION. DO NOT SHOW Q.100.]


7.     Thank you for completing our survey.


[SHOW Q.100 ONLY IF TERMINATED.]
Q.100 Thank you for your interest in this survey. However, we are looking for individuals with specific
      qualifications.




Exhibit 3 – Hibbard Expert Rebuttal Report                                                           Page 8
Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 77 of 172




                            Exhibit 4:
             Quality Control and Validation Measures
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 78 of 172




                             Quality Control and Validation Measures



           Survey administration included a number of quality control and validation measures,

which are described below.

       i.     The survey was pre-tested. Before starting the full survey, a small number of surveys

              was conducted online and the data were examined to ensure that the data were being

              recorded and coded properly, that the survey skip patterns were being followed

              accurately, and that responses demonstrated an understanding of the questions.

     ii.      The research was conducted in a double-blind manner, in which neither respondents

              nor the interviewing service were aware of key aspects of the survey, such as the

              survey’s purpose or sponsor. Email invitations did not provide any information

              indicating the purpose or sponsor of the survey.

     iii.     Certain questions and responses were rotated to reduce the possibility of order bias,

              which may occur if respondents are more likely to select a response in a particular

              position, such as first or last listed response. For example, the order of responses in

              questions B, D, E, F, G, H, I, J, K, L, 1, 2, 3, 4, and 5 was rotated or randomized.

              Each respondent saw responses to those questions in essentially random order, with “I

              don’t know” presented last.

     iv.      During qualification, qualifying responses were hidden among other, non-qualifying

              responses. This disguised the true purpose of the survey and which questions qualify

              respondents for the survey.

      v.      Respondents were instructed not to guess, and survey questions included “I don’t

              know” options to discourage respondents from selecting other responses that may not

              accurately represent their opinions.




Exhibit 4 – Hibbard Expert Rebuttal Report                                                       Page 1
      Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 79 of 172




        In surveys that involve live (in-person) interviewers, it is common procedure to validate a

percentage of the interviews, confirming key elements such as whether the interviews actually

took place and whether the respondent qualified.1 Validation may help to notify interviewers

that their work is being checked and to verify the honesty and accuracy of the interviewers, such

as identifying interviewers who may have fabricated the answers instead of following

instructions.2 In other words, the validation checks the interviewer, as opposed to checking the

interview.

        My survey did not use live interviewers, so the need for validation is greatly diminished.

However, I validated the interviews by matching respondents’ survey answers to the

respondents’ information on file with the sample provider for age, gender, and state. By

comparing these sets of data, I was able to confirm that respondents were qualified. All

respondents in the final database were validated in this manner.3




1
  J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition, Fourth Edition, Updated
March, 2009, 32:170.
2
  U.S. District Court, S.D. New York. Paco Sport, Ltd., v. Paco Rabanne Parfums. No. 96 Civ.
1408(JES). Feb. 17, 2000.
3
  Respondents were dropped from the final database if their survey responses did not match the pre-
existing information on file for at least two of three demographic questions: state (Question A), gender
(Question B), and age (Question C).


Exhibit 4 – Hibbard Expert Rebuttal Report                                                          Page 2
Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 80 of 172




                           Exhibit 5:
               Termination and Removal Summary
       Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 81 of 172


                              Termination and Removal Summary


 Reason for Termination or Removal                                                 Counts
Q.A         State                                                                       1

Q.B         Gender                                                                     84

 Q.C        Age                                                                        30

Q.D         Race or ethnicity                                                          77

Q.E         Items purchased in past 5 years                                           163

Q.F         Hair care products purchased in past 5 years                              859

Q.G         Type of hair relaxer kit purchased in past 5 years                         89

Q.H         Type of business work in                                                   77

Q.I         Participation in survey regarding hair care products in past 30 days       54

Q.L         Not wearing glasses or contact lenses if needed                             1

Q.1         Number of times ever purchased no-lye hair relaxer kit                      0

 Respondents removed for validation                                                     6

 Total number of respondents terminated or removed                                  1,441




Exhibit 5 – Hibbard Expert Rebuttal Report                                           Page 1
Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 82 of 172




                            Exhibit 6:
                     Cross Tabulation Tables
              Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 83 of 172

                                             Cross Tabulation Tables

Q.A In what state do you live?
Region

Base: All Respondents




                                                                              All Respondents
                                                                       Counts           Percentages
Sample size                                                             379               100.0%


South                                                                   206                54.3%
Midwest                                                                  69                18.2%
Northeast                                                                64                16.9%
West                                                                     40                10.6%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                         Page 1
              Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 84 of 172

                                             Cross Tabulation Tables

Q.B What is your gender?

Base: All Respondents




                                                                             All Respondents
                                                                       Counts          Percentages
Sample size                                                             379              100.0%


Female                                                                  379              100.0%
Male                                                                     0                0.0%
Prefer not to answer                                                     0                0.0%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                        Page 2
               Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 85 of 172

                                             Cross Tabulation Tables

Q.C What is your age?

Base: All Respondents




                                                                             All Respondents
                                                                       Counts          Percentages
Sample size                                                             379              100.0%


17 years old or younger                                                  0                0.0%
18 to 34 years old                                                      135               35.6%
35 to 54 years old                                                      144               38.0%
55 years old or older                                                   100               26.4%
Prefer not to answer                                                     0                0.0%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                        Page 3
               Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 86 of 172

                                             Cross Tabulation Tables

Q.D Please specify your race or ethnicity.

Base: All Respondents




                                                                             All Respondents
                                                                       Counts          Percentages
Sample size                                                             379              100.0%


Black or African American                                               379              100.0%
White or Caucasian                                                       9                2.4%
Hispanic or Latino                                                       6                1.6%
Native American or American Indian                                       6                1.6%
Asian or Pacific Islander                                                4                1.1%
Other                                                                    1                0.3%
I don’t know                                                             0                0.0%
Prefer not to answer                                                     0                0.0%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                        Page 4
                Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 87 of 172

                                                  Cross Tabulation Tables

Q.E Which, if any, of the following items have you purchased in the past 5 years?

Base: All Respondents




                                                                                          All Respondents
                                                                                    Counts          Percentages
Sample size                                                                          379              100.0%


Hair care products (like shampoo, hair care kits, and conditioner)                   379              100.0%
Skin care products (like lotions and cleansers)                                      361               95.3%
Nail care products (like hardener and polish)                                        303               79.9%
Vitamins (like multi-vitamins, Vitamin A, or Vitamin C)                              289               76.3%
Foot care products (like creams and orthotics)                                       193               50.9%
First aid kit                                                                        156               41.2%
None of these                                                                         0                0.0%
I don’t know                                                                          0                0.0%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                     Page 5
                 Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 88 of 172

                                             Cross Tabulation Tables

Q.F Which, if any, of the following hair care products have you purchased in the past 5 years?

Base: All Respondents




                                                                                         All Respondents
                                                                                  Counts           Percentages
Sample size                                                                         379              100.0%


Hair relaxer kit                                                                    379              100.0%
Shampoo                                                                             364               96.0%
Hair color kit                                                                      224               59.1%
Hair extensions                                                                     205               54.1%
None of these                                                                        0                0.0%
I don’t know                                                                         0                0.0%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                    Page 6
                Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 89 of 172

                                               Cross Tabulation Tables

Q.G A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if
any, of the following types of hair relaxer kits have you purchased in the past 5 years?

Base: All Respondents




                                                                                           All Respondents
                                                                                   Counts            Percentages
Sample size                                                                          379               100.0%


No-lye hair relaxer kit (described on the package as “no-lye”)                       379               100.0%
Conditioning hair relaxer kit (described on the package as “conditioning”)           169                44.6%
Children’s hair relaxer kit (described on the package as for children)                71                18.7%
None of these                                                                         0                 0.0%
I don’t know                                                                          0                 0.0%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                      Page 7
                Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 90 of 172

                                                Cross Tabulation Tables

Q.H Do you, or does anyone in your household, work in any of the following types of businesses?
Summary of "No" responses

Base: All Respondents




                                                                                     All Respondents
                                                                                 Counts           Percentages
Sample size                                                                        379              100.0%


Marketing research                                                                 379              100.0%
Advertising or public relations                                                    379              100.0%
Manufacturer, distributor, or retailer of hair care products                       379              100.0%
Hair salon or hair stylist                                                         379              100.0%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                   Page 8
               Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 91 of 172

                                             Cross Tabulation Tables

Q.I In the past 30 days, how many surveys have you participated in regarding hair care products?

Base: All Respondents




                                                                                       All Respondents
                                                                                Counts             Percentages
Sample size                                                                       379                100.0%


None                                                                              379                100.0%
1 or 2                                                                             0                  0.0%
3 or more                                                                          0                  0.0%
I don’t know                                                                       0                  0.0%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                    Page 9
               Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 92 of 172

                                               Cross Tabulation Tables

Q.J Do you usually wear eyeglasses or contact lenses when you use an electronic device like the one you are using
now?

Base: All Respondents




                                                                                       All Respondents
                                                                                  Counts          Percentages
Sample size                                                                         379              100.0%

Yes, I do usually wear eyeglasses or contact lenses when I use this type of
                                                                                    217               57.3%
device
No, I do not usually wear eyeglasses or contact lenses when I use this type of
                                                                                    162               42.7%
device




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                    Page 10
              Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 93 of 172

                                             Cross Tabulation Tables

Q.K Are you wearing your eyeglasses or contact lenses right now?

Base: All Respondents




                                                                              All Respondents
                                                                       Counts           Percentages
Sample size                                                             379               100.0%


Yes, I am wearing my eyeglasses or contact lenses right now             195                51.5%
No, I am not wearing my eyeglasses or contact lenses right now           22                5.8%
Not asked                                                               162                42.7%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                         Page 11
              Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 94 of 172

                                             Cross Tabulation Tables

Q.L Please put on your eyeglasses or contact lenses to complete the remainder of the survey. After you have put
on your eyeglasses or contact lenses, please select the appropriate option below.

Base: All Respondents




                                                                                         All Respondents
                                                                                 Counts            Percentages
Sample size                                                                        379               100.0%


Yes, I am wearing my eyeglasses or contact lenses                                   22                5.8%
No, I am not wearing my eyeglasses or contact lenses                                0                 0.0%
Not asked                                                                          357                94.2%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                    Page 12
                Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 95 of 172

                                             Cross Tabulation Tables

Q.1 How many times have you ever purchased a no-lye hair relaxer kit? As a reminder, a no-lye hair relaxer kit
contains lotions or creams that relax or straighten naturally curly or kinky hair.

Base: All Respondents




                                                                                        All Respondents
                                                                                Counts            Percentages
Sample size                                                                       379               100.0%


More than 10 times                                                                268                70.7%
6 to 10 times                                                                      51                13.5%
3 to 5 times                                                                       38                10.0%
1 to 2 times                                                                       18                4.7%
Never                                                                              0                 0.0%
I don’t know                                                                       4                 1.1%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                   Page 13
                Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 96 of 172

                                             Cross Tabulation Tables

Q.2 How often do you typically purchase no-lye hair relaxer kits?

Base: All Respondents




                                                                              All Respondents
                                                                       Counts           Percentages
Sample size                                                             379               100.0%


More often than once per month                                           5                 1.3%
About once per month                                                     71                18.7%
Once every 2 to 3 months                                                136                35.9%
2 to 3 times per year                                                    99                26.1%
Once per year                                                            32                8.4%
Less often than once per year                                            32                8.5%
I don’t know                                                             4                 1.1%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                         Page 14
                Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 97 of 172

                                               Cross Tabulation Tables

Q.3 Please answer this question thinking about no-lye hair relaxer kits.

Some, all, or none of the statements below may describe your beliefs about no-lye hair relaxers. For each
statement, please select one response to indicate whether the statement does or does not describe your beliefs
about no-lye hair relaxers, or you don’t know.

Base: All Respondents
                                                                                           All Respondents
                                                                                   Counts            Percentages
Sample size                                                                          379               100.0%


No-lye hair relaxers use strong chemicals to straighten hair.
 Yes, this does describe my beliefs about no-lye hair relaxers                       274                72.3%
 No, this does not describe my beliefs about no-lye hair relaxers                     88                23.2%
 I don’t know                                                                         17                4.5%

No-lye hair relaxers may cause hair to fall out.
 Yes, this does describe my beliefs about no-lye hair relaxers                       251                66.2%
 No, this does not describe my beliefs about no-lye hair relaxers                     96                25.3%
 I don’t know                                                                         32                8.5%

No-lye hair relaxers may irritate the scalp.
 Yes, this does describe my beliefs about no-lye hair relaxers                       315                83.1%
 No, this does not describe my beliefs about no-lye hair relaxers                     53                14.0%
 I don’t know                                                                         11                2.9%

No-lye hair relaxers may damage hair or skin.
 Yes, this does describe my beliefs about no-lye hair relaxers                       304                80.2%
 No, this does not describe my beliefs about no-lye hair relaxers                     64                16.9%
 I don’t know                                                                         11                2.9%

No-lye hair relaxers come in a package that has safety warnings.
 Yes, this does describe my beliefs about no-lye hair relaxers                       359                94.7%
 No, this does not describe my beliefs about no-lye hair relaxers                     10                2.7%
 I don’t know                                                                         10                2.6%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                      Page 15
                Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 98 of 172

                                              Cross Tabulation Tables

Q.3 Please answer this question thinking about no-lye hair relaxer kits.

Some, all, or none of the statements below may describe your beliefs about no-lye hair relaxers. For each
statement, please select one response to indicate whether the statement does or does not describe your beliefs
about no-lye hair relaxers, or you don’t know.

Base: All Respondents
                                                                                           All Respondents
                                                                                   Counts            Percentages
Sample size                                                                          379               100.0%


No-lye hair relaxers should be put on hair after applying scalp protector.
 Yes, this does describe my beliefs about no-lye hair relaxers                       334                88.1%
 No, this does not describe my beliefs about no-lye hair relaxers                     33                8.7%
 I don’t know                                                                         12                3.2%

No-lye hair relaxers should be applied to hair while wearing gloves.
 Yes, this does describe my beliefs about no-lye hair relaxers                       366                96.6%
 No, this does not describe my beliefs about no-lye hair relaxers                     12                3.2%
 I don’t know                                                                         1                 0.2%

No-lye hair relaxers should be applied to hair after conducting a strand test.
 Yes, this does describe my beliefs about no-lye hair relaxers                       329                86.8%
 No, this does not describe my beliefs about no-lye hair relaxers                     36                9.5%
 I don’t know                                                                         14                3.7%

No-lye hair relaxers provide results that vary depending on hair type.
 Yes, this does describe my beliefs about no-lye hair relaxers                       355                93.7%
 No, this does not describe my beliefs about no-lye hair relaxers                     18                4.7%
 I don’t know                                                                         6                 1.6%

No-lye hair relaxers come with conditioner.
 Yes, this does describe my beliefs about no-lye hair relaxers                       344                90.7%
 No, this does not describe my beliefs about no-lye hair relaxers                     23                6.1%
 I don’t know                                                                         12                3.2%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                      Page 16
                Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 99 of 172

                                              Cross Tabulation Tables

Q.3 Please answer this question thinking about no-lye hair relaxer kits.

Some, all, or none of the statements below may describe your beliefs about no-lye hair relaxers. For each
statement, please select one response to indicate whether the statement does or does not describe your beliefs
about no-lye hair relaxers, or you don’t know.

Base: All Respondents
                                                                                           All Respondents
                                                                                   Counts            Percentages
Sample size                                                                          379               100.0%


No-lye hair relaxers come with moisturizer.
 Yes, this does describe my beliefs about no-lye hair relaxers                       307                81.0%
 No, this does not describe my beliefs about no-lye hair relaxers                     53                14.0%
 I don’t know                                                                         19                5.0%

No-lye hair relaxers are recommended by people I trust.
 Yes, this does describe my beliefs about no-lye hair relaxers                       265                69.9%
 No, this does not describe my beliefs about no-lye hair relaxers                     68                18.0%
 I don’t know                                                                         46                12.1%

No-lye hair relaxers come with silver earrings.
 Yes, this does describe my beliefs about no-lye hair relaxers                        12                3.2%
 No, this does not describe my beliefs about no-lye hair relaxers                    358                94.4%
 I don’t know                                                                         9                 2.4%

No-lye hair relaxers should be applied only while driving.
 Yes, this does describe my beliefs about no-lye hair relaxers                        8                 2.1%
 No, this does not describe my beliefs about no-lye hair relaxers                    370                97.6%
 I don’t know                                                                         1                 0.3%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                      Page 17
              Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 100 of 172

                                               Cross Tabulation Tables

Q.4 Which, if any, of the following have you ever experienced as a result of using a no-lye hair relaxer? For each,
please select one response to indicate yes, you have experienced this; no, you have not experienced this; or you
don’t know.

Base: All Respondents


                                                                                           All Respondents
                                                                                   Counts            Percentages
Sample size                                                                          379               100.0%


Scalp burning
 Yes, I have experienced this as a result of using a no-lye hair relaxer             294                77.6%
 No, I have not experienced this as a result of using a no-lye hair relaxer           83                21.9%
 I don’t know                                                                         2                 0.5%

Hair breakage
 Yes, I have experienced this as a result of using a no-lye hair relaxer             204                53.8%
 No, I have not experienced this as a result of using a no-lye hair relaxer          167                44.1%
 I don’t know                                                                         8                 2.1%

Hair loss
 Yes, I have experienced this as a result of using a no-lye hair relaxer             123                32.4%
 No, I have not experienced this as a result of using a no-lye hair relaxer          247                65.2%
 I don’t know                                                                         9                 2.4%

Darcy disease
 Yes, I have experienced this as a result of using a no-lye hair relaxer              1                 0.3%
 No, I have not experienced this as a result of using a no-lye hair relaxer          329                86.8%
 I don’t know                                                                         49                12.9%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                      Page 18
                Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 101 of 172

                                              Cross Tabulation Tables

Q.5 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on
or in your hair at least once every 3 months.

Base: All Respondents




                                                                                             All Respondents
                                                                                      Counts           Percentages
Sample size                                                                            379               100.0%


Shampoo                                                                                357                94.2%
Conditioner                                                                            352                92.9%
Hair brush or comb                                                                     327                86.3%
Hair dryer                                                                             269                71.0%
Flat iron                                                                              239                63.1%
Curling iron                                                                           175                46.2%
Hair coloring or hair dye                                                              153                40.4%
Hair braids or extensions                                                              153                40.4%
Hot comb                                                                                70                18.5%
Hair highlights                                                                         41                10.8%
Hair bleach or lightener                                                                19                5.0%
None of these                                                                            2                0.5%
I don’t know                                                                             0                0.0%




Exhibit 6 - Hibbard Expert Rebuttal Report                                                                        Page 19
Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 102 of 172




                            Exhibit 7:
               All Responses From All Respondents
                      Survey Data File
                      Survey Data Map
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 103 of 172
                                                               Survey Data File

 responseid     interview_end        qa      hidqregion   qb   qc   qd_1    qd_2    qd_3    qd_4    qd_5    qd_6   qd_7
     10        10/20/2017 3:52       MS          3         2   2     0       0       1       0       0       0      0
     11        10/20/2017 3:56       GA          3         2   4     0       0       1       0       0       0      0
     15        10/20/2017 4:08       GA          3         2   2     0       0       1       0       0       0      0
     23        10/20/2017 4:19       VA          3         2   2     0       0       1       0       0       0      0
     27        10/20/2017 4:24       NY          1         2   2     0       0       1       0       0       0      0
     28        10/20/2017 4:26       NY          1         2   3     0       0       1       0       0       0      0
     30        10/20/2017 4:33       CA          4         2   3     0       0       1       0       0       0      0
     32        10/20/2017 4:36       CT          1         2   2     1       0       1       0       0       0      0
     33        10/20/2017 4:43       GA          3         2   4     0       0       1       0       0       0      0
     38        10/20/2017 5:21       MS          3         2   2     0       0       1       0       0       0      0
     42        10/20/2017 5:34       AL          3         2   2     0       0       1       0       0       0      0
     43        10/20/2017 5:34       GA          3         2   2     0       0       1       0       0       0      0
     46        10/20/2017 5:54       CA          4         2   3     0       0       1       0       0       0      0
     47        10/20/2017 5:44       NC          3         2   2     0       0       1       0       0       0      0
     50        10/20/2017 5:47       MI          2         2   3     0       0       1       0       0       0      0
     56        10/20/2017 6:15       NJ          1         2   2     0       0       1       0       0       0      0
     75        10/20/2017 6:34       GA          3         2   2     0       0       1       0       0       0      0
     76        10/20/2017 6:34       KY          3         2   2     0       0       1       0       0       0      0
     80        10/20/2017 6:42       MI          2         2   2     0       0       1       0       0       0      0
     86        10/20/2017 7:06       IL          2         2   2     0       0       1       0       0       0      0
     90        10/20/2017 7:13       VA          3         2   2     0       0       1       0       0       0      0
     91        10/20/2017 7:16       FL          3         2   2     0       0       1       0       0       0      0
     93        10/20/2017 7:20       PA          1         2   2     0       0       1       0       0       0      0
    100        10/20/2017 7:47       AL          3         2   3     0       0       1       0       0       0      0
    103        10/20/2017 7:47       NY          1         2   3     0       0       1       0       0       0      0
    104        10/20/2017 7:49       GA          3         2   3     0       0       1       0       0       0      0
    105        10/20/2017 7:50       NC          3         2   3     0       0       1       0       0       0      0
    108        10/20/2017 7:51       NY          1         2   3     0       0       1       0       0       0      0
    111        10/20/2017 8:13       NJ          1         2   4     0       0       1       0       0       0      0
    117        10/20/2017 8:53       LA          3         2   2     0       0       1       0       0       0      0
    118        10/20/2017 9:01       FL          3         2   4     0       0       1       0       0       0      0
    120        10/20/2017 8:53       TX          3         2   3     0       0       1       0       0       0      0
    122        10/20/2017 8:55       OH          2         2   4     0       0       1       0       0       0      0
    123        10/20/2017 8:56       PA          1         2   2     0       0       1       0       0       0      0
    130        10/20/2017 9:58       MO          2         2   2     0       0       1       0       0       0      0
    131        10/20/2017 9:58       FL          3         2   2     0       0       1       0       0       1      0
    139       10/20/2017 10:20       FL          3         2   3     0       0       1       0       0       0      0
    162       10/20/2017 10:50       CA          4         2   2     1       0       1       0       1       0      0
    168       10/20/2017 11:02       NC          3         2   2     0       0       1       0       0       0      0
    174       10/20/2017 11:07       PA          1         2   3     0       0       1       0       1       0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                Page 1
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 104 of 172
                                                               Survey Data File

 responseid     qd_8        qe_1        qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1    qf_2   qf_3   qf_4
     10          0           1           1      0       1       1       0       0       0       1       1      1      1
     11          0           1           1      1       1       1       1       0       0       1       0      1      1
     15          0           1           1      1       1       1       1       0       0       1       1      1      1
     23          0           1           1      1       1       1       1       0       0       0       1      1      1
     27          0           0           1      0       0       0       1       0       0       1       1      1      1
     28          0           1           1      0       1       0       1       0       0       0       0      1      1
     30          0           1           1      1       1       1       1       0       0       1       1      1      1
     32          0           0           1      1       1       1       1       0       0       0       0      1      1
     33          0           1           1      1       1       1       1       0       0       1       1      1      1
     38          0           1           1      0       1       1       0       0       0       1       1      1      1
     42          0           1           1      1       1       1       1       0       0       1       1      1      1
     43          0           1           1      0       0       1       1       0       0       1       0      1      1
     46          0           1           1      0       1       0       1       0       0       1       0      1      1
     47          0           1           1      0       1       1       1       0       0       1       0      1      1
     50          0           1           1      1       1       1       1       0       0       1       1      1      1
     56          0           1           1      1       1       1       1       0       0       0       1      1      1
     75          0           0           1      0       1       0       0       0       0       1       0      1      0
     76          0           1           1      0       1       0       1       0       0       1       1      1      1
     80          0           0           1      0       1       0       1       0       0       0       0      1      1
     86          0           1           1      0       1       1       1       0       0       1       0      1      1
     90          0           1           1      1       1       0       0       0       0       1       1      1      1
     91          0           1           1      0       1       1       0       0       0       1       0      1      1
     93          0           1           1      0       1       1       1       0       0       1       1      1      1
    100          0           1           1      1       1       1       1       0       0       1       0      1      1
    103          0           1           1      1       1       1       1       0       0       1       1      1      1
    104          0           1           1      1       1       0       1       0       0       1       0      1      1
    105          0           1           1      0       1       0       1       0       0       1       1      1      1
    108          0           0           1      0       1       0       1       0       0       0       1      1      1
    111          0           0           1      1       1       0       1       0       0       0       0      1      1
    117          0           1           1      1       1       0       1       0       0       1       0      1      1
    118          0           1           1      1       1       0       1       0       0       1       0      1      1
    120          0           1           1      0       1       1       1       0       0       0       1      1      1
    122          0           1           1      1       1       1       1       0       0       1       0      1      1
    123          0           1           1      1       1       0       0       0       0       0       0      1      1
    130          0           1           1      0       1       0       1       0       0       1       1      1      1
    131          0           1           1      0       1       1       1       0       0       1       1      1      1
    139          0           1           1      1       1       1       1       0       0       1       1      1      1
    162          0           1           1      1       1       1       1       0       0       0       1      1      1
    168          0           1           1      0       1       0       0       0       0       1       1      1      1
    174          0           0           1      0       1       0       0       0       0       0       0      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 2
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 105 of 172
                                                               Survey Data File

 responseid     qf_5        qf_6        qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3    qh_4   qi   qj
     10          0           0           1      0       1       0       0       2       2       2       2     1    2
     11          0           0           1      1       0       0       0       2       2       2       2     1    1
     15          0           0           1      1       0       0       0       2       2       2       2     1    2
     23          0           0           1      1       1       0       0       2       2       2       2     1    2
     27          0           0           1      0       1       0       0       2       2       2       2     1    2
     28          0           0           1      0       0       0       0       2       2       2       2     1    2
     30          0           0           1      0       0       0       0       2       2       2       2     1    2
     32          0           0           1      1       0       0       0       2       2       2       2     1    2
     33          0           0           1      0       0       0       0       2       2       2       2     1    2
     38          0           0           1      1       0       0       0       2       2       2       2     1    1
     42          0           0           1      1       0       0       0       2       2       2       2     1    2
     43          0           0           1      1       1       0       0       2       2       2       2     1    1
     46          0           0           1      1       0       0       0       2       2       2       2     1    2
     47          0           0           1      1       0       0       0       2       2       2       2     1    2
     50          0           0           1      1       0       0       0       2       2       2       2     1    1
     56          0           0           1      1       0       0       0       2       2       2       2     1    1
     75          0           0           1      0       0       0       0       2       2       2       2     1    2
     76          0           0           1      1       0       0       0       2       2       2       2     1    2
     80          0           0           1      0       0       0       0       2       2       2       2     1    1
     86          0           0           1      0       0       0       0       2       2       2       2     1    1
     90          0           0           1      0       1       0       0       2       2       2       2     1    1
     91          0           0           1      1       1       0       0       2       2       2       2     1    2
     93          0           0           1      1       1       0       0       2       2       2       2     1    1
    100          0           0           1      0       0       0       0       2       2       2       2     1    2
    103          0           0           1      0       0       0       0       2       2       2       2     1    1
    104          0           0           1      1       0       0       0       2       2       2       2     1    2
    105          0           0           1      0       0       0       0       2       2       2       2     1    2
    108          0           0           1      1       0       0       0       2       2       2       2     1    2
    111          0           0           1      1       0       0       0       2       2       2       2     1    2
    117          0           0           1      1       0       0       0       2       2       2       2     1    2
    118          0           0           1      1       0       0       0       2       2       2       2     1    1
    120          0           0           1      1       0       0       0       2       2       2       2     1    2
    122          0           0           1      1       1       0       0       2       2       2       2     1    1
    123          0           0           1      1       0       0       0       2       2       2       2     1    2
    130          0           0           1      0       1       0       0       2       2       2       2     1    1
    131          0           0           1      1       0       0       0       2       2       2       2     1    2
    139          0           0           1      0       0       0       0       2       2       2       2     1    1
    162          0           0           1      0       0       0       0       2       2       2       2     1    1
    168          0           0           1      0       0       0       0       2       2       2       2     1    2
    174          0           0           1      1       0       0       0       2       2       2       2     1    1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                              Page 3
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 106 of 172
                                                               Survey Data File

 responseid      qk           ql         q1     q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6    q3_7   q3_8   q3_9
     10                                   4      4      1       1       1       1       1       2       1      1      1
     11           1                       5      4      2       1       1       1       1       1       1      1      1
     15                                   3      4      1       2       1       1       1       1       1      1      1
     23                                   5      4      1       1       1       1       1       1       1      1      1
     27                                   5      4      1       1       1       1       1       1       1      1      1
     28                                   5      3      1       1       1       1       1       1       1      1      1
     30                                   5      3      2       1       1       1       1       1       1      1      1
     32                                   3      2      1       1       1       1       1       1       1      1      1
     33                                   5      4      1       1       1       1       1       1       1      1      1
     38           1                       5      5      1       2       1       1       1       1       1      1      1
     42                                   5      5      1       3       1       1       1       1       1      1      1
     43           1                       3      5      1       1       2       2       1       2       2      2      1
     46                                   5      2      2       3       1       1       1       1       1      1      1
     47                                   5      4      1       2       1       1       1       1       1      1      1
     50           1                       3      3      3       1       1       2       1       2       1      1      1
     56           1                       5      4      1       1       1       1       1       1       1      1      1
     75                                   4      4      1       1       3       1       1       1       1      1      1
     76                                   5      3      1       1       1       1       1       1       1      1      2
     80           1                       5      3      1       1       1       1       1       1       1      1      1
     86           1                       5      4      1       1       1       1       1       1       1      3      1
     90           1                       4      5      2       3       1       2       1       3       1      3      3
     91                                   3      4      1       1       1       1       1       1       1      1      1
     93           1                       4      4      1       1       1       1       1       1       1      1      2
    100                                   5      1      2       3       1       1       1       1       1      1      1
    103           1                       5      1      1       1       1       2       1       1       1      1      1
    104                                   5      5      2       1       1       1       1       1       1      1      1
    105                                   5      4      1       1       1       1       1       1       1      1      1
    108                                   5      5      1       1       1       1       1       1       1      1      1
    111                                   5      5      1       2       1       2       1       1       1      1      1
    117                                   5      5      1       1       1       1       1       2       1      1      1
    118           1                       5      4      2       2       1       1       1       1       1      1      1
    120                                   5      5      1       2       1       1       1       1       1      1      1
    122           1                       5      4      2       1       1       1       1       1       1      1      1
    123                                   4      5      1       2       2       2       1       1       1      1      1
    130           1                       5      5      1       1       1       1       1       1       1      1      1
    131                                   5      1      1       1       1       1       1       1       1      1      1
    139           1                       5      4      1       1       1       1       1       1       1      1      1
    162           1                       4      3      1       1       1       1       1       1       1      2      1
    168                                   5      3      1       1       1       1       1       1       1      1      1
    174           1                       5      4      3       3       1       3       1       1       1      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 4
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 107 of 172
                                                               Survey Data File

 responseid     q3_10       q3_11       q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1    q5_2   q5_3   q5_4
     10           1           1           1       2       2      1      2       2       2       0       0      0      1
     11           1           1           1       2       2      1      1       2       2       1       0      1      0
     15           1           1           1       2       2      1      2       2       2       1       0      0      1
     23           1           1           2       2       2      1      1       1       2       0       0      0      1
     27           1           1           2       2       2      1      1       1       2       0       0      0      1
     28           1           1           3       2       2      1      2       2       2       0       0      0      0
     30           1           2           1       2       2      1      1       1       2       1       0      0      0
     32           1           1           1       2       2      2      1       1       2       0       0      0      0
     33           1           1           1       2       2      1      1       1       2       1       0      0      1
     38           1           1           1       2       2      2      2       2       2       1       0      0      0
     42           3           1           1       2       2      1      1       2       2       1       0      0      1
     43           2           1           1       1       1      2      1       2       2       1       0      0      1
     46           1           1           1       2       2      1      1       2       2       0       0      0      0
     47           1           1           1       2       2      1      2       2       2       1       0      0      0
     50           1           3           1       2       2      2      1       1       2       1       0      0      0
     56           1           1           1       2       2      1      1       2       2       0       0      0      0
     75           1           1           1       3       2      1      2       2       2       0       0      0      0
     76           1           1           1       2       2      1      1       1       2       1       1      0      1
     80           1           1           1       2       2      1      3       2       2       0       0      0      0
     86           1           1           3       2       2      1      1       1       3       0       0      0      0
     90           1           2           1       1       1      1      1       1       3       1       0      1      1
     91           1           1           2       2       2      1      1       1       2       1       1      0      0
     93           1           1           1       2       2      1      1       1       2       1       0      0      1
    100           1           3           1       2       2      1      2       2       2       0       0      0      0
    103           1           1           1       2       2      1      1       1       2       1       0      1      0
    104           1           1           1       2       2      1      1       1       2       0       0      0      1
    105           1           1           1       2       2      1      1       3       2       1       0      0      1
    108           1           1           1       2       2      1      2       2       2       0       0      0      1
    111           1           1           2       2       2      1      1       1       3       0       0      0      0
    117           1           2           1       2       2      1      1       1       2       1       0      0      0
    118           1           1           3       2       2      1      3       3       2       1       0      0      0
    120           1           1           1       2       2      1      1       2       2       0       0      0      1
    122           1           1           1       3       2      2      2       2       2       1       0      1      0
    123           1           1           1       2       2      2      2       2       2       0       0      0      1
    130           1           2           1       3       2      1      1       2       2       1       0      0      1
    131           1           1           1       2       2      1      1       1       2       1       1      1      1
    139           1           1           1       2       2      1      1       2       2       1       0      0      1
    162           1           3           1       2       2      1      1       2       2       0       0      0      0
    168           1           1           2       2       2      1      2       2       2       0       0      0      1
    174           3           3           1       2       2      1      1       2       2       0       0      0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 5
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 108 of 172
                                                               Survey Data File

 responseid     q5_5        q5_6        q5_7   q5_8    q5_9   q5_10   q5_11   q5_12   q5_13     q6
     10          1           1           1      1       0       1       1       0       0        1
     11          1           1           1      1       1       1       1       0       0        1
     15          1           1           1      1       0       1       1       0       0        1
     23          1           1           1      1       1       0       1       0       0        1
     27          1           1           0      0       0       0       0       0       0        1
     28          1           1           1      1       0       0       0       0       0        1
     30          1           1           1      0       0       0       0       0       0        1
     32          1           1           1      0       0       1       0       0       0        1
     33          1           1           1      0       1       0       1       0       0        1
     38          1           1           1      1       1       1       1       0       0        1
     42          1           1           1      1       0       1       1       0       0        1
     43          0           0           0      0       1       0       1       0       0        1
     46          1           1           1      0       0       0       0       0       0        1
     47          1           1           1      1       0       1       1       0       0        1
     50          1           1           1      1       0       1       0       0       0        1
     56          1           1           1      1       0       1       1       0       0        1
     75          0           0           1      1       0       1       0       0       0        1
     76          1           1           1      1       1       1       1       0       0        1
     80          1           0           0      1       1       0       0       0       0        1
     86          0           1           1      0       0       1       0       0       0        1
     90          1           0           0      0       1       0       1       0       0        1
     91          0           1           0      0       0       0       0       0       0        1
     93          1           1           0      1       0       1       1       0       0        1
    100          1           0           1      0       0       0       0       0       0        1
    103          1           1           1      1       1       1       1       0       0        1
    104          1           1           1      1       0       1       1       0       0        1
    105          1           1           1      1       0       1       0       0       0        1
    108          1           1           1      1       0       1       0       0       0        1
    111          1           1           1      1       1       1       1       0       0        1
    117          1           1           0      0       0       0       0       0       0        1
    118          1           1           1      1       0       0       1       0       0        1
    120          1           1           1      1       0       1       0       0       0        1
    122          1           1           1      1       1       1       1       0       0        1
    123          1           1           1      1       0       1       1       0       0        1
    130          1           1           1      1       0       1       0       0       0        1
    131          1           1           1      1       0       1       1       0       0        1
    139          1           1           1      1       0       1       1       0       0        1
    162          1           1           1      1       0       0       0       0       0        1
    168          1           1           1      1       0       1       1       0       0        1
    174          1           1           1      1       0       1       0       0       0        1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 6
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 109 of 172
                                                               Survey Data File

 responseid     interview_end        qa      hidqregion   qb   qc   qd_1    qd_2    qd_3    qd_4    qd_5    qd_6   qd_7
    175       10/20/2017 11:09       NC          3         2   3     0       0       1       0       0       0      0
    183       10/20/2017 11:35       IL          2         2   4     0       0       1       0       0       0      0
    184       10/20/2017 11:25       TN          3         2   3     0       0       1       0       0       0      0
    195       10/20/2017 11:43       KS          2         2   3     0       0       1       0       0       0      0
    201       10/20/2017 11:47       CT          1         2   2     1       0       1       0       0       0      0
    204       10/20/2017 11:49       DE          3         2   3     0       0       1       0       0       0      0
    231       10/20/2017 12:04       TX          3         2   3     0       0       1       0       0       0      0
    233       10/20/2017 12:07       TX          3         2   2     0       0       1       0       0       0      0
    236       10/20/2017 12:05       NY          1         2   2     0       1       1       0       0       0      0
    242       10/20/2017 12:15       IL          2         2   4     0       0       1       0       0       0      0
    249       10/20/2017 12:20       FL          3         2   2     0       0       1       0       0       0      0
    256       10/20/2017 12:31       MD          3         2   3     0       0       1       0       0       0      0
    265       10/20/2017 12:34       PA          1         2   3     0       1       1       0       0       0      0
    274       10/20/2017 13:02       TX          3         2   3     0       0       1       0       0       0      0
    280       10/20/2017 12:56       IN          2         2   2     0       0       1       0       0       0      0
    286       10/20/2017 13:04       MS          3         2   3     0       0       1       0       0       0      0
    289       10/20/2017 13:14       CO          4         2   3     0       0       1       0       0       0      0
    294       10/20/2017 13:22       IN          2         2   4     0       0       1       0       0       0      0
    299       10/20/2017 15:36       NY          1         2   4     0       0       1       0       0       0      0
    306       10/20/2017 13:30       TX          3         2   4     0       0       1       0       0       0      0
    309       10/20/2017 13:30       SC          3         2   4     0       0       1       0       0       0      0
    310       10/20/2017 13:30       NC          3         2   2     0       0       1       0       0       0      0
    311       10/20/2017 13:33       OH          2         2   2     0       0       1       0       0       0      0
    314       10/20/2017 13:35       GA          3         2   3     0       0       1       0       0       0      0
    315       10/20/2017 13:46       NJ          1         2   2     0       0       1       0       0       0      0
    318       10/20/2017 13:44       CA          4         2   4     0       0       1       0       0       0      0
    321       10/20/2017 13:53       MD          3         2   4     0       0       1       0       0       0      0
    323       10/20/2017 13:50       NY          1         2   2     0       1       1       0       0       0      0
    331       10/20/2017 13:51       GA          3         2   3     0       0       1       0       0       0      0
    349       10/20/2017 14:10       NJ          1         2   4     0       0       1       0       0       0      0
    351       10/20/2017 14:14       WI          2         2   2     0       0       1       0       0       0      0
    360        10/23/2017 9:34       PA          1         2   4     0       0       1       0       0       0      0
    369       10/20/2017 14:33       OK          3         2   4     0       0       1       0       0       0      0
    370       10/20/2017 14:32       OH          2         2   3     0       0       1       0       0       0      0
    374       10/20/2017 14:35       OH          2         2   4     0       0       1       0       0       0      0
    389       10/20/2017 15:05       PA          1         2   3     0       0       1       0       0       0      0
    392       10/20/2017 14:51       NJ          1         2   3     0       0       1       0       0       0      0
    395       10/20/2017 14:52       OH          2         2   2     0       0       1       0       0       0      0
    397       10/20/2017 14:57       MI          2         2   4     0       0       1       0       0       0      0
    409       10/20/2017 15:34       AL          3         2   3     0       0       1       0       0       0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                Page 7
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 110 of 172
                                                               Survey Data File

 responseid     qd_8        qe_1        qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1    qf_2   qf_3   qf_4
    175          0           1           1      1       1       0       1       0       0       0       1      1      1
    183          0           1           1      0       1       0       1       0       0       1       1      1      1
    184          0           0           1      1       1       1       1       0       0       0       1      1      1
    195          0           1           1      1       1       0       0       0       0       1       1      1      1
    201          0           1           1      1       1       1       1       0       0       1       1      1      1
    204          0           1           1      0       1       0       1       0       0       0       1      1      1
    231          0           1           1      1       1       1       1       0       0       0       1      1      1
    233          0           1           1      0       1       0       1       0       0       0       1      1      1
    236          0           1           1      1       1       1       1       0       0       0       1      1      1
    242          0           0           1      1       1       1       1       0       0       1       0      1      1
    249          0           0           1      0       1       0       0       0       0       0       0      1      0
    256          0           1           1      0       1       0       1       0       0       1       1      1      1
    265          0           1           1      1       1       0       1       0       0       0       0      1      1
    274          0           0           1      0       0       0       1       0       0       0       1      1      0
    280          0           1           1      0       1       0       1       0       0       1       1      1      1
    286          0           1           1      1       1       0       0       0       0       0       1      1      1
    289          0           1           1      0       1       1       0       0       0       0       1      1      1
    294          0           0           1      0       1       0       1       0       0       0       0      1      1
    299          0           0           1      0       0       0       0       0       0       1       0      1      0
    306          0           1           1      1       1       0       1       0       0       0       0      1      1
    309          0           0           1      1       1       1       0       0       0       0       1      1      1
    310          0           1           1      1       1       1       1       0       0       1       1      1      1
    311          0           1           1      1       1       1       1       0       0       0       0      1      1
    314          0           0           1      0       1       0       0       0       0       0       0      1      1
    315          0           1           1      0       1       0       0       0       0       1       1      1      1
    318          0           1           1      0       1       0       1       0       0       0       0      1      1
    321          0           1           1      1       1       1       1       0       0       0       1      1      1
    323          0           1           1      0       1       0       1       0       0       0       0      1      1
    331          0           0           1      0       1       0       1       0       0       0       0      1      1
    349          0           1           1      1       1       0       1       0       0       1       0      1      1
    351          0           0           1      0       1       0       0       0       0       1       1      1      1
    360          0           1           1      0       1       1       0       0       0       0       0      1      1
    369          0           1           1      1       1       0       1       0       0       1       1      1      1
    370          0           0           1      0       1       0       1       0       0       1       0      1      1
    374          0           1           1      1       1       1       1       0       0       1       0      1      1
    389          0           1           1      0       1       0       1       0       0       0       1      1      1
    392          0           1           1      1       1       1       1       0       0       0       0      1      1
    395          0           1           1      0       1       0       1       0       0       0       1      1      1
    397          0           1           1      1       1       1       1       0       0       1       1      1      1
    409          0           1           1      1       1       1       1       0       0       0       0      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 8
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 111 of 172
                                                               Survey Data File

 responseid     qf_5        qf_6        qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3    qh_4   qi   qj
    175          0           0           1      0       0       0       0       2       2       2       2     1    1
    183          0           0           1      0       0       0       0       2       2       2       2     1    1
    184          0           0           1      0       0       0       0       2       2       2       2     1    2
    195          0           0           1      0       1       0       0       2       2       2       2     1    1
    201          0           0           1      1       1       0       0       2       2       2       2     1    1
    204          0           0           1      0       1       0       0       2       2       2       2     1    1
    231          0           0           1      0       0       0       0       2       2       2       2     1    2
    233          0           0           1      0       1       0       0       2       2       2       2     1    1
    236          0           0           1      0       0       0       0       2       2       2       2     1    2
    242          0           0           1      1       0       0       0       2       2       2       2     1    1
    249          0           0           1      0       0       0       0       2       2       2       2     1    2
    256          0           0           1      0       0       0       0       2       2       2       2     1    1
    265          0           0           1      1       0       0       0       2       2       2       2     1    2
    274          0           0           1      0       0       0       0       2       2       2       2     1    1
    280          0           0           1      1       1       0       0       2       2       2       2     1    1
    286          0           0           1      0       0       0       0       2       2       2       2     1    2
    289          0           0           1      0       0       0       0       2       2       2       2     1    2
    294          0           0           1      0       0       0       0       2       2       2       2     1    2
    299          0           0           1      1       0       0       0       2       2       2       2     1    1
    306          0           0           1      1       0       0       0       2       2       2       2     1    2
    309          0           0           1      1       0       0       0       2       2       2       2     1    1
    310          0           0           1      0       0       0       0       2       2       2       2     1    2
    311          0           0           1      0       0       0       0       2       2       2       2     1    2
    314          0           0           1      1       0       0       0       2       2       2       2     1    2
    315          0           0           1      0       0       0       0       2       2       2       2     1    1
    318          0           0           1      0       0       0       0       2       2       2       2     1    1
    321          0           0           1      0       0       0       0       2       2       2       2     1    1
    323          0           0           1      0       0       0       0       2       2       2       2     1    2
    331          0           0           1      1       0       0       0       2       2       2       2     1    1
    349          0           0           1      0       1       0       0       2       2       2       2     1    1
    351          0           0           1      1       1       0       0       2       2       2       2     1    2
    360          0           0           1      1       0       0       0       2       2       2       2     1    1
    369          0           0           1      1       1       0       0       2       2       2       2     1    1
    370          0           0           1      0       0       0       0       2       2       2       2     1    1
    374          0           0           1      1       0       0       0       2       2       2       2     1    2
    389          0           0           1      1       0       0       0       2       2       2       2     1    2
    392          0           0           1      0       0       0       0       2       2       2       2     1    2
    395          0           0           1      0       0       0       0       2       2       2       2     1    1
    397          0           0           1      1       0       0       0       2       2       2       2     1    1
    409          0           0           1      0       0       0       0       2       2       2       2     1    1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                              Page 9
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 112 of 172
                                                               Survey Data File

 responseid      qk           ql         q1     q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6    q3_7   q3_8   q3_9
    175           1                       5      5      1       2       1       2       1       2       1      2      1
    183           1                       5      5      1       1       1       1       1       1       1      1      1
    184                                   5      4      1       1       1       1       1       1       1      1      1
    195           1                       5      5      1       1       1       1       1       1       1      1      1
    201           1                       5      4      1       1       1       1       1       1       1      1      1
    204           1                       3      1      1       1       3       1       1       1       1      1      1
    231                                   5      5      2       2       2       2       1       1       1      1      1
    233           1                       5      4      1       1       1       1       1       1       1      1      1
    236                                   3      3      1       2       2       2       1       1       1      1      1
    242           1                       5      5      1       3       1       1       1       1       1      1      1
    249                                   4      4      1       1       1       2       1       1       1      2      1
    256           1                       5      5      1       1       1       1       1       1       1      1      1
    265                                   3      3      1       1       1       1       1       1       1      1      1
    274           1                       2      4      1       1       2       1       1       1       1      1      1
    280           1                       5      1      1       1       1       1       1       1       1      1      1
    286                                   5      5      1       2       1       2       1       1       1      1      1
    289                                   5      4      1       2       1       1       1       1       1      1      1
    294                                   2      1      1       2       1       1       1       2       1      1      1
    299           2           1           2      2      3       2       2       1       1       1       1      1      1
    306                                   5      5      2       1       1       1       1       1       1      1      1
    309           1                       5      4      2       2       1       2       2       1       2      2      2
    310                                   5      4      1       1       1       1       1       1       1      1      1
    311                                   5      5      1       1       1       1       1       1       1      1      1
    314                                   5      2      1       1       1       1       1       1       1      1      1
    315           1                       5      4      1       1       1       1       1       1       1      1      1
    318           1                       5      3      2       1       2       2       1       1       1      1      2
    321           2           1           5      3      1       1       1       1       1       1       1      1      1
    323                                   3      1      1       1       1       1       1       1       1      1      1
    331           1                       5      4      1       1       1       1       1       1       1      1      1
    349           1                       5      1      1       1       1       1       1       1       1      1      1
    351                                   4      4      3       1       1       1       1       1       1      1      1
    360           1                       5      3      1       1       1       2       1       1       1      1      1
    369           1                       3      3      2       3       2       2       1       1       1      1      1
    370           1                       5      5      2       1       1       1       3       1       1      1      1
    374                                   5      2      2       1       1       1       1       1       1      1      1
    389                                   2      2      1       1       1       1       1       1       1      1      1
    392                                   4      3      1       1       1       1       1       1       1      2      1
    395           1                       2      2      2       2       1       1       1       1       1      1      1
    397           1                       5      2      1       1       1       1       1       2       1      1      1
    409           1                       5      4      1       1       1       1       1       1       1      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 10
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 113 of 172
                                                               Survey Data File

 responseid     q3_10       q3_11       q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1    q5_2   q5_3   q5_4
    175           2           1           1       2       1      1      2       2       2       0       0      1      1
    183           1           1           1       2       2      1      1       1       2       1       0      0      1
    184           1           2           1       2       2      1      1       2       2       0       0      0      0
    195           1           1           1       2       2      1      1       1       2       0       0      0      1
    201           1           1           1       2       2      1      1       2       2       1       0      0      1
    204           1           1           2       2       2      2      2       2       2       0       0      1      1
    231           1           1           1       1       2      1      2       2       3       0       0      0      1
    233           1           1           1       2       2      1      1       1       3       0       0      0      1
    236           1           1           1       1       1      2      2       2       2       0       0      0      0
    242           1           1           3       2       2      1      1       2       2       0       0      0      0
    249           1           1           1       2       2      2      1       2       2       0       0      0      0
    256           1           1           1       2       2      1      1       1       2       1       0      0      1
    265           3           1           1       2       2      1      1       1       2       0       0      0      0
    274           1           1           1       2       2      1      1       2       2       0       0      0      1
    280           1           1           2       2       2      1      1       1       2       1       0      0      1
    286           1           1           1       2       2      1      2       2       2       0       0      0      1
    289           1           1           1       2       2      1      2       2       3       0       0      0      0
    294           1           1           1       2       2      1      2       2       3       0       0      0      0
    299           1           1           1       3       2      1      2       2       3       0       0      0      0
    306           1           1           1       2       2      2      2       2       2       0       0      0      0
    309           2           1           2       2       2      1      1       1       1       0       0      0      0
    310           1           1           1       2       2      1      1       1       2       1       1      0      1
    311           1           1           1       2       2      1      2       2       2       0       0      0      1
    314           1           1           1       2       2      1      1       2       2       0       0      0      1
    315           1           1           2       2       2      1      2       2       2       0       0      0      1
    318           1           2           1       2       2      1      2       2       2       0       1      0      0
    321           1           1           2       2       2      1      1       1       2       0       0      0      1
    323           1           1           1       2       2      1      1       1       2       0       0      0      0
    331           1           1           1       2       2      1      1       1       2       0       0      1      0
    349           1           1           3       2       2      1      1       1       3       0       0      0      0
    351           1           1           1       2       2      1      1       1       3       0       0      0      1
    360           1           1           1       2       2      1      1       1       3       0       0      0      0
    369           1           1           1       2       2      2      2       2       2       0       0      0      0
    370           1           2           1       2       2      2      1       2       2       1       0      0      0
    374           1           1           1       2       2      2      2       2       2       1       0      0      0
    389           1           1           1       2       2      1      2       2       2       0       0      0      1
    392           1           1           1       2       2      1      2       2       2       0       0      0      0
    395           1           1           1       2       2      1      1       1       2       0       0      0      1
    397           1           1           1       2       2      2      2       2       2       0       0      0      0
    409           1           3           2       2       2      1      1       1       2       0       0      0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 11
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 114 of 172
                                                               Survey Data File

 responseid     q5_5        q5_6        q5_7   q5_8    q5_9   q5_10   q5_11   q5_12   q5_13     q6
    175          1           1           1      1       0       1       1       0       0        1
    183          1           1           1      1       0       0       0       0       0        1
    184          1           1           1      1       0       1       1       0       0        1
    195          1           1           0      0       0       1       1       0       0        1
    201          1           1           1      1       0       1       0       0       0        1
    204          1           1           1      1       0       1       0       0       0        1
    231          1           1           1      1       0       0       0       0       0        1
    233          1           1           1      1       0       1       1       0       0        1
    236          1           1           0      0       0       1       1       0       0        1
    242          1           1           1      0       0       0       0       0       0        1
    249          0           0           1      0       0       0       0       0       0        1
    256          1           1           1      1       0       0       1       0       0        1
    265          1           1           1      1       0       1       0       0       0        1
    274          1           1           0      1       0       1       0       0       0        1
    280          1           1           1      0       0       0       0       0       0        1
    286          1           1           1      0       0       1       1       0       0        1
    289          1           1           1      1       1       1       1       0       0        1
    294          1           0           1      0       0       0       0       0       0        1
    299          1           1           0      0       0       0       0       0       0        1
    306          1           1           1      1       0       0       1       0       0        1
    309          0           0           0      0       0       0       0       1       0        1
    310          1           1           1      1       0       1       1       0       0        1
    311          1           1           0      1       0       1       0       0       0        1
    314          1           1           1      1       0       1       0       0       0        1
    315          1           1           1      1       0       1       0       0       0        1
    318          1           1           0      0       0       0       1       0       0        1
    321          1           1           1      1       0       0       0       0       0        1
    323          1           0           0      0       0       1       0       0       0        1
    331          1           1           1      1       0       1       1       0       0        1
    349          1           1           1      1       0       0       1       0       0        1
    351          1           1           1      1       1       1       1       0       0        1
    360          1           1           1      1       1       1       0       0       0        1
    369          1           1           1      1       0       0       1       0       0        1
    370          1           1           1      1       0       1       1       0       0        1
    374          1           1           1      1       1       1       1       0       0        1
    389          1           1           1      1       0       1       0       0       0        1
    392          1           1           1      1       1       1       1       0       0        1
    395          1           1           1      0       0       1       0       0       0        1
    397          1           1           1      1       0       1       1       0       0        1
    409          1           1           1      1       0       0       0       0       0        1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 12
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 115 of 172
                                                               Survey Data File

 responseid    interview_end         qa      hidqregion   qb   qc   qd_1    qd_2    qd_3    qd_4    qd_5    qd_6   qd_7
    414       10/20/2017 15:17       IL          2         2   4     0       0       1       0       0       0      0
    418       10/20/2017 15:18       PA          1         2   3     0       0       1       0       0       0      0
    419       10/20/2017 15:15       TX          3         2   4     0       0       1       0       0       0      0
    420       10/20/2017 15:17       NY          1         2   2     0       0       1       0       0       0      0
    421       10/20/2017 15:20       LA          3         2   3     0       0       1       0       0       0      0
    427       10/20/2017 15:32       CA          4         2   4     0       0       1       1       0       0      0
    447       10/20/2017 15:47       FL          3         2   2     0       0       1       0       0       0      0
    456       10/20/2017 16:00       TX          3         2   3     0       0       1       0       0       0      0
    462       10/20/2017 16:03       IN          2         2   3     0       0       1       0       0       0      0
    478       10/20/2017 16:32       MS          3         2   3     0       0       1       0       0       0      0
    482       10/20/2017 16:35       FL          3         2   2     0       0       1       0       0       0      0
    485       10/20/2017 16:43       VA          3         2   3     0       0       1       0       0       0      0
    508       10/20/2017 17:04       SC          3         2   3     0       0       1       0       0       0      0
    514       10/20/2017 17:16       FL          3         2   3     0       0       1       0       0       0      0
    522       10/20/2017 17:20       TX          3         2   3     0       0       1       0       0       0      0
    523       10/20/2017 17:25       MI          2         2   3     0       0       1       0       0       0      0
    524       10/20/2017 17:25       IL          2         2   3     0       0       1       0       0       0      0
    532       10/20/2017 18:52       FL          3         2   2     0       0       1       0       0       0      0
    534       10/20/2017 17:30       GA          3         2   3     0       0       1       0       0       0      0
    546       10/20/2017 17:44       FL          3         2   2     0       0       1       0       0       0      0
    548       10/20/2017 17:47       MD          3         2   3     0       0       1       0       0       0      0
    561       10/20/2017 17:57       NV          4         2   2     0       0       1       0       0       0      0
    562       10/20/2017 17:59       FL          3         2   4     0       0       1       0       0       0      0
    563       10/20/2017 17:57       NJ          1         2   3     0       0       1       0       0       0      0
    567       10/20/2017 18:00       NY          1         2   3     0       0       1       0       0       0      0
    576       10/20/2017 18:16       AR          3         2   3     0       0       1       0       0       0      0
    585       10/20/2017 18:29       FL          3         2   4     0       0       1       0       0       0      0
    602       10/20/2017 18:43       CA          4         2   2     0       0       1       0       0       0      0
    606       10/20/2017 18:49       OH          2         2   4     0       0       1       0       0       0      0
    613       10/20/2017 18:47       TX          3         2   3     0       0       1       0       0       0      0
    622       10/20/2017 18:58       NY          1         2   3     0       0       1       0       0       0      0
    628       10/20/2017 19:01       CA          4         2   2     0       0       1       0       0       0      0
    632       10/20/2017 19:05       IN          2         2   3     0       0       1       0       0       0      0
    644       10/20/2017 19:22       TX          3         2   4     1       0       1       0       1       0      0
    657       10/20/2017 19:33       IL          2         2   2     0       0       1       0       0       0      0
    658       10/20/2017 19:36       TX          3         2   4     0       0       1       0       0       0      0
    659       10/20/2017 19:39       AZ          4         2   4     0       0       1       0       0       0      0
    664       10/20/2017 19:38       NC          3         2   2     0       0       1       0       0       0      0
    665       10/20/2017 19:40       KY          3         2   3     0       0       1       0       0       0      0
    668       10/20/2017 19:39       NY          1         2   3     0       0       1       0       0       0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                Page 13
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 116 of 172
                                                               Survey Data File

 responseid     qd_8        qe_1        qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1    qf_2   qf_3   qf_4
    414          0           1           1      1       1       0       1       0       0       1       0      1      1
    418          0           0           1      0       0       0       0       0       0       1       0      1      0
    419          0           1           1      1       1       1       1       0       0       1       0      1      1
    420          0           0           1      0       1       0       0       0       0       0       0      1      0
    421          0           1           1      1       1       1       1       0       0       1       1      1      1
    427          0           1           1      0       1       0       1       0       0       1       1      1      1
    447          0           1           1      0       1       0       1       0       0       1       1      1      1
    456          0           1           1      0       1       0       0       0       0       0       1      1      1
    462          0           1           1      0       1       1       1       0       0       1       1      1      1
    478          0           1           1      0       1       0       1       0       0       0       1      1      1
    482          0           1           1      0       1       0       1       0       0       0       1      1      1
    485          0           1           1      1       1       1       1       0       0       1       1      1      1
    508          0           1           1      1       1       1       1       0       0       1       1      1      1
    514          0           1           1      1       1       0       1       0       0       0       0      1      1
    522          0           1           1      1       1       1       1       0       0       0       0      1      1
    523          0           1           1      1       1       0       0       0       0       1       0      1      1
    524          0           1           1      1       1       1       1       0       0       0       1      1      1
    532          0           1           1      0       1       1       1       0       0       0       0      1      1
    534          0           1           1      0       0       0       1       0       0       1       0      1      1
    546          0           1           1      1       1       1       1       0       0       1       1      1      1
    548          0           1           1      0       1       0       1       0       0       0       0      1      1
    561          0           0           1      0       1       0       1       0       0       0       0      1      1
    562          0           1           1      1       1       1       1       0       0       1       1      1      1
    563          0           1           1      1       1       0       1       0       0       1       1      1      1
    567          0           1           1      0       1       0       1       0       0       1       1      1      1
    576          0           1           1      0       1       0       1       0       0       0       0      1      1
    585          0           1           1      1       1       0       1       0       0       1       1      1      1
    602          0           1           1      1       1       0       0       0       0       0       0      1      1
    606          0           1           1      1       1       0       1       0       0       1       0      1      1
    613          0           1           1      1       1       0       1       0       0       0       1      1      1
    622          0           1           1      1       1       0       1       0       0       1       1      1      1
    628          0           1           1      0       1       0       0       0       0       1       1      1      1
    632          0           1           1      1       1       0       1       0       0       0       1      1      1
    644          0           1           1      1       1       1       1       0       0       1       1      1      1
    657          0           1           1      1       1       0       1       0       0       1       1      1      1
    658          0           1           1      1       1       0       1       0       0       1       1      1      1
    659          0           1           1      0       1       1       0       0       0       0       0      1      1
    664          0           1           1      0       1       1       1       0       0       1       1      1      1
    665          0           1           1      1       1       0       1       0       0       1       1      1      1
    668          0           1           1      1       1       0       0       0       0       1       0      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 14
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 117 of 172
                                                               Survey Data File

 responseid     qf_5        qf_6        qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3    qh_4   qi   qj
    414          0           0           1      0       0       0       0       2       2       2       2     1    1
    418          0           0           1      0       0       0       0       2       2       2       2     1    1
    419          0           0           1      0       0       0       0       2       2       2       2     1    1
    420          0           0           1      0       0       0       0       2       2       2       2     1    1
    421          0           0           1      0       0       0       0       2       2       2       2     1    2
    427          0           0           1      1       0       0       0       2       2       2       2     1    1
    447          0           0           1      0       0       0       0       2       2       2       2     1    2
    456          0           0           1      0       0       0       0       2       2       2       2     1    2
    462          0           0           1      0       1       0       0       2       2       2       2     1    1
    478          0           0           1      0       1       0       0       2       2       2       2     1    2
    482          0           0           1      0       0       0       0       2       2       2       2     1    2
    485          0           0           1      0       0       0       0       2       2       2       2     1    1
    508          0           0           1      1       0       0       0       2       2       2       2     1    1
    514          0           0           1      1       0       0       0       2       2       2       2     1    1
    522          0           0           1      0       0       0       0       2       2       2       2     1    1
    523          0           0           1      0       0       0       0       2       2       2       2     1    2
    524          0           0           1      0       0       0       0       2       2       2       2     1    1
    532          0           0           1      1       0       0       0       2       2       2       2     1    2
    534          0           0           1      0       0       0       0       2       2       2       2     1    1
    546          0           0           1      1       1       0       0       2       2       2       2     1    1
    548          0           0           1      0       0       0       0       2       2       2       2     1    1
    561          0           0           1      0       0       0       0       2       2       2       2     1    1
    562          0           0           1      1       1       0       0       2       2       2       2     1    2
    563          0           0           1      0       1       0       0       2       2       2       2     1    2
    567          0           0           1      1       0       0       0       2       2       2       2     1    1
    576          0           0           1      1       0       0       0       2       2       2       2     1    1
    585          0           0           1      1       0       0       0       2       2       2       2     1    1
    602          0           0           1      0       0       0       0       2       2       2       2     1    1
    606          0           0           1      0       0       0       0       2       2       2       2     1    1
    613          0           0           1      0       1       0       0       2       2       2       2     1    2
    622          0           0           1      0       0       0       0       2       2       2       2     1    2
    628          0           0           1      0       0       0       0       2       2       2       2     1    1
    632          0           0           1      0       0       0       0       2       2       2       2     1    2
    644          0           0           1      1       0       0       0       2       2       2       2     1    1
    657          0           0           1      1       0       0       0       2       2       2       2     1    1
    658          0           0           1      0       0       0       0       2       2       2       2     1    1
    659          0           0           1      0       0       0       0       2       2       2       2     1    2
    664          0           0           1      1       0       0       0       2       2       2       2     1    1
    665          0           0           1      1       0       0       0       2       2       2       2     1    1
    668          0           0           1      1       0       0       0       2       2       2       2     1    1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                              Page 15
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 118 of 172
                                                               Survey Data File

 responseid      qk           ql         q1     q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6    q3_7   q3_8   q3_9
    414           1                       5      3      1       1       1       1       1       1       1      1      1
    418           1                       5      4      1       2       1       1       1       1       1      1      1
    419           1                       6      3      1       1       1       1       1       1       1      1      1
    420           1                       5      4      3       3       3       3       2       1       1      1      1
    421                                   5      4      1       1       1       1       1       1       1      1      1
    427           1                       5      4      2       2       1       1       1       1       1      1      1
    447                                   5      4      1       1       2       2       1       1       1      1      2
    456                                   5      3      1       1       1       1       1       1       1      1      1
    462           1                       3      3      3       1       1       1       1       1       1      2      1
    478                                   5      7      1       1       1       2       1       1       1      1      1
    482                                   5      6      1       2       1       2       1       2       1      1      2
    485           1                       5      1      1       1       1       1       1       1       1      1      1
    508           1                       5      4      1       2       1       2       1       1       1      1      1
    514           2           1           5      3      1       1       1       1       1       1       1      1      1
    522           1                       5      1      1       1       1       1       1       1       1      1      1
    523                                   5      5      1       1       1       1       1       1       1      1      1
    524           1                       5      1      1       1       1       1       1       1       1      1      1
    532                                   3      4      1       2       2       2       1       1       1      1      1
    534           1                       6      7      2       1       1       1       1       1       1      1      1
    546           1                       5      4      2       2       2       2       2       2       2      2      2
    548           1                       5      4      1       1       1       1       1       1       1      1      1
    561           1                       4      4      1       3       1       1       1       3       1      1      1
    562                                   5      4      1       1       2       2       1       1       1      1      1
    563                                   5      4      1       3       1       1       1       1       1      1      1
    567           1                       5      4      1       1       1       1       1       1       1      1      1
    576           2           1           2      3      1       1       2       1       1       2       1      1      2
    585           1                       4      4      1       1       1       1       1       1       1      3      1
    602           1                       2      4      1       1       1       1       1       1       1      1      1
    606           1                       5      3      1       1       1       1       1       1       1      1      1
    613                                   3      3      2       3       1       3       1       1       1      1      1
    622                                   5      5      1       1       1       1       1       1       1      1      1
    628           1                       3      2      1       1       1       2       1       3       1      2      1
    632                                   5      2      1       1       1       1       1       1       1      1      1
    644           1                       5      3      1       1       1       1       1       1       1      1      1
    657           1                       5      3      1       1       1       1       1       1       1      1      1
    658           1                       5      4      1       1       1       1       1       1       1      1      1
    659                                   5      5      1       1       1       1       1       1       1      1      1
    664           1                       5      2      1       1       1       1       1       1       1      2      1
    665           1                       3      4      2       2       1       1       1       1       1      1      1
    668           1                       3      3      2       2       3       1       1       1       1      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 16
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 119 of 172
                                                               Survey Data File

 responseid     q3_10       q3_11       q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1    q5_2   q5_3   q5_4
    414           1           1           1       2       2      1      1       1       2       1       0      0      0
    418           1           1           1       2       2      1      1       2       2       0       0      0      0
    419           1           1           1       2       2      1      1       1       2       1       0      0      0
    420           3           3           2       2       2      2      2       2       2       0       0      0      0
    421           1           1           1       2       2      1      1       2       3       1       0      1      1
    427           1           1           1       3       2      1      1       1       2       0       0      0      1
    447           1           1           2       2       2      1      1       2       2       0       0      0      0
    456           2           2           1       2       2      1      1       1       2       0       0      0      1
    462           1           1           2       2       2      1      1       2       2       1       0      0      1
    478           1           1           1       2       2      1      1       1       2       0       0      0      1
    482           2           1           1       3       2      1      2       2       2       0       0      0      1
    485           1           1           1       2       2      2      1       1       2       1       0      0      0
    508           2           2           1       2       2      1      2       2       2       1       0      0      1
    514           1           1           1       2       2      1      2       2       2       0       0      0      0
    522           1           1           1       2       2      1      1       2       2       0       0      0      0
    523           1           1           3       2       2      1      1       2       2       1       0      0      0
    524           1           3           3       2       2      1      1       1       2       0       0      0      0
    532           1           1           2       2       2      2      2       2       2       0       0      0      0
    534           1           2           2       2       2      2      2       2       2       0       0      0      0
    546           2           2           2       2       2      1      1       2       2       0       0      0      0
    548           1           2           1       2       2      1      2       2       2       0       0      0      0
    561           3           1           2       2       2      2      2       2       2       0       0      0      1
    562           1           2           1       2       2      1      1       1       2       1       0      0      0
    563           1           1           1       2       2      1      2       2       2       1       0      0      0
    567           2           1           1       2       2      1      2       2       2       1       0      0      1
    576           1           1           1       2       2      1      2       2       2       1       0      0      0
    585           1           1           1       2       2      1      1       1       2       1       0      0      1
    602           2           1           1       1       2      1      1       2       2       0       0      0      1
    606           1           1           1       2       2      1      1       2       3       1       0      0      0
    613           1           1           3       2       2      1      1       2       2       0       0      0      1
    622           1           1           2       2       2      1      1       1       2       1       0      0      1
    628           2           2           1       2       2      1      1       1       3       0       0      0      1
    632           2           2           1       2       2      1      2       2       2       0       0      0      0
    644           1           1           1       2       2      1      1       1       2       1       0      0      1
    657           1           1           1       2       2      1      1       1       2       0       0      0      1
    658           1           1           2       2       2      1      1       2       2       0       0      0      1
    659           1           1           3       2       2      1      1       2       2       0       0      0      0
    664           1           1           1       2       2      1      1       2       2       1       0      1      1
    665           1           1           1       2       2      1      1       2       2       1       0      1      0
    668           1           2           1       2       2      1      1       2       2       0       0      0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 17
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 120 of 172
                                                               Survey Data File

 responseid     q5_5        q5_6        q5_7   q5_8    q5_9   q5_10   q5_11   q5_12   q5_13     q6
    414          1           1           1      1       0       1       1       0       0        1
    418          0           1           1      0       0       0       0       0       0        1
    419          1           1           1      1       0       0       0       0       0        1
    420          1           1           1      1       0       1       0       0       0        1
    421          0           0           0      0       0       0       0       0       0        1
    427          1           1           0      0       0       0       0       0       0        1
    447          1           1           1      1       0       1       0       0       0        1
    456          1           1           1      1       0       0       0       0       0        1
    462          1           1           1      1       0       1       0       0       0        1
    478          1           1           1      0       0       0       0       0       0        1
    482          1           1           1      1       0       1       0       0       0        1
    485          1           1           1      1       0       1       1       0       0        1
    508          1           1           1      1       0       1       1       0       0        1
    514          1           1           1      0       1       1       0       0       0        1
    522          1           1           0      1       0       0       0       0       0        1
    523          1           1           1      1       0       1       0       0       0        1
    524          1           1           1      0       0       1       0       0       0        1
    532          1           1           1      1       0       1       0       0       0        1
    534          1           1           1      0       0       0       0       0       0        1
    546          0           1           1      0       1       1       0       0       0        1
    548          1           1           1      1       0       0       0       0       0        1
    561          1           1           1      1       0       1       1       0       0        1
    562          1           1           1      1       0       1       0       0       0        1
    563          1           1           1      1       0       1       1       0       0        1
    567          1           1           1      1       0       1       0       0       0        1
    576          1           1           1      1       0       1       0       0       0        1
    585          1           1           1      1       1       1       1       0       0        1
    602          0           0           1      0       1       0       0       0       0        1
    606          1           1           1      1       0       1       1       0       0        1
    613          1           1           1      1       0       1       0       0       0        1
    622          1           1           1      1       0       1       1       0       0        1
    628          1           1           1      0       0       0       0       0       0        1
    632          1           1           1      1       0       1       0       0       0        1
    644          1           1           1      1       1       1       1       0       0        1
    657          1           1           1      0       1       1       1       0       0        1
    658          1           1           1      1       0       1       0       0       0        1
    659          1           1           1      1       0       0       0       0       0        1
    664          1           1           1      1       0       1       1       0       0        1
    665          1           1           1      1       0       1       0       0       0        1
    668          1           1           0      1       0       0       0       0       0        1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 18
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 121 of 172
                                                               Survey Data File

 responseid     interview_end        qa      hidqregion   qb   qc   qd_1    qd_2    qd_3    qd_4    qd_5    qd_6   qd_7
    673        10/21/2017 1:15       GA          3         2   4     0       0       1       0       0       0      0
    677        10/21/2017 1:54       MD          3         2   2     0       1       1       0       0       0      0
    683        10/21/2017 4:02       CA          4         2   2     0       0       1       0       0       0      0
    684        10/21/2017 4:08       LA          3         2   2     0       0       1       0       0       0      0
    686        10/21/2017 4:36       NC          3         2   4     0       0       1       0       0       0      0
    687        10/21/2017 4:29       NY          1         2   3     0       0       1       0       0       0      0
    689        10/21/2017 4:35       IL          2         2   3     0       0       1       0       0       0      0
    691        10/21/2017 4:46       MS          3         2   4     0       0       1       0       0       0      0
    697        10/21/2017 5:25       DE          3         2   3     0       0       1       0       0       0      0
    699        10/21/2017 5:39       NJ          1         2   2     0       0       1       0       0       0      0
    703        10/21/2017 5:57       NC          3         2   4     0       0       1       0       0       0      0
    704        10/21/2017 5:58       TX          3         2   3     0       0       1       0       0       0      0
    708        10/21/2017 6:18       MD          3         2   3     0       0       1       0       0       0      0
    709        10/21/2017 6:18       MI          2         2   3     0       0       1       0       0       0      0
    715        10/21/2017 6:52       WI          2         2   4     0       0       1       0       0       0      0
    721        10/21/2017 7:13       GA          3         2   2     0       0       1       0       0       0      0
    723        10/21/2017 7:09       VA          3         2   3     0       0       1       0       0       0      0
    726        10/21/2017 7:18       AL          3         2   3     0       0       1       0       0       0      0
    733        10/21/2017 7:27       GA          3         2   2     0       0       1       0       0       0      0
    753        10/21/2017 8:09       MI          2         2   2     0       0       1       0       0       0      0
    763        10/21/2017 8:52       TX          3         2   4     0       0       1       0       0       0      0
    768        10/21/2017 8:59       CA          4         2   2     0       0       1       0       0       0      0
    772        10/21/2017 9:18       SC          3         2   3     0       0       1       0       0       0      0
    773        10/21/2017 9:16       PA          1         2   2     0       0       1       0       0       0      0
    779        10/21/2017 9:41       OH          2         2   2     0       0       1       0       0       0      0
    782        10/21/2017 9:55       NY          1         2   2     0       0       1       0       0       0      0
    784        10/21/2017 9:57       OH          2         2   4     0       0       1       0       0       0      0
    792       10/21/2017 10:06       PA          1         2   3     0       0       1       0       0       0      0
    798       10/21/2017 10:08       MO          2         2   3     0       0       1       0       0       0      0
    801       10/21/2017 10:09       CA          4         2   3     1       0       1       0       0       0      0
    803       10/21/2017 10:43       MD          3         2   3     0       0       1       0       0       0      0
    806       10/21/2017 10:16       GA          3         2   4     0       0       1       0       0       0      0
    808       10/21/2017 10:20       FL          3         2   3     0       0       1       0       0       0      0
    810       10/21/2017 10:39       KS          2         2   2     0       0       1       0       0       0      0
    815       10/21/2017 10:26       TX          3         2   4     0       0       1       0       0       0      0
    819       10/21/2017 10:25       TX          3         2   4     0       0       1       0       0       0      0
    821       10/21/2017 10:28       FL          3         2   2     0       0       1       0       0       0      0
    826       10/21/2017 10:35       MD          3         2   3     0       0       1       0       0       0      0
    827       10/21/2017 10:32       TX          3         2   3     0       0       1       0       0       0      0
    834       10/21/2017 10:37       VA          3         2   2     0       0       1       0       0       0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                Page 19
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 122 of 172
                                                               Survey Data File

 responseid     qd_8        qe_1        qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1    qf_2   qf_3   qf_4
    673          0           0           1      0       1       0       1       0       0       0       1      1      1
    677          0           1           1      0       1       1       1       0       0       0       1      1      1
    683          0           1           1      1       1       1       1       0       0       1       1      1      1
    684          0           0           1      0       1       0       0       0       0       0       1      1      1
    686          0           0           1      1       1       1       0       0       0       0       0      1      1
    687          0           1           1      1       1       1       1       0       0       1       0      1      1
    689          0           1           1      1       1       1       1       0       0       1       1      1      1
    691          0           1           1      1       1       1       0       0       0       1       0      1      1
    697          0           1           1      1       1       1       1       0       0       0       0      1      1
    699          0           1           1      0       1       1       1       0       0       1       1      1      1
    703          0           1           1      0       0       0       1       0       0       0       0      1      1
    704          0           0           1      0       1       0       1       0       0       0       0      1      1
    708          0           0           1      0       1       0       1       0       0       0       1      1      1
    709          0           1           1      1       1       1       0       0       0       0       1      1      1
    715          0           1           1      0       0       0       1       0       0       0       1      1      1
    721          0           1           1      1       1       0       1       0       0       0       1      1      1
    723          0           0           1      0       1       1       1       0       0       0       1      1      1
    726          0           1           1      1       1       1       1       0       0       1       1      1      1
    733          0           1           1      1       1       1       1       0       0       0       1      1      1
    753          0           1           1      1       1       0       1       0       0       1       1      1      1
    763          0           1           1      0       1       1       1       0       0       1       1      1      0
    768          0           1           1      1       1       1       1       0       0       1       1      1      1
    772          0           1           1      0       1       0       1       0       0       0       1      1      1
    773          0           0           1      0       1       0       1       0       0       0       0      1      1
    779          0           1           1      1       1       1       1       0       0       1       1      1      1
    782          0           1           1      1       1       1       1       0       0       1       1      1      1
    784          0           1           1      1       1       0       1       0       0       0       0      1      1
    792          0           1           1      1       1       1       1       0       0       0       0      1      1
    798          0           1           1      1       1       0       1       0       0       1       1      1      1
    801          0           1           1      1       1       0       1       0       0       0       0      1      1
    803          0           1           1      1       1       0       1       0       0       1       0      1      1
    806          0           1           1      0       1       0       1       0       0       1       0      1      1
    808          0           1           1      0       1       0       0       0       0       0       1      1      1
    810          0           1           1      0       1       1       1       0       0       1       1      1      1
    815          0           1           1      1       1       0       1       0       0       1       0      1      1
    819          0           1           1      0       1       0       0       0       0       0       0      1      1
    821          0           1           1      0       1       1       1       0       0       0       0      1      1
    826          0           0           1      0       1       0       1       0       0       1       0      1      1
    827          0           0           1      0       1       0       0       0       0       0       0      1      1
    834          0           1           1      1       1       1       1       0       0       1       1      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 20
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 123 of 172
                                                               Survey Data File

 responseid     qf_5        qf_6        qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3    qh_4   qi   qj
    673          0           0           1      0       0       0       0       2       2       2       2     1    1
    677          0           0           1      1       0       0       0       2       2       2       2     1    2
    683          0           0           1      1       1       0       0       2       2       2       2     1    2
    684          0           0           1      0       0       0       0       2       2       2       2     1    1
    686          0           0           1      1       0       0       0       2       2       2       2     1    1
    687          0           0           1      1       0       0       0       2       2       2       2     1    2
    689          0           0           1      0       0       0       0       2       2       2       2     1    1
    691          0           0           1      0       0       0       0       2       2       2       2     1    2
    697          0           0           1      1       1       0       0       2       2       2       2     1    1
    699          0           0           1      0       0       0       0       2       2       2       2     1    2
    703          0           0           1      0       0       0       0       2       2       2       2     1    1
    704          0           0           1      1       0       0       0       2       2       2       2     1    1
    708          0           0           1      0       0       0       0       2       2       2       2     1    2
    709          0           0           1      0       0       0       0       2       2       2       2     1    2
    715          0           0           1      1       0       0       0       2       2       2       2     1    1
    721          0           0           1      0       0       0       0       2       2       2       2     1    1
    723          0           0           1      1       0       0       0       2       2       2       2     1    1
    726          0           0           1      1       0       0       0       2       2       2       2     1    1
    733          0           0           1      1       0       0       0       2       2       2       2     1    1
    753          0           0           1      0       1       0       0       2       2       2       2     1    2
    763          0           0           1      1       0       0       0       2       2       2       2     1    2
    768          0           0           1      0       0       0       0       2       2       2       2     1    2
    772          0           0           1      0       0       0       0       2       2       2       2     1    2
    773          0           0           1      0       1       0       0       2       2       2       2     1    1
    779          0           0           1      1       0       0       0       2       2       2       2     1    1
    782          0           0           1      1       0       0       0       2       2       2       2     1    2
    784          0           0           1      0       0       0       0       2       2       2       2     1    1
    792          0           0           1      0       0       0       0       2       2       2       2     1    1
    798          0           0           1      1       0       0       0       2       2       2       2     1    1
    801          0           0           1      0       1       0       0       2       2       2       2     1    1
    803          0           0           1      0       0       0       0       2       2       2       2     1    2
    806          0           0           1      1       1       0       0       2       2       2       2     1    1
    808          0           0           1      1       0       0       0       2       2       2       2     1    2
    810          0           0           1      1       0       0       0       2       2       2       2     1    1
    815          0           0           1      0       0       0       0       2       2       2       2     1    1
    819          0           0           1      0       0       0       0       2       2       2       2     1    1
    821          0           0           1      0       0       0       0       2       2       2       2     1    1
    826          0           0           1      1       1       0       0       2       2       2       2     1    2
    827          0           0           1      0       0       0       0       2       2       2       2     1    2
    834          0           0           1      1       0       0       0       2       2       2       2     1    2


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                              Page 21
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 124 of 172
                                                               Survey Data File

 responseid      qk           ql         q1     q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6    q3_7   q3_8   q3_9
    673           1                       3      4      1       1       1       1       1       1       1      1      1
    677                                   5      2      1       2       3       1       1       1       1      1      1
    683                                   4      5      2       2       1       1       1       1       2      1      2
    684           2           1           3      4      1       1       1       1       1       1       1      1      1
    686           1                       5      3      1       1       3       1       1       1       1      1      1
    687                                   5      3      1       1       1       1       1       1       1      1      1
    689           1                       5      5      1       1       1       1       1       1       1      1      1
    691                                   5      4      2       1       1       1       1       1       2      1      1
    697           1                       5      1      1       3       3       3       3       1       1      1      1
    699                                   4      3      1       3       2       1       1       1       1      1      1
    703           1                       5      3      2       1       1       1       1       1       1      1      2
    704           1                       5      3      3       3       1       1       3       1       1      1      1
    708                                   5      2      1       1       1       1       1       1       1      1      1
    709                                   5      5      2       2       1       2       1       1       1      1      1
    715           1                       5      4      2       3       2       2       1       1       1      1      1
    721           1                       5      6      2       2       1       2       1       1       1      1      1
    723           1                       5      3      1       1       1       1       1       1       1      1      1
    726           2           1           5      5      1       1       1       1       1       1       1      1      1
    733           1                       5      4      1       1       1       2       1       1       1      3      1
    753                                   4      2      2       2       2       2       1       1       1      1      1
    763                                   2      3      2       2       2       2       1       2       1      2      1
    768                                   5      2      2       2       2       2       2       2       2      1      2
    772                                   3      1      1       1       1       1       1       1       1      1      3
    773           1                       5      3      1       3       3       3       1       1       1      3      1
    779           1                       5      5      1       1       1       1       1       1       1      3      1
    782                                   5      4      1       2       1       2       1       1       1      2      1
    784           1                       5      4      1       2       1       2       1       1       1      1      1
    792           1                       5      5      1       1       1       1       1       1       1      1      1
    798           1                       5      4      1       1       2       1       1       1       1      1      1
    801           1                       5      3      1       1       1       1       1       1       1      1      1
    803                                   5      5      2       1       1       1       1       3       1      1      1
    806           1                       5      3      2       3       1       2       1       1       1      1      1
    808                                   5      3      1       1       1       1       1       1       1      1      1
    810           1                       4      4      1       1       1       1       1       1       1      1      1
    815           1                       4      3      1       1       1       1       1       1       1      1      1
    819           1                       5      4      1       1       1       1       1       1       1      1      1
    821           1                       5      4      2       2       3       2       1       1       1      1      1
    826                                   5      3      1       2       1       1       1       1       1      1      1
    827                                   5      4      1       1       1       1       1       1       1      1      1
    834                                   5      4      1       1       2       1       1       1       1      2      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 22
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 125 of 172
                                                               Survey Data File

 responseid     q3_10       q3_11       q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1    q5_2   q5_3   q5_4
    673           1           2           1       2       2      2      2       2       2       0       0      0      0
    677           1           1           3       2       2      1      1       1       2       0       0      0      0
    683           1           2           2       1       2      1      1       2       2       0       0      1      1
    684           2           2           1       2       2      1      2       2       2       0       0      0      1
    686           1           1           1       2       2      1      2       2       2       0       0      0      0
    687           1           1           3       2       2      1      2       2       2       0       0      0      0
    689           1           1           1       2       2      1      1       1       2       1       0      0      0
    691           1           1           1       2       2      1      1       2       2       1       0      0      0
    697           1           1           2       2       2      1      2       2       2       0       0      0      0
    699           1           1           1       2       2      1      2       2       2       0       0      0      1
    703           1           1           1       2       2      1      1       2       2       0       0      0      0
    704           1           1           2       2       2      2      2       2       2       0       0      0      0
    708           1           2           1       2       2      1      1       2       3       0       0      0      1
    709           1           2           2       2       2      2      2       2       2       0       0      0      1
    715           1           1           1       2       2      2      2       2       2       0       0      0      1
    721           1           3           3       2       2      3      2       2       2       0       0      0      0
    723           1           1           1       2       2      1      1       1       2       1       0      0      1
    726           1           3           1       2       2      1      1       1       3       0       0      0      0
    733           1           1           1       2       2      1      2       2       3       0       0      0      1
    753           1           1           1       2       2      1      1       2       2       1       0      0      0
    763           1           1           1       2       2      2      2       2       2       1       0      0      0
    768           2           2           2       2       2      2      2       2       2       0       0      0      0
    772           1           1           1       2       2      1      2       2       2       0       0      0      0
    773           1           1           3       2       2      1      1       1       2       0       0      0      1
    779           1           1           1       2       2      1      1       1       2       1       0      0      1
    782           1           1           1       2       2      1      2       1       2       1       0      1      1
    784           1           1           1       2       2      1      2       2       2       0       0      0      0
    792           1           1           1       2       2      1      1       1       2       0       0      0      0
    798           1           1           1       2       2      2      2       2       2       0       0      0      1
    801           1           1           1       2       2      1      1       1       2       0       0      0      0
    803           1           1           3       2       2      1      2       2       3       1       0      0      0
    806           1           1           1       2       2      2      2       2       2       0       0      0      0
    808           1           1           2       2       2      2      2       2       2       0       0      0      0
    810           1           1           2       2       2      1      1       2       2       1       0      1      1
    815           1           1           1       2       2      2      2       2       2       1       0      1      0
    819           1           1           1       2       2      1      1       2       2       0       0      0      0
    821           1           1           1       2       2      1      2       2       2       1       0      1      1
    826           1           1           1       2       2      1      2       2       2       1       0      0      0
    827           1           1           2       2       2      1      1       1       2       0       0      0      0
    834           1           1           1       2       2      1      1       1       2       1       0      1      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 23
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 126 of 172
                                                               Survey Data File

 responseid     q5_5        q5_6        q5_7   q5_8    q5_9   q5_10   q5_11   q5_12   q5_13     q6
    673          1           1           0      0       0       0       0       0       0        1
    677          1           1           1      1       0       0       0       0       0        1
    683          1           0           0      1       1       0       0       0       0        1
    684          1           1           0      0       0       0       0       0       0        1
    686          1           1           1      1       0       1       1       0       0        1
    687          1           1           1      1       1       0       1       0       0        1
    689          1           1           1      1       0       1       1       0       0        1
    691          1           1           1      0       0       0       0       0       0        1
    697          1           1           1      1       0       1       0       0       0        1
    699          1           1           1      1       0       1       0       0       0        1
    703          1           1           1      1       0       1       1       0       0        1
    704          1           1           1      0       0       1       0       0       0        1
    708          1           1           0      1       0       1       0       0       0        1
    709          1           1           1      1       1       1       1       0       0        1
    715          1           1           1      1       0       1       1       0       0        1
    721          0           0           1      1       0       0       0       0       0        1
    723          1           1           0      1       0       1       0       0       0        1
    726          1           1           1      1       0       1       0       0       0        1
    733          1           1           1      1       0       1       1       0       0        1
    753          1           1           1      0       0       0       0       0       0        1
    763          1           1           0      1       0       0       1       0       0        1
    768          0           0           0      1       0       0       0       0       0        1
    772          1           1           1      0       0       0       0       0       0        1
    773          1           1           1      1       0       1       0       0       0        1
    779          1           1           1      1       1       1       1       0       0        1
    782          1           1           1      1       0       1       0       0       0        1
    784          1           1           1      1       0       0       0       0       0        1
    792          1           1           1      1       0       1       1       0       0        1
    798          1           0           0      1       0       1       0       0       0        1
    801          1           1           1      1       0       1       1       0       0        1
    803          1           1           1      0       0       0       0       0       0        1
    806          1           1           1      1       1       1       1       0       0        1
    808          1           1           1      1       0       1       1       0       0        1
    810          1           1           1      1       1       1       0       0       0        1
    815          1           1           1      1       0       1       1       0       0        1
    819          1           1           1      1       0       1       1       0       0        1
    821          1           1           1      0       1       1       1       0       0        1
    826          1           1           1      1       0       1       0       0       0        1
    827          1           1           1      1       0       0       0       0       0        1
    834          1           1           1      1       0       1       0       0       0        1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 24
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 127 of 172
                                                               Survey Data File

 responseid    interview_end         qa      hidqregion   qb   qc   qd_1    qd_2    qd_3    qd_4    qd_5    qd_6   qd_7
    837       10/21/2017 10:42       OH          2         2   3     0       0       1       0       0       0      0
    838       10/21/2017 10:45       FL          3         2   3     0       0       1       0       0       0      0
    840       10/21/2017 11:03       GA          3         2   3     0       0       1       0       0       0      0
    844       10/21/2017 10:50       FL          3         2   4     0       0       1       0       0       0      0
    850       10/21/2017 10:55       CA          4         2   3     1       0       1       1       0       0      0
    853       10/21/2017 10:57       AZ          4         2   2     0       0       1       0       1       0      0
    856       10/21/2017 10:59       FL          3         2   2     0       0       1       0       0       0      0
    859       10/21/2017 11:11       NJ          1         2   2     0       0       1       0       0       0      0
    862       10/21/2017 11:12       PA          1         2   4     0       0       1       0       0       0      0
    879       10/21/2017 11:29       OR          4         2   2     1       0       1       0       0       0      0
    881       10/21/2017 11:30       MS          3         2   3     0       0       1       0       0       0      0
    886       10/21/2017 11:41       MI          2         2   3     0       0       1       0       0       0      0
    888       10/21/2017 11:36       GA          3         2   3     0       0       1       0       0       0      0
    892       10/21/2017 11:40       NY          1         2   2     0       0       1       0       0       0      0
    902       10/21/2017 11:51       FL          3         2   4     0       0       1       0       0       0      0
    913       10/21/2017 11:50       CA          4         2   2     0       0       1       0       0       0      0
    914       10/21/2017 11:54       TX          3         2   3     0       0       1       0       0       0      0
    923       10/21/2017 11:56       CA          4         2   2     0       0       1       0       0       0      0
    925       10/21/2017 12:01       CA          4         2   3     0       0       1       0       0       0      0
    930       10/21/2017 12:12       NY          1         2   2     0       0       1       0       0       0      0
    935       10/21/2017 12:14       NJ          1         2   4     0       0       1       0       0       0      0
    940       10/21/2017 12:15       NY          1         2   4     0       0       1       0       0       0      0
    946       10/21/2017 12:16       IN          2         2   4     0       0       1       0       0       0      0
    947       10/21/2017 12:18       OH          2         2   4     0       0       1       0       0       0      0
    948       10/21/2017 12:18       SC          3         2   2     0       0       1       0       0       0      0
    953       10/21/2017 12:53       GA          3         2   4     0       0       1       0       0       0      0
    954       10/21/2017 12:19       AK          4         2   2     0       0       1       0       0       0      0
    960       10/21/2017 12:28       VA          3         2   4     0       0       1       0       0       0      0
    962       10/21/2017 12:27       GA          3         2   4     0       0       1       0       0       0      0
    966       10/21/2017 12:31       PA          1         2   3     0       0       1       0       0       0      0
    967       10/21/2017 12:33       TN          3         2   3     0       0       1       0       0       0      0
    974       10/21/2017 12:37       CO          4         2   2     0       0       1       0       0       0      0
    977       10/21/2017 12:38       NY          1         2   2     0       0       1       0       0       0      0
    978       10/21/2017 12:41       NY          1         2   3     0       0       1       0       0       0      0
    980       10/21/2017 12:43       FL          3         2   2     0       0       1       0       0       0      0
    983       10/21/2017 12:47       OH          2         2   3     0       0       1       0       0       0      0
    984       10/21/2017 12:45       NC          3         2   3     0       0       1       0       0       0      0
    989       10/21/2017 12:45       CA          4         2   2     0       0       1       0       0       0      0
    991       10/21/2017 12:48       NC          3         2   3     0       0       1       0       0       0      0
    998       10/21/2017 12:55       NY          1         2   3     0       0       1       0       0       0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                Page 25
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 128 of 172
                                                               Survey Data File

 responseid     qd_8        qe_1        qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1    qf_2   qf_3   qf_4
    837          0           1           1      1       1       1       1       0       0       1       1      1      1
    838          0           0           1      0       1       0       0       0       0       1       1      1      1
    840          0           1           1      0       1       0       1       0       0       1       1      1      1
    844          0           1           1      1       1       0       1       0       0       1       1      1      1
    850          0           1           1      0       1       1       1       0       0       1       1      1      1
    853          0           1           1      0       1       1       1       0       0       0       1      1      1
    856          0           1           1      1       1       0       0       0       0       1       1      1      1
    859          0           1           1      1       1       0       1       0       0       1       0      1      1
    862          0           0           1      1       1       1       1       0       0       0       1      1      1
    879          0           1           1      1       1       1       1       0       0       1       0      1      1
    881          0           0           1      1       1       0       0       0       0       0       0      1      1
    886          0           1           1      1       1       1       1       0       0       1       0      1      1
    888          0           0           1      0       1       0       0       0       0       1       1      1      1
    892          0           1           1      0       1       0       1       0       0       0       0      1      1
    902          0           1           1      1       1       1       1       0       0       1       1      1      1
    913          0           1           1      0       1       0       0       0       0       1       1      1      1
    914          0           0           1      0       1       0       1       0       0       0       1      1      1
    923          0           1           1      1       1       0       0       0       0       0       0      1      0
    925          0           0           1      1       1       1       1       0       0       1       1      1      1
    930          0           0           1      0       1       0       1       0       0       1       1      1      1
    935          0           0           1      0       1       0       1       0       0       1       1      1      1
    940          0           1           1      1       1       0       1       0       0       1       1      1      1
    946          0           0           1      1       1       1       1       0       0       1       0      1      1
    947          0           1           1      1       1       0       1       0       0       1       0      1      1
    948          0           1           1      1       1       1       1       0       0       0       1      1      1
    953          0           1           1      0       1       1       1       0       0       0       0      1      1
    954          0           1           1      1       1       1       1       0       0       0       1      1      1
    960          0           0           1      1       1       0       1       0       0       1       0      1      1
    962          0           1           1      0       1       1       0       0       0       0       0      1      1
    966          0           1           1      0       1       0       1       0       0       1       0      1      1
    967          0           1           1      0       1       0       1       0       0       0       1      1      1
    974          0           0           1      1       1       0       0       0       0       1       0      1      1
    977          0           1           1      1       1       0       1       0       0       1       1      1      1
    978          0           1           1      0       1       0       1       0       0       1       1      1      1
    980          0           1           1      1       1       0       1       0       0       1       1      1      1
    983          0           0           1      0       1       0       1       0       0       0       0      1      1
    984          0           1           1      0       1       0       1       0       0       1       0      1      1
    989          0           1           1      0       1       0       0       0       0       0       1      1      1
    991          0           1           1      1       1       1       1       0       0       1       0      1      1
    998          0           1           1      1       1       1       1       0       0       0       0      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 26
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 129 of 172
                                                               Survey Data File

 responseid     qf_5        qf_6        qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3    qh_4   qi   qj
    837          0           0           1      1       1       0       0       2       2       2       2     1    2
    838          0           0           1      0       0       0       0       2       2       2       2     1    1
    840          0           0           1      0       0       0       0       2       2       2       2     1    2
    844          0           0           1      1       0       0       0       2       2       2       2     1    1
    850          0           0           1      1       1       0       0       2       2       2       2     1    1
    853          0           0           1      1       0       0       0       2       2       2       2     1    1
    856          0           0           1      1       0       0       0       2       2       2       2     1    2
    859          0           0           1      0       0       0       0       2       2       2       2     1    1
    862          0           0           1      0       0       0       0       2       2       2       2     1    1
    879          0           0           1      0       0       0       0       2       2       2       2     1    2
    881          0           0           1      1       1       0       0       2       2       2       2     1    1
    886          0           0           1      0       0       0       0       2       2       2       2     1    1
    888          0           0           1      0       1       0       0       2       2       2       2     1    2
    892          0           0           1      0       0       0       0       2       2       2       2     1    1
    902          0           0           1      0       1       0       0       2       2       2       2     1    1
    913          0           0           1      0       0       0       0       2       2       2       2     1    2
    914          0           0           1      0       0       0       0       2       2       2       2     1    1
    923          0           0           1      0       1       0       0       2       2       2       2     1    1
    925          0           0           1      0       0       0       0       2       2       2       2     1    1
    930          0           0           1      0       0       0       0       2       2       2       2     1    2
    935          0           0           1      1       0       0       0       2       2       2       2     1    1
    940          0           0           1      1       0       0       0       2       2       2       2     1    1
    946          0           0           1      0       0       0       0       2       2       2       2     1    1
    947          0           0           1      0       0       0       0       2       2       2       2     1    1
    948          0           0           1      1       1       0       0       2       2       2       2     1    2
    953          0           0           1      0       0       0       0       2       2       2       2     1    2
    954          0           0           1      1       0       0       0       2       2       2       2     1    1
    960          0           0           1      0       1       0       0       2       2       2       2     1    1
    962          0           0           1      1       1       0       0       2       2       2       2     1    1
    966          0           0           1      0       0       0       0       2       2       2       2     1    1
    967          0           0           1      0       0       0       0       2       2       2       2     1    1
    974          0           0           1      0       0       0       0       2       2       2       2     1    2
    977          0           0           1      0       0       0       0       2       2       2       2     1    1
    978          0           0           1      0       0       0       0       2       2       2       2     1    2
    980          0           0           1      1       1       0       0       2       2       2       2     1    2
    983          0           0           1      1       0       0       0       2       2       2       2     1    2
    984          0           0           1      1       1       0       0       2       2       2       2     1    1
    989          0           0           1      1       0       0       0       2       2       2       2     1    1
    991          0           0           1      0       0       0       0       2       2       2       2     1    1
    998          0           0           1      1       0       0       0       2       2       2       2     1    1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                              Page 27
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 130 of 172
                                                               Survey Data File

 responseid      qk           ql         q1     q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6    q3_7   q3_8   q3_9
    837                                   4      5      1       2       1       1       1       1       1      1      1
    838           1                       5      4      1       2       1       2       1       1       1      1      1
    840                                   5      4      2       2       1       1       1       1       1      1      1
    844           1                       5      3      1       1       2       1       1       1       1      1      1
    850           2           1           5      5      1       1       1       1       1       1       1      1      1
    853           1                       2      2      1       1       1       1       1       1       1      1      1
    856                                   5      4      1       1       1       1       1       1       1      1      2
    859           1                       3      6      2       1       1       1       3       2       1      1      2
    862           2           1           5      4      2       1       1       1       1       1       1      1      1
    879                                   3      2      1       1       1       1       1       1       1      1      1
    881           1                       5      4      1       1       1       1       1       1       1      1      1
    886           1                       5      1      1       1       1       1       1       1       1      1      1
    888                                   5      3      3       1       1       1       1       1       1      1      1
    892           1                       5      4      1       1       1       1       1       1       1      2      1
    902           1                       4      3      1       1       1       1       1       3       1      1      1
    913                                   4      6      1       1       1       1       1       1       1      1      1
    914           1                       5      4      1       1       1       1       1       1       1      1      1
    923           1                       3      5      2       1       1       1       1       1       1      2      1
    925           1                       4      3      1       1       1       1       1       1       1      1      1
    930                                   4      3      2       2       1       1       1       1       1      1      1
    935           1                       5      4      2       2       2       2       2       2       2      2      2
    940           1                       5      3      1       1       1       1       1       1       1      1      1
    946           1                       5      4      2       1       1       1       1       1       1      1      1
    947           1                       4      5      3       3       3       3       1       1       1      1      1
    948                                   5      3      1       1       1       2       1       1       1      1      1
    953                                   4      3      1       3       1       1       1       3       1      1      1
    954           2           1           5      5      1       1       1       1       1       1       2      2      1
    960           1                       5      3      2       2       2       2       1       1       1      1      1
    962           1                       4      3      2       1       1       1       1       1       1      1      1
    966           1                       5      4      2       1       1       1       1       1       1      1      1
    967           1                       6      3      1       1       1       1       1       1       1      1      1
    974                                   5      3      1       1       1       1       1       2       1      1      1
    977           1                       5      1      1       1       1       1       1       1       1      1      1
    978                                   5      4      1       1       1       1       1       1       1      1      1
    980                                   5      5      2       1       1       1       1       1       1      1      1
    983                                   4      4      1       2       1       1       1       1       1      1      1
    984           1                       5      1      1       1       1       1       1       1       1      1      1
    989           1                       2      3      1       1       1       1       1       1       1      1      1
    991           1                       5      4      2       2       2       2       1       2       1      2      1
    998           2           1           5      4      2       2       2       2       1       1       1      3      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 28
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 131 of 172
                                                               Survey Data File

 responseid     q3_10       q3_11       q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1    q5_2   q5_3   q5_4
    837           1           2           1       2       2      1      2       2       2       1       0      1      1
    838           1           1           1       2       2      1      2       2       2       1       0      0      0
    840           1           1           1       2       2      1      1       2       2       1       0      0      1
    844           1           1           1       2       2      2      2       2       2       1       0      0      0
    850           1           1           1       2       2      1      1       1       2       1       0      1      1
    853           1           1           1       2       2      1      2       2       2       0       0      0      1
    856           1           1           1       2       2      1      1       1       3       0       0      0      0
    859           1           1           3       1       2      2      1       1       2       1       1      0      0
    862           1           1           3       2       2      1      1       1       2       0       0      0      1
    879           3           1           1       2       2      1      1       1       2       1       0      1      0
    881           1           1           1       3       2      1      1       1       2       0       0      0      0
    886           1           1           2       2       2      1      1       2       3       1       0      0      0
    888           1           1           2       2       2      1      1       3       2       0       0      0      1
    892           1           2           2       2       2      1      2       1       2       0       0      1      0
    902           1           1           3       2       2      1      1       1       2       1       0      0      0
    913           1           1           1       1       2      1      2       2       2       1       0      0      1
    914           1           1           2       2       2      1      1       1       3       0       0      0      1
    923           2           2           1       2       2      2      2       1       2       0       0      1      1
    925           1           3           1       2       2      2      2       2       3       1       0      0      1
    930           1           1           1       2       2      1      1       2       2       0       0      0      0
    935           2           2           2       2       2      2      2       2       2       1       0      0      0
    940           1           1           3       2       2      1      1       3       2       1       0      0      0
    946           1           1           1       2       2      2      1       1       2       1       0      0      0
    947           1           1           1       2       3      2      2       2       3       1       0      0      0
    948           1           2           2       2       2      1      1       2       2       0       0      0      1
    953           2           3           1       2       2      2      2       2       3       0       0      0      0
    954           1           1           2       2       2      1      1       1       2       0       0      0      1
    960           1           1           2       2       2      2      2       2       2       0       0      1      0
    962           1           1           1       2       2      1      2       2       2       1       0      0      0
    966           1           1           2       2       2      1      2       2       2       1       0      0      0
    967           1           1           2       2       2      1      1       2       3       0       0      0      0
    974           1           1           2       2       2      1      2       2       2       0       0      0      0
    977           2           2           1       2       2      1      1       2       2       0       0      0      1
    978           1           1           1       2       2      1      1       1       2       1       0      0      1
    980           1           1           1       2       2      1      1       1       3       1       0      0      1
    983           1           1           1       2       2      2      2       2       2       0       0      0      0
    984           1           3           1       2       2      1      1       1       2       0       0      0      1
    989           1           1           1       2       2      1      1       2       2       0       0      0      0
    991           1           2           1       2       2      2      2       2       2       1       1      1      0
    998           1           1           1       2       2      2      2       2       2       0       0      0      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 29
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 132 of 172
                                                               Survey Data File

 responseid     q5_5        q5_6        q5_7   q5_8    q5_9   q5_10   q5_11   q5_12   q5_13     q6
    837          1           1           1      1       1       1       1       0       0        1
    838          1           1           0      0       0       1       0       0       0        1
    840          1           1           1      1       1       1       0       0       0        1
    844          1           1           1      1       0       1       0       0       0        1
    850          1           1           1      1       1       0       0       0       0        1
    853          1           1           1      1       0       1       0       0       0        1
    856          1           1           1      1       0       1       1       0       0        1
    859          1           1           1      0       0       0       0       0       0        1
    862          1           1           1      1       0       0       1       0       0        1
    879          1           1           1      1       0       1       1       0       0        1
    881          1           1           1      0       0       0       0       0       0        1
    886          0           1           1      0       0       1       0       0       0        1
    888          1           1           1      1       0       1       0       0       0        1
    892          1           1           1      1       0       1       0       0       0        1
    902          1           1           1      0       1       0       0       0       0        1
    913          1           1           0      0       0       1       1       0       0        1
    914          1           1           1      1       0       1       1       0       0        1
    923          1           0           0      0       0       0       0       0       0        1
    925          1           1           1      1       0       0       0       0       0        1
    930          0           0           1      1       0       1       0       0       0        1
    935          1           1           1      1       0       1       1       0       0        1
    940          1           1           1      0       0       0       0       0       0        1
    946          1           1           1      1       0       1       1       0       0        1
    947          1           1           0      0       0       0       0       0       0        1
    948          1           1           1      1       1       1       0       0       0        1
    953          1           1           1      0       0       0       1       0       0        1
    954          1           0           1      0       0       0       0       0       0        1
    960          1           1           1      1       0       0       0       0       0        1
    962          1           1           1      1       0       0       1       0       0        1
    966          1           1           1      1       0       1       1       0       0        1
    967          1           1           1      1       0       0       0       0       0        1
    974          1           1           1      1       1       0       0       0       0        1
    977          1           1           0      1       0       1       0       0       0        1
    978          1           1           1      1       0       1       1       0       0        1
    980          1           1           1      1       1       1       0       0       0        1
    983          1           1           0      1       0       1       1       0       0        1
    984          1           1           1      0       0       0       0       0       0        1
    989          1           1           1      1       0       1       0       0       0        1
    991          1           1           1      1       0       1       1       0       0        1
    998          1           1           1      1       0       1       1       0       0        1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 30
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 133 of 172
                                                               Survey Data File

 responseid    interview_end         qa      hidqregion   qb   qc   qd_1    qd_2    qd_3    qd_4    qd_5    qd_6   qd_7
    1000      10/21/2017 12:58       CT          1         2   2     0       1       1       0       0       0      0
    1005      10/21/2017 13:03       SC          3         2   3     0       0       1       0       0       0      0
    1009      10/21/2017 13:06       CA          4         2   3     0       0       1       0       0       0      0
    1011      10/21/2017 13:10       TX          3         2   3     0       0       1       0       0       0      0
    1014      10/21/2017 13:11       LA          3         2   3     0       0       1       0       0       0      0
    1018      10/21/2017 13:19       CT          1         2   3     0       0       1       0       0       0      0
    1028      10/21/2017 13:20       NC          3         2   3     0       0       1       0       0       0      0
    1037      10/21/2017 13:28       GA          3         2   4     0       0       1       0       0       0      0
    1039      10/21/2017 13:25       SC          3         2   3     0       0       1       0       0       0      0
    1047      10/21/2017 13:33       WA          4         2   3     0       0       1       1       0       0      0
    1048      10/21/2017 14:18       AR          3         2   3     0       0       1       0       0       0      0
    1050      10/21/2017 13:36       IL          2         2   2     0       0       1       0       0       0      0
    1055      10/21/2017 13:39       FL          3         2   4     0       0       1       0       0       0      0
    1057      10/21/2017 13:39       DE          3         2   2     0       0       1       0       0       0      0
    1063      10/21/2017 13:46       TX          3         2   4     0       0       1       0       0       0      0
    1071      10/21/2017 13:54       MD          3         2   4     0       0       1       0       0       0      0
    1073      10/21/2017 13:56       FL          3         2   3     0       0       1       0       0       0      0
    1074      10/21/2017 13:54       LA          3         2   4     0       0       1       0       0       0      0
    1076      10/21/2017 13:58       VA          3         2   3     0       0       1       0       0       0      0
    1077      10/21/2017 14:16       OH          2         2   3     0       0       1       0       0       0      0
    1078      10/21/2017 14:09       NY          1         2   2     0       0       1       0       0       0      0
    1092      10/21/2017 14:23       CA          4         2   3     0       0       1       0       0       0      0
    1093      10/21/2017 14:27       NY          1         2   3     0       0       1       0       0       0      0
    1094      10/21/2017 14:26       CA          4         2   3     0       0       1       0       0       0      0
    1095      10/21/2017 14:27       MD          3         2   4     0       0       1       0       0       0      0
    1102      10/21/2017 14:30       NC          3         2   3     0       0       1       0       0       0      0
    1108      10/21/2017 14:34       TX          3         2   3     0       0       1       0       0       0      0
    1110      10/21/2017 14:39       PA          1         2   3     0       0       1       0       0       0      0
    1111      10/21/2017 14:42       SC          3         2   3     0       0       1       0       0       0      0
    1118      10/21/2017 14:44       IL          2         2   3     0       0       1       0       0       0      0
    1122      10/21/2017 14:53       MA          1         2   3     0       0       1       0       0       0      0
    1136      10/21/2017 15:06       FL          3         2   4     0       0       1       0       0       0      0
    1137      10/21/2017 15:13       GA          3         2   4     0       0       1       0       0       0      0
    1140      10/21/2017 15:11       LA          3         2   3     0       0       1       0       0       0      0
    1141      10/21/2017 15:18       SC          3         2   3     0       0       1       0       0       0      0
    1143      10/21/2017 15:15       SC          3         2   2     0       0       1       0       0       0      0
    1148      10/21/2017 15:16       NY          1         2   4     0       0       1       0       0       0      0
    1149      10/21/2017 15:17       PA          1         2   4     0       0       1       0       0       0      0
    1154      10/21/2017 15:21       WI          2         2   3     0       0       1       0       0       0      0
    1174      10/21/2017 15:33       CA          4         2   2     0       0       1       0       0       0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                Page 31
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 134 of 172
                                                               Survey Data File

 responseid     qd_8        qe_1        qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1    qf_2   qf_3   qf_4
    1000         0           1           1      1       1       1       1       0       0       1       1      1      1
    1005         0           1           1      1       1       0       1       0       0       1       1      1      1
    1009         0           1           1      1       1       0       1       0       0       1       1      1      1
    1011         0           1           1      1       1       1       1       0       0       0       0      1      1
    1014         0           1           1      0       0       1       0       0       0       1       0      1      1
    1018         0           1           1      0       1       0       1       0       0       1       1      1      1
    1028         0           1           1      1       1       0       1       0       0       1       0      1      1
    1037         0           1           1      0       1       1       1       0       0       1       1      1      1
    1039         0           1           1      1       1       0       1       0       0       1       0      1      1
    1047         0           1           1      1       1       1       1       0       0       1       0      1      1
    1048         0           1           1      0       1       0       0       0       0       1       1      1      1
    1050         0           0           1      0       1       0       1       0       0       1       1      1      1
    1055         0           1           1      1       1       0       0       0       0       0       0      1      0
    1057         0           1           1      0       1       1       1       0       0       0       0      1      1
    1063         0           0           1      0       1       0       1       0       0       1       0      1      0
    1071         0           1           1      1       1       0       1       0       0       0       0      1      1
    1073         0           1           1      1       1       1       1       0       0       1       1      1      1
    1074         0           0           1      1       1       0       1       0       0       0       0      1      1
    1076         0           1           1      0       1       1       1       0       0       0       0      1      1
    1077         0           0           1      0       1       0       1       0       0       0       1      1      1
    1078         0           1           1      0       1       0       0       0       0       0       1      1      1
    1092         0           1           1      1       1       1       1       0       0       0       0      1      1
    1093         0           1           1      1       1       0       1       0       0       1       1      1      1
    1094         0           1           1      1       1       0       0       0       0       0       1      1      1
    1095         0           1           1      0       1       0       1       0       0       0       0      1      1
    1102         0           1           1      0       0       0       1       0       0       0       0      1      1
    1108         0           0           1      0       1       0       0       0       0       0       1      1      1
    1110         0           0           1      0       1       1       0       0       0       1       1      1      1
    1111         0           1           1      0       1       0       1       0       0       0       1      1      1
    1118         0           1           1      1       1       1       1       0       0       1       1      1      1
    1122         0           1           1      1       1       0       0       0       0       1       1      1      1
    1136         0           1           1      0       1       0       0       0       0       1       0      1      1
    1137         0           1           1      1       1       1       1       0       0       0       1      1      1
    1140         0           1           1      1       1       0       1       0       0       0       0      1      1
    1141         0           1           1      1       1       0       0       0       0       1       1      1      1
    1143         0           1           1      1       1       1       1       0       0       0       0      1      1
    1148         0           0           1      1       1       0       1       0       0       0       0      1      1
    1149         0           0           1      0       1       0       0       0       0       1       0      1      1
    1154         0           1           1      1       1       1       1       0       0       1       1      1      1
    1174         0           0           1      0       1       0       0       0       0       0       0      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 32
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 135 of 172
                                                               Survey Data File

 responseid     qf_5        qf_6        qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3    qh_4   qi   qj
    1000         0           0           1      1       1       0       0       2       2       2       2     1    2
    1005         0           0           1      0       1       0       0       2       2       2       2     1    2
    1009         0           0           1      0       0       0       0       2       2       2       2     1    2
    1011         0           0           1      0       0       0       0       2       2       2       2     1    1
    1014         0           0           1      0       0       0       0       2       2       2       2     1    1
    1018         0           0           1      0       1       0       0       2       2       2       2     1    2
    1028         0           0           1      1       0       0       0       2       2       2       2     1    2
    1037         0           0           1      1       0       0       0       2       2       2       2     1    1
    1039         0           0           1      1       0       0       0       2       2       2       2     1    2
    1047         0           0           1      0       0       0       0       2       2       2       2     1    1
    1048         0           0           1      0       0       0       0       2       2       2       2     1    1
    1050         0           0           1      1       0       0       0       2       2       2       2     1    1
    1055         0           0           1      0       0       0       0       2       2       2       2     1    2
    1057         0           0           1      1       1       0       0       2       2       2       2     1    1
    1063         0           0           1      0       0       0       0       2       2       2       2     1    2
    1071         0           0           1      1       0       0       0       2       2       2       2     1    2
    1073         0           0           1      1       0       0       0       2       2       2       2     1    2
    1074         0           0           1      0       0       0       0       2       2       2       2     1    2
    1076         0           0           1      0       0       0       0       2       2       2       2     1    1
    1077         0           0           1      0       0       0       0       2       2       2       2     1    1
    1078         0           0           1      0       1       0       0       2       2       2       2     1    2
    1092         0           0           1      0       0       0       0       2       2       2       2     1    2
    1093         0           0           1      0       0       0       0       2       2       2       2     1    1
    1094         0           0           1      0       0       0       0       2       2       2       2     1    2
    1095         0           0           1      1       1       0       0       2       2       2       2     1    2
    1102         0           0           1      1       0       0       0       2       2       2       2     1    2
    1108         0           0           1      1       0       0       0       2       2       2       2     1    1
    1110         0           0           1      0       0       0       0       2       2       2       2     1    1
    1111         0           0           1      0       0       0       0       2       2       2       2     1    1
    1118         0           0           1      1       1       0       0       2       2       2       2     1    1
    1122         0           0           1      0       0       0       0       2       2       2       2     1    1
    1136         0           0           1      1       0       0       0       2       2       2       2     1    1
    1137         0           0           1      1       1       0       0       2       2       2       2     1    1
    1140         0           0           1      0       0       0       0       2       2       2       2     1    1
    1141         0           0           1      0       0       0       0       2       2       2       2     1    1
    1143         0           0           1      1       0       0       0       2       2       2       2     1    2
    1148         0           0           1      0       0       0       0       2       2       2       2     1    1
    1149         0           0           1      1       0       0       0       2       2       2       2     1    1
    1154         0           0           1      1       1       0       0       2       2       2       2     1    2
    1174         0           0           1      0       0       0       0       2       2       2       2     1    1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                              Page 33
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 136 of 172
                                                               Survey Data File

 responseid      qk           ql         q1     q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6    q3_7   q3_8   q3_9
    1000                                  4      3      1       1       1       1       1       1       1      1      1
    1005                                  5      4      1       1       1       1       1       1       1      1      1
    1009                                  5      3      1       2       1       1       1       1       1      1      1
    1011          2           1           5      4      2       2       1       2       1       1       1      1      1
    1014          1                       5      4      1       1       1       2       1       1       1      1      1
    1018                                  5      1      3       1       1       1       1       1       1      1      1
    1028                                  5      5      1       1       1       1       1       1       1      1      1
    1037          1                       2      2      1       1       1       3       1       1       1      1      1
    1039                                  5      5      1       1       1       1       1       1       1      1      1
    1047          1                       5      2      1       1       1       1       1       1       1      1      1
    1048          1                       6      4      1       3       1       1       1       1       1      1      1
    1050          1                       5      2      3       2       1       1       1       1       1      1      1
    1055                                  3      3      2       2       2       1       1       1       1      1      1
    1057          1                       5      5      1       1       1       1       1       1       1      1      1
    1063                                  4      7      1       1       1       1       1       1       1      1      1
    1071                                  5      3      2       2       1       1       1       1       1      1      1
    1073                                  5      4      1       1       1       1       1       1       2      1      1
    1074                                  4      4      1       3       1       1       1       1       1      3      1
    1076          1                       5      1      1       1       1       1       1       1       1      1      1
    1077          1                       5      4      1       1       1       1       1       1       1      1      1
    1078                                  5      3      1       1       1       1       1       1       1      1      1
    1092                                  5      4      1       1       1       1       1       1       1      1      1
    1093          1                       5      5      1       2       1       1       1       1       1      1      1
    1094                                  5      4      1       2       1       1       1       1       1      2      1
    1095                                  5      4      2       1       1       1       1       2       1      1      1
    1102                                  5      3      1       1       1       1       1       1       1      1      1
    1108          1                       5      3      1       1       1       1       1       1       1      1      1
    1110          1                       5      3      1       1       1       1       1       2       1      1      1
    1111          1                       5      4      1       1       1       1       1       1       1      1      1
    1118          1                       5      5      1       2       1       2       1       1       1      1      1
    1122          2           1           5      3      1       1       1       1       1       1       1      1      1
    1136          1                       3      4      2       2       1       1       1       1       1      1      1
    1137          1                       5      5      1       2       1       2       1       1       1      1      1
    1140          1                       5      4      1       1       1       1       1       1       1      1      1
    1141          1                       5      4      1       1       1       1       1       1       1      1      1
    1143                                  4      5      2       2       2       2       1       1       1      1      1
    1148          1                       5      3      2       2       1       1       1       1       1      1      1
    1149          1                       3      5      1       1       1       1       1       1       1      1      1
    1154                                  5      5      1       1       1       1       1       1       1      1      1
    1174          1                       5      3      1       1       1       1       1       1       1      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 34
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 137 of 172
                                                               Survey Data File

 responseid     q3_10       q3_11       q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1    q5_2   q5_3   q5_4
    1000          1           1           3       2       2      1      1       2       2       1       0      0      0
    1005          1           1           3       2       2      1      2       2       2       0       0      0      1
    1009          1           1           1       2       2      1      1       1       2       0       0      0      1
    1011          1           1           1       2       2      2      2       2       2       0       0      0      0
    1014          1           1           3       2       2      1      2       2       2       1       1      0      0
    1018          1           2           2       2       2      1      3       3       2       1       0      0      1
    1028          1           3           1       2       2      1      1       1       2       1       0      0      0
    1037          1           2           2       2       2      1      3       2       2       0       0      0      0
    1039          1           1           1       2       2      1      1       1       2       0       0      0      0
    1047          1           1           2       2       2      2      1       1       2       0       0      0      0
    1048          1           1           1       2       2      1      2       2       2       1       0      0      0
    1050          1           1           3       2       2      1      3       2       2       0       0      0      1
    1055          1           2           1       2       2      2      2       1       2       0       0      0      0
    1057          1           1           1       2       2      1      2       2       2       0       0      0      0
    1063          1           3           3       2       2      2      3       3       2       0       0      0      0
    1071          1           1           1       2       2      2      2       2       2       0       0      0      0
    1073          1           1           1       2       2      2      1       1       2       0       0      0      0
    1074          1           1           3       2       2      1      2       2       2       0       0      0      0
    1076          1           1           3       2       2      1      2       2       2       0       0      0      0
    1077          1           1           3       2       2      1      1       1       2       0       0      0      1
    1078          1           1           1       2       2      1      1       2       2       0       0      0      0
    1092          1           1           2       2       2      1      2       2       2       0       0      0      0
    1093          2           2           1       2       2      1      1       2       2       1       0      0      1
    1094          1           1           1       2       2      1      2       2       2       1       1      0      0
    1095          1           1           1       2       2      1      1       2       3       0       0      0      0
    1102          1           1           1       1       1      2      2       2       2       1       0      0      0
    1108          1           1           1       2       2      1      2       2       2       0       0      0      1
    1110          1           1           1       2       2      1      1       1       2       1       0      0      1
    1111          1           1           3       2       2      1      1       2       2       0       0      0      0
    1118          1           1           1       2       2      2      2       2       2       1       0      1      1
    1122          1           1           1       2       2      1      1       1       2       0       0      0      1
    1136          1           2           1       2       2      2      2       2       2       1       0      0      0
    1137          1           1           1       2       2      2      2       2       3       0       0      0      0
    1140          1           1           1       2       2      1      1       1       3       0       0      0      0
    1141          1           2           3       2       2      1      1       1       2       0       0      0      1
    1143          1           1           1       2       2      1      2       2       2       0       0      0      0
    1148          1           1           2       2       2      2      2       2       2       1       0      0      0
    1149          1           1           1       2       2      1      1       2       2       1       0      0      1
    1154          1           1           1       2       2      1      2       2       2       1       1      1      1
    1174          1           1           3       2       2      1      1       2       2       0       0      0      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 35
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 138 of 172
                                                               Survey Data File

 responseid     q5_5        q5_6        q5_7   q5_8    q5_9   q5_10   q5_11   q5_12   q5_13     q6
    1000         1           1           1      1       0       1       1       0       0        1
    1005         1           1           1      1       0       1       1       0       0        1
    1009         1           1           1      1       1       1       1       0       0        1
    1011         1           1           1      0       0       1       1       0       0        1
    1014         1           1           1      1       0       1       1       0       0        1
    1018         1           1           1      1       0       1       1       0       0        1
    1028         1           1           1      0       1       0       1       0       0        1
    1037         1           1           0      0       0       0       0       0       0        1
    1039         1           1           0      0       0       0       1       0       0        1
    1047         1           1           1      1       1       1       1       0       0        1
    1048         1           1           1      1       0       1       1       0       0        1
    1050         1           1           1      1       0       0       0       0       0        1
    1055         1           1           1      0       0       0       0       0       0        1
    1057         1           1           1      1       0       1       0       0       0        1
    1063         0           0           1      0       0       0       0       0       0        1
    1071         1           1           1      1       0       1       1       0       0        1
    1073         1           1           1      0       0       1       0       0       0        1
    1074         1           0           1      0       0       0       0       0       0        1
    1076         1           1           1      0       0       0       0       0       0        1
    1077         1           1           1      0       0       1       0       0       0        1
    1078         1           1           1      0       0       1       0       0       0        1
    1092         1           1           1      1       0       0       0       0       0        1
    1093         1           1           1      1       0       1       1       0       0        1
    1094         1           1           0      1       1       1       1       0       0        1
    1095         1           1           1      1       1       0       1       0       0        1
    1102         1           1           1      1       0       1       0       0       0        1
    1108         1           1           1      1       0       1       1       0       0        1
    1110         1           1           1      0       0       1       0       0       0        1
    1111         1           1           1      1       0       1       0       0       0        1
    1118         1           1           1      1       1       1       1       0       0        1
    1122         1           1           1      1       1       0       0       0       0        1
    1136         1           1           1      1       0       0       1       0       0        1
    1137         1           1           1      0       0       0       0       0       0        1
    1140         1           1           1      1       0       1       0       0       0        1
    1141         1           1           0      0       0       0       0       0       0        1
    1143         1           1           1      1       0       1       1       0       0        1
    1148         1           1           0      0       0       0       0       0       0        1
    1149         1           1           1      1       0       1       1       0       0        1
    1154         1           1           1      1       1       1       1       0       0        1
    1174         1           1           1      1       0       1       0       0       0        1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 36
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 139 of 172
                                                               Survey Data File

 responseid     interview_end        qa      hidqregion   qb   qc   qd_1    qd_2    qd_3    qd_4    qd_5    qd_6   qd_7
    1187      10/21/2017 15:54       GA          3         2   3     0       0       1       0       0       0      0
    1192      10/21/2017 15:44       AL          3         2   3     0       0       1       0       0       0      0
    1198      10/21/2017 15:46       IL          2         2   3     0       0       1       0       0       0      0
    1199      10/21/2017 15:45       VA          3         2   4     0       0       1       0       0       0      0
    1202      10/21/2017 15:51       MA          1         2   3     0       0       1       0       0       0      0
    1204      10/21/2017 15:51       LA          3         2   3     0       0       1       0       0       0      0
    1206       10/22/2017 2:07       CA          4         2   2     0       0       1       0       0       0      0
    1207       10/22/2017 2:13       SC          3         2   2     0       0       1       0       0       0      0
    1209       10/22/2017 2:15       NV          4         2   3     0       0       1       0       0       0      0
    1210       10/22/2017 2:15       TX          3         2   2     0       0       1       0       0       0      0
    1214       10/22/2017 2:33       RI          1         2   2     1       0       1       0       0       0      0
    1231       10/22/2017 4:59       NC          3         2   3     0       0       1       0       0       0      0
    1234       10/22/2017 5:17       AR          3         2   3     0       0       1       0       0       0      0
    1235       10/22/2017 5:18       FL          3         2   3     0       0       1       0       0       0      0
    1239       10/22/2017 5:41       PA          1         2   3     0       0       1       0       0       0      0
    1262       10/22/2017 7:10       VA          3         2   3     0       0       1       0       0       0      0
    1272       10/22/2017 7:37       NV          4         2   4     0       0       1       0       0       0      0
    1281       10/22/2017 7:41       SC          3         2   3     0       0       1       0       0       0      0
    1284       10/22/2017 7:45       LA          3         2   3     0       0       1       0       0       0      0
    1285       10/22/2017 7:41       GA          3         2   3     0       0       1       0       0       0      0
    1286       10/22/2017 7:44       IL          2         2   4     0       0       1       0       0       0      0
    1289       10/22/2017 7:45       CA          4         2   3     0       0       1       0       0       0      0
    1298       10/22/2017 7:54       NJ          1         2   3     0       0       1       0       0       0      0
    1302       10/22/2017 8:01       GA          3         2   2     0       0       1       0       0       0      0
    1303       10/22/2017 7:54       OH          2         2   3     0       0       1       0       0       0      0
    1304       10/22/2017 7:56       NY          1         2   2     0       0       1       0       0       0      0
    1305       10/22/2017 7:59       VA          3         2   2     0       0       1       0       0       0      0
    1311       10/22/2017 8:16       KY          3         2   4     0       0       1       0       0       0      0
    1314       10/22/2017 8:13       SC          3         2   2     0       0       1       0       0       0      0
    1323       10/22/2017 8:22       WV          3         2   3     0       0       1       0       0       0      0
    1328       10/22/2017 8:28       IN          2         2   3     0       0       1       0       0       0      0
    1336       10/22/2017 8:43       MI          2         2   3     0       0       1       0       0       0      0
    1342       10/22/2017 8:39       DE          3         2   4     0       0       1       0       0       0      0
    1343       10/22/2017 8:38       MS          3         2   2     0       0       1       0       0       0      0
    1347       10/22/2017 8:39       CA          4         2   3     0       0       1       0       0       0      0
    1358       10/22/2017 8:50       PA          1         2   2     0       0       1       0       0       0      0
    1364       10/22/2017 9:03       OH          2         2   3     0       0       1       0       0       0      0
    1365       10/22/2017 9:01       AR          3         2   2     0       0       1       0       0       0      0
    1366       10/22/2017 9:02       MI          2         2   2     0       0       1       0       0       0      0
    1368       10/22/2017 9:02       FL          3         2   3     0       0       1       0       0       0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                Page 37
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 140 of 172
                                                               Survey Data File

 responseid     qd_8        qe_1        qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1    qf_2   qf_3   qf_4
    1187         0           1           1      0       1       0       1       0       0       1       1      1      1
    1192         0           1           1      0       1       0       0       0       0       0       0      1      1
    1198         0           1           1      0       1       0       1       0       0       0       1      1      1
    1199         0           1           1      1       1       1       1       0       0       1       0      1      1
    1202         0           1           1      0       1       0       1       0       0       0       0      1      1
    1204         0           1           1      1       1       0       1       0       0       0       0      1      0
    1206         0           1           1      0       1       0       0       0       0       0       0      1      1
    1207         0           1           1      0       1       0       1       0       0       1       1      1      0
    1209         0           1           1      1       1       1       1       0       0       1       1      1      1
    1210         0           1           1      1       1       1       0       0       0       0       1      1      1
    1214         0           1           1      0       1       0       1       0       0       0       0      1      1
    1231         0           0           1      0       1       0       0       0       0       0       0      1      1
    1234         0           1           1      1       1       1       1       0       0       0       1      1      1
    1235         0           0           1      1       0       1       0       0       0       0       1      1      1
    1239         0           1           1      1       0       0       0       0       0       1       0      1      1
    1262         0           0           1      0       1       0       1       0       0       1       0      1      1
    1272         0           1           1      1       1       1       1       0       0       1       0      1      1
    1281         0           1           1      0       1       1       1       0       0       1       1      1      1
    1284         0           1           1      1       1       0       1       0       0       1       0      1      1
    1285         0           1           1      0       1       0       1       0       0       1       1      1      1
    1286         0           1           1      0       1       0       1       0       0       1       1      1      1
    1289         0           1           1      0       1       0       1       0       0       1       1      1      1
    1298         0           1           1      0       1       0       1       0       0       1       0      1      1
    1302         0           1           1      0       1       1       1       0       0       0       1      1      1
    1303         0           1           1      0       1       1       0       0       0       1       0      1      1
    1304         0           1           1      1       1       1       1       0       0       1       1      1      1
    1305         0           1           1      1       1       0       1       0       0       1       0      1      1
    1311         0           0           1      1       1       0       0       0       0       0       0      1      1
    1314         0           1           1      1       1       1       0       0       0       1       1      1      1
    1323         0           1           1      1       1       0       1       0       0       1       0      1      1
    1328         0           1           1      0       1       1       1       0       0       0       1      1      1
    1336         0           1           1      1       1       1       1       0       0       1       1      1      1
    1342         0           1           1      1       1       1       1       0       0       1       0      1      1
    1343         0           0           1      1       1       0       1       0       0       1       0      1      1
    1347         0           1           1      0       1       0       0       0       0       1       1      1      1
    1358         0           1           1      0       1       0       1       0       0       1       1      1      1
    1364         0           1           1      1       1       0       1       0       0       0       0      1      1
    1365         0           1           1      0       1       0       0       0       0       0       1      1      1
    1366         0           1           1      1       1       1       1       0       0       0       1      1      1
    1368         0           1           1      1       1       1       1       0       0       1       1      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 38
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 141 of 172
                                                               Survey Data File

 responseid     qf_5        qf_6        qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3    qh_4   qi   qj
    1187         0           0           1      1       1       0       0       2       2       2       2     1    2
    1192         0           0           1      0       0       0       0       2       2       2       2     1    1
    1198         0           0           1      0       0       0       0       2       2       2       2     1    1
    1199         0           0           1      0       0       0       0       2       2       2       2     1    2
    1202         0           0           1      1       0       0       0       2       2       2       2     1    1
    1204         0           0           1      0       0       0       0       2       2       2       2     1    1
    1206         0           0           1      1       0       0       0       2       2       2       2     1    2
    1207         0           0           1      0       0       0       0       2       2       2       2     1    1
    1209         0           0           1      1       1       0       0       2       2       2       2     1    2
    1210         0           0           1      0       0       0       0       2       2       2       2     1    2
    1214         0           0           1      0       0       0       0       2       2       2       2     1    2
    1231         0           0           1      1       0       0       0       2       2       2       2     1    2
    1234         0           0           1      1       1       0       0       2       2       2       2     1    1
    1235         0           0           1      0       0       0       0       2       2       2       2     1    1
    1239         0           0           1      0       0       0       0       2       2       2       2     1    1
    1262         0           0           1      0       0       0       0       2       2       2       2     1    2
    1272         0           0           1      0       0       0       0       2       2       2       2     1    1
    1281         0           0           1      1       0       0       0       2       2       2       2     1    2
    1284         0           0           1      0       0       0       0       2       2       2       2     1    2
    1285         0           0           1      0       0       0       0       2       2       2       2     1    1
    1286         0           0           1      0       0       0       0       2       2       2       2     1    2
    1289         0           0           1      1       0       0       0       2       2       2       2     1    1
    1298         0           0           1      0       0       0       0       2       2       2       2     1    1
    1302         0           0           1      1       1       0       0       2       2       2       2     1    1
    1303         0           0           1      1       0       0       0       2       2       2       2     1    2
    1304         0           0           1      0       0       0       0       2       2       2       2     1    2
    1305         0           0           1      1       0       0       0       2       2       2       2     1    2
    1311         0           0           1      1       0       0       0       2       2       2       2     1    1
    1314         0           0           1      0       0       0       0       2       2       2       2     1    1
    1323         0           0           1      0       1       0       0       2       2       2       2     1    2
    1328         0           0           1      0       1       0       0       2       2       2       2     1    2
    1336         0           0           1      1       1       0       0       2       2       2       2     1    2
    1342         0           0           1      0       0       0       0       2       2       2       2     1    1
    1343         0           0           1      0       0       0       0       2       2       2       2     1    2
    1347         0           0           1      0       0       0       0       2       2       2       2     1    1
    1358         0           0           1      0       0       0       0       2       2       2       2     1    2
    1364         0           0           1      0       0       0       0       2       2       2       2     1    1
    1365         0           0           1      1       0       0       0       2       2       2       2     1    1
    1366         0           0           1      1       0       0       0       2       2       2       2     1    1
    1368         0           0           1      1       0       0       0       2       2       2       2     1    2


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                              Page 39
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 142 of 172
                                                               Survey Data File

 responseid      qk           ql         q1     q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6    q3_7   q3_8   q3_9
    1187                                  5      5      1       1       1       1       1       1       1      1      1
    1192          2           1           5      3      1       1       1       1       1       1       1      1      1
    1198          2           1           5      1      1       1       1       1       1       1       1      1      1
    1199                                  5      4      1       2       2       2       1       1       1      1      1
    1202          1                       5      4      1       1       1       1       1       3       1      1      1
    1204          1                       5      5      1       2       1       1       3       1       1      1      1
    1206                                  5      1      1       1       1       1       1       1       1      2      1
    1207          1                       4      3      1       1       1       2       3       3       1      1      1
    1209                                  5      4      1       3       1       1       1       2       1      1      1
    1210                                  3      3      1       1       2       1       1       1       1      1      1
    1214                                  5      3      1       1       1       1       1       1       1      1      1
    1231                                  5      4      2       2       1       2       1       1       1      1      1
    1234          1                       5      5      1       1       1       1       1       1       1      1      1
    1235          1                       5      4      1       2       1       1       1       1       1      1      1
    1239          2           1           5      5      1       1       1       1       1       1       1      1      1
    1262                                  5      2      2       2       2       1       1       2       1      2      2
    1272          1                       5      5      3       1       1       1       1       2       1      1      1
    1281                                  5      3      1       1       1       1       1       1       1      1      1
    1284                                  5      4      1       1       1       1       1       1       1      1      1
    1285          1                       5      4      1       1       1       1       2       1       1      1      1
    1286                                  3      3      1       1       1       1       1       1       1      1      1
    1289          2           1           5      4      2       2       2       1       1       1       1      1      1
    1298          1                       5      4      2       2       1       1       1       1       1      2      1
    1302          2           1           4      3      1       1       1       1       1       2       1      1      1
    1303                                  5      4      2       2       1       2       1       1       1      1      1
    1304                                  2      2      2       1       1       1       1       1       1      1      1
    1305                                  5      1      1       1       1       1       1       1       1      1      1
    1311          1                       5      4      1       2       2       1       1       2       1      3      1
    1314          1                       5      4      1       1       1       1       1       2       1      1      1
    1323                                  5      3      1       1       1       1       1       1       1      1      1
    1328                                  5      4      1       1       1       1       1       1       1      2      1
    1336                                  5      3      1       1       1       1       2       2       1      2      1
    1342          1                       5      5      1       1       1       1       1       1       1      1      1
    1343                                  5      1      1       1       1       1       2       1       1      1      1
    1347          2           1           5      4      1       1       1       1       1       1       1      1      1
    1358                                  3      7      1       3       1       1       3       3       1      1      1
    1364          2           1           5      4      1       1       1       1       1       2       1      2      2
    1365          1                       5      4      1       3       1       3       1       1       1      3      3
    1366          1                       5      1      1       1       1       1       1       1       1      1      1
    1368                                  5      5      1       1       1       1       1       1       1      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 40
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 143 of 172
                                                               Survey Data File

 responseid     q3_10       q3_11       q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1    q5_2   q5_3   q5_4
    1187          1           2           3       2       2      1      1       1       3       1       1      0      1
    1192          1           1           2       2       2      1      2       2       2       0       0      0      0
    1198          1           1           1       2       2      1      1       2       2       0       0      0      1
    1199          1           1           1       2       2      2      2       2       2       1       0      0      0
    1202          1           1           3       2       2      1      2       2       2       0       0      0      0
    1204          1           1           2       2       2      1      2       2       2       0       0      0      0
    1206          1           1           1       2       2      1      1       1       2       0       0      0      0
    1207          1           1           3       2       2      1      1       2       2       0       0      0      0
    1209          1           1           3       2       2      1      1       2       2       1       0      0      1
    1210          1           1           1       2       1      2      1       2       2       0       0      0      0
    1214          1           2           1       2       2      1      1       3       3       0       0      0      0
    1231          1           1           1       2       2      1      2       2       2       0       0      0      0
    1234          1           1           1       2       2      1      1       1       2       0       0      0      1
    1235          1           1           3       2       2      1      1       1       2       0       0      0      1
    1239          1           1           1       2       2      2      2       2       2       1       0      0      0
    1262          2           2           2       2       2      2      2       2       2       1       0      0      0
    1272          1           1           2       2       2      1      2       2       2       1       0      0      0
    1281          1           1           1       2       2      1      1       1       2       1       1      0      1
    1284          1           1           1       2       2      1      1       2       2       1       0      1      0
    1285          1           2           1       2       2      1      1       2       2       1       0      0      0
    1286          1           1           1       2       2      1      1       1       2       0       0      0      0
    1289          1           1           1       2       2      2      2       2       3       1       0      0      1
    1298          1           1           1       2       2      2      2       2       2       1       0      0      0
    1302          1           2           2       2       2      1      1       1       3       0       0      0      1
    1303          1           1           1       2       2      1      2       2       2       1       0      0      0
    1304          2           1           1       3       2      3      3       3       3       0       0      0      1
    1305          1           2           2       2       2      1      1       2       2       0       0      0      0
    1311          1           1           1       2       2      1      2       2       2       0       0      0      0
    1314          1           1           2       2       2      1      1       1       3       1       0      0      1
    1323          1           1           1       2       2      1      1       1       2       0       0      0      0
    1328          1           1           2       2       2      1      1       2       2       0       0      0      1
    1336          1           2           1       2       1      1      1       2       2       1       1      1      1
    1342          1           1           1       2       2      2      2       2       2       1       0      1      0
    1343          3           3           3       2       2      1      1       1       3       0       0      1      0
    1347          1           1           1       2       2      2      2       2       2       0       0      1      1
    1358          1           1           1       2       2      1      1       1       2       1       0      1      1
    1364          1           2           2       2       2      1      2       2       2       0       0      0      0
    1365          3           3           1       2       2      1      1       2       3       0       0      0      1
    1366          1           1           2       2       2      1      1       1       3       0       0      0      1
    1368          1           1           1       2       2      1      1       1       2       0       0      0      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 41
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 144 of 172
                                                               Survey Data File

 responseid     q5_5        q5_6        q5_7   q5_8    q5_9   q5_10   q5_11   q5_12   q5_13     q6
    1187         1           1           0      1       0       0       0       0       0        1
    1192         1           1           1      1       0       1       1       0       0        1
    1198         1           1           1      1       0       1       0       0       0        1
    1199         1           1           1      1       0       0       1       0       0        1
    1202         1           1           1      1       0       1       1       0       0        1
    1204         1           1           1      1       0       1       0       0       0        1
    1206         1           1           0      1       0       0       0       0       0        1
    1207         1           0           0      0       0       0       0       0       0        1
    1209         1           1           1      1       0       1       0       0       0        1
    1210         1           1           1      1       1       1       0       0       0        1
    1214         1           1           1      0       0       0       0       0       0        1
    1231         1           1           1      0       0       0       1       0       0        1
    1234         1           1           1      1       0       1       1       0       0        1
    1235         1           1           1      1       0       1       1       0       0        1
    1239         1           1           1      0       0       0       0       0       0        1
    1262         1           1           1      1       0       1       1       0       0        1
    1272         1           1           1      0       0       1       1       0       0        1
    1281         1           1           1      1       0       1       1       0       0        1
    1284         1           1           1      1       0       0       1       0       0        1
    1285         1           1           1      1       0       1       0       0       0        1
    1286         1           1           1      0       0       0       0       0       0        1
    1289         1           1           1      0       0       1       0       0       0        1
    1298         1           1           1      1       0       1       0       0       0        1
    1302         1           1           1      0       0       0       1       0       0        1
    1303         1           1           1      1       0       1       0       0       0        1
    1304         1           1           1      0       0       1       0       0       0        1
    1305         1           1           1      0       0       0       0       0       0        1
    1311         1           1           1      1       0       0       1       0       0        1
    1314         1           1           1      1       0       1       1       0       0        1
    1323         1           1           1      0       1       0       1       0       0        1
    1328         1           1           1      0       0       1       0       0       0        1
    1336         1           1           1      1       1       1       1       0       0        1
    1342         1           1           1      1       0       1       0       0       0        1
    1343         1           1           1      1       0       0       0       0       0        1
    1347         1           1           1      1       1       1       1       0       0        1
    1358         1           1           1      1       1       1       1       0       0        1
    1364         1           1           1      0       0       0       1       0       0        1
    1365         1           1           1      1       0       1       0       0       0        1
    1366         1           1           1      1       1       1       1       0       0        1
    1368         1           1           1      1       0       0       0       0       0        1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 42
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 145 of 172
                                                               Survey Data File

 responseid     interview_end        qa      hidqregion   qb   qc   qd_1    qd_2    qd_3    qd_4    qd_5    qd_6   qd_7
    1377       10/22/2017 9:09       GA          3         2   2     0       0       1       0       0       0      0
    1379       10/22/2017 9:12       FL          3         2   4     0       0       1       0       0       0      0
    1380       10/22/2017 9:14       MN          2         2   4     0       0       1       0       0       0      0
    1394       10/22/2017 9:23       VA          3         2   2     0       0       1       0       0       0      0
    1395       10/22/2017 9:25       IL          2         2   3     0       0       1       0       0       0      0
    1400       10/22/2017 9:29       MD          3         2   2     0       0       1       0       0       0      0
    1411       10/22/2017 9:37       OH          2         2   3     0       0       1       0       0       0      0
    1426       10/22/2017 9:52       CA          4         2   4     0       0       1       0       0       0      0
    1434       10/22/2017 9:58       TX          3         2   3     0       0       1       0       0       0      0
    1435      10/22/2017 10:07       NV          4         2   4     0       0       1       0       0       0      0
    1437      10/22/2017 10:00       TX          3         2   2     0       0       1       0       0       0      0
    1439       10/22/2017 9:59       WA          4         2   2     0       0       1       0       0       0      0
    1441      10/22/2017 10:01       OH          2         2   3     0       0       1       0       0       0      0
    1450      10/22/2017 10:10       GA          3         2   3     0       0       1       0       0       0      0
    1453      10/22/2017 10:16       FL          3         2   2     0       0       1       0       0       0      0
    1461      10/22/2017 10:19       NY          1         2   3     0       0       1       1       0       0      0
    1468      10/22/2017 10:22       AZ          4         2   2     0       0       1       0       0       0      0
    1472      10/22/2017 10:25       MS          3         2   2     0       0       1       0       0       0      0
    1477      10/22/2017 10:27       GA          3         2   3     0       0       1       0       0       0      0
    1494      10/22/2017 10:39       MI          2         2   2     0       0       1       0       0       0      0
    1499      10/22/2017 10:43       VA          3         2   3     0       0       1       0       0       0      0
    1500      10/22/2017 10:43       MO          2         2   3     0       0       1       1       0       0      0
    1510      10/22/2017 10:58       GA          3         2   4     0       0       1       0       0       0      0
    1514      10/22/2017 11:00       FL          3         2   2     0       0       1       0       0       0      0
    1516      10/22/2017 11:06       FL          3         2   2     0       0       1       0       0       0      0
    1517      10/22/2017 11:03       LA          3         2   2     0       0       1       0       0       0      0
    1522      10/22/2017 11:09       GA          3         2   2     0       0       1       0       0       0      0
    1527      10/22/2017 11:12       OK          3         2   3     1       0       1       1       0       0      0
    1529      10/22/2017 11:15       OH          2         2   3     0       0       1       0       0       0      0
    1535      10/22/2017 11:21       TN          3         2   3     0       0       1       0       0       0      0
    1538      10/22/2017 11:31       NJ          1         2   3     0       0       1       0       0       0      0
    1543      10/22/2017 11:25       FL          3         2   2     0       1       1       0       0       0      0
    1544      10/22/2017 11:28       IL          2         2   4     0       0       1       0       0       0      0
    1545      10/22/2017 11:27       MO          2         2   2     0       0       1       0       0       0      0
    1548      10/22/2017 11:28       IL          2         2   2     0       0       1       0       0       0      0
    1564      10/22/2017 11:41       CA          4         2   4     0       0       1       0       0       0      0
    1566      10/22/2017 11:43       CA          4         2   2     0       0       1       0       0       0      0
    1571      10/22/2017 11:43       WI          2         2   3     0       0       1       0       0       0      0
    1572      10/22/2017 11:41       NC          3         2   4     0       0       1       0       0       0      0
    1574      10/22/2017 11:58       MD          3         2   4     0       0       1       0       0       0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                Page 43
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 146 of 172
                                                               Survey Data File

 responseid     qd_8        qe_1        qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1    qf_2   qf_3   qf_4
    1377         0           1           1      0       1       1       0       0       0       1       1      1      1
    1379         0           1           1      1       1       1       1       0       0       1       0      1      1
    1380         0           1           1      1       1       0       0       0       0       1       0      1      0
    1394         0           1           1      0       1       0       1       0       0       1       1      1      1
    1395         0           1           1      1       1       1       1       0       0       1       0      1      1
    1400         0           1           1      1       1       1       1       0       0       0       1      1      1
    1411         0           1           1      0       1       0       1       0       0       0       0      1      1
    1426         0           1           1      0       1       1       1       0       0       1       1      1      1
    1434         0           1           1      1       1       1       1       0       0       1       0      1      1
    1435         0           1           1      1       1       0       1       0       0       0       0      1      1
    1437         0           0           1      0       1       1       1       0       0       1       0      1      1
    1439         0           0           1      0       0       1       0       0       0       0       0      1      1
    1441         0           1           1      0       1       1       1       0       0       1       1      1      1
    1450         0           1           1      0       1       0       1       0       0       1       1      1      1
    1453         0           1           1      0       1       0       1       0       0       1       1      1      1
    1461         0           1           1      0       1       1       1       0       0       1       0      1      1
    1468         0           1           1      0       1       0       1       0       0       0       1      1      1
    1472         0           1           1      0       1       0       0       0       0       1       1      1      1
    1477         0           1           1      1       1       1       1       0       0       1       1      1      1
    1494         0           1           1      1       1       0       0       0       0       1       1      1      1
    1499         0           1           1      1       1       0       1       0       0       1       1      1      1
    1500         0           1           1      0       1       0       1       0       0       0       0      1      1
    1510         0           1           1      0       1       1       1       0       0       1       0      1      1
    1514         0           1           1      1       1       1       1       0       0       1       1      1      1
    1516         0           1           1      1       1       1       1       0       0       1       1      1      1
    1517         0           1           1      1       1       0       1       0       0       1       1      1      1
    1522         0           1           1      0       1       1       1       0       0       1       1      1      1
    1527         0           1           1      1       1       1       1       0       0       1       1      1      1
    1529         0           1           1      0       1       0       1       0       0       1       0      1      1
    1535         0           0           1      0       1       0       1       0       0       0       1      1      1
    1538         0           0           1      0       1       0       1       0       0       0       0      1      1
    1543         0           1           1      1       1       1       1       0       0       1       1      1      1
    1544         0           1           1      0       1       0       1       0       0       1       1      1      1
    1545         0           1           1      0       1       0       1       0       0       0       1      1      1
    1548         0           1           1      1       1       1       1       0       0       1       1      1      1
    1564         0           1           1      0       1       0       1       0       0       1       1      1      1
    1566         0           1           1      1       1       1       1       0       0       1       1      1      1
    1571         0           1           1      1       1       0       1       0       0       1       0      1      1
    1572         0           1           1      1       1       0       1       0       0       0       1      1      1
    1574         0           1           1      0       1       0       1       0       0       1       0      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 44
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 147 of 172
                                                               Survey Data File

 responseid     qf_5        qf_6        qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3    qh_4   qi   qj
    1377         0           0           1      0       0       0       0       2       2       2       2     1    1
    1379         0           0           1      1       0       0       0       2       2       2       2     1    1
    1380         0           0           1      0       0       0       0       2       2       2       2     1    1
    1394         0           0           1      0       0       0       0       2       2       2       2     1    2
    1395         0           0           1      1       0       0       0       2       2       2       2     1    1
    1400         0           0           1      1       0       0       0       2       2       2       2     1    1
    1411         0           0           1      1       0       0       0       2       2       2       2     1    2
    1426         0           0           1      0       0       0       0       2       2       2       2     1    1
    1434         0           0           1      1       0       0       0       2       2       2       2     1    1
    1435         0           0           1      1       0       0       0       2       2       2       2     1    1
    1437         0           0           1      0       0       0       0       2       2       2       2     1    1
    1439         0           0           1      0       1       0       0       2       2       2       2     1    2
    1441         0           0           1      1       0       0       0       2       2       2       2     1    2
    1450         0           0           1      0       0       0       0       2       2       2       2     1    1
    1453         0           0           1      1       1       0       0       2       2       2       2     1    2
    1461         0           0           1      1       0       0       0       2       2       2       2     1    2
    1468         0           0           1      0       0       0       0       2       2       2       2     1    1
    1472         0           0           1      1       0       0       0       2       2       2       2     1    1
    1477         0           0           1      1       1       0       0       2       2       2       2     1    1
    1494         0           0           1      1       0       0       0       2       2       2       2     1    2
    1499         0           0           1      0       0       0       0       2       2       2       2     1    1
    1500         0           0           1      1       0       0       0       2       2       2       2     1    2
    1510         0           0           1      0       1       0       0       2       2       2       2     1    1
    1514         0           0           1      1       0       0       0       2       2       2       2     1    1
    1516         0           0           1      1       0       0       0       2       2       2       2     1    2
    1517         0           0           1      1       1       0       0       2       2       2       2     1    2
    1522         0           0           1      1       0       0       0       2       2       2       2     1    2
    1527         0           0           1      1       0       0       0       2       2       2       2     1    2
    1529         0           0           1      0       0       0       0       2       2       2       2     1    1
    1535         0           0           1      0       0       0       0       2       2       2       2     1    2
    1538         0           0           1      0       0       0       0       2       2       2       2     1    1
    1543         0           0           1      1       0       0       0       2       2       2       2     1    1
    1544         0           0           1      0       0       0       0       2       2       2       2     1    1
    1545         0           0           1      0       0       0       0       2       2       2       2     1    2
    1548         0           0           1      0       1       0       0       2       2       2       2     1    2
    1564         0           0           1      0       1       0       0       2       2       2       2     1    1
    1566         0           0           1      1       0       0       0       2       2       2       2     1    2
    1571         0           0           1      1       1       0       0       2       2       2       2     1    1
    1572         0           0           1      0       0       0       0       2       2       2       2     1    1
    1574         0           0           1      0       0       0       0       2       2       2       2     1    1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                              Page 45
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 148 of 172
                                                               Survey Data File

 responseid      qk           ql         q1     q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6    q3_7   q3_8   q3_9
    1377          1                       2      1      3       3       1       1       1       1       1      1      1
    1379          1                       5      4      1       1       1       1       1       1       1      1      1
    1380          1                       5      4      2       2       2       2       1       1       1      1      1
    1394                                  5      3      1       1       1       1       1       1       1      1      1
    1395          1                       4      4      2       2       2       1       1       1       1      1      1
    1400          1                       5      4      1       2       1       1       1       1       1      1      1
    1411                                  5      4      1       1       1       1       1       1       1      1      1
    1426          1                       5      2      1       1       1       1       1       1       1      1      1
    1434          1                       5      6      2       3       1       1       1       1       1      1      1
    1435          1                       5      5      1       1       2       2       1       1       1      1      1
    1437          1                       5      5      1       1       2       1       1       1       1      2      1
    1439                                  5      5      1       3       1       1       1       1       1      1      1
    1441                                  5      5      1       2       2       2       1       1       3      1      1
    1450          1                       5      4      1       1       1       1       1       1       1      1      1
    1453                                  4      4      1       2       2       3       1       3       1      2      1
    1461                                  5      5      1       3       1       1       3       1       1      1      1
    1468          1                       3      3      2       2       2       1       1       1       1      2      1
    1472          1                       4      5      2       2       1       1       1       1       1      1      1
    1477          1                       4      5      2       2       1       2       1       1       1      1      1
    1494                                  4      2      1       1       1       1       1       1       1      1      1
    1499          1                       5      4      2       2       2       1       1       1       1      1      1
    1500                                  5      3      1       1       1       1       1       1       1      1      1
    1510          1                       5      5      1       1       1       1       1       1       1      1      1
    1514          1                       4      3      1       1       1       1       1       1       1      1      1
    1516                                  2      3      1       1       1       2       1       1       1      1      1
    1517                                  5      3      2       2       1       2       1       1       1      1      1
    1522                                  4      4      2       1       2       2       1       1       1      1      1
    1527                                  5      3      1       1       1       1       1       1       1      1      1
    1529          1                       4      5      1       2       1       3       1       3       1      3      1
    1535                                  4      1      1       2       1       1       1       1       1      2      1
    1538          1                       5      5      1       2       1       1       1       2       1      1      1
    1543          1                       5      5      1       2       1       2       1       1       1      1      1
    1544          1                       5      5      1       1       1       1       1       1       1      1      2
    1545                                  3      1      1       1       1       1       1       1       1      1      1
    1548                                  5      4      1       2       2       1       1       1       1      1      1
    1564          1                       3      1      1       2       1       2       1       1       2      1      1
    1566                                  3      4      1       1       1       1       1       1       1      1      1
    1571          1                       5      5      1       1       1       1       1       1       1      1      1
    1572          1                       5      2      1       1       1       1       1       1       1      1      1
    1574          1                       4      3      1       1       1       1       2       2       1      1      2


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 46
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 149 of 172
                                                               Survey Data File

 responseid     q3_10       q3_11       q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1    q5_2   q5_3   q5_4
    1377          1           1           1       2       2      1      1       1       2       0       0      0      1
    1379          1           1           1       2       2      1      2       2       2       1       0      0      0
    1380          1           1           2       2       2      2      1       2       2       1       1      0      0
    1394          1           1           1       2       2      1      1       1       2       0       0      0      0
    1395          1           1           1       2       2      2      2       2       2       1       0      0      0
    1400          1           1           1       2       2      1      1       2       2       0       0      0      1
    1411          1           1           3       2       2      1      1       1       3       0       0      0      0
    1426          1           1           2       2       2      1      1       2       2       1       0      0      1
    1434          1           1           1       2       2      2      2       2       3       0       0      0      0
    1435          1           1           1       2       2      1      1       1       2       0       0      0      0
    1437          1           2           3       2       2      1      2       2       2       0       0      0      1
    1439          1           2           1       2       2      1      1       2       2       0       0      0      0
    1441          1           1           1       2       2      2      2       2       2       1       0      0      0
    1450          1           1           1       2       2      1      1       1       2       1       0      0      1
    1453          1           1           1       2       2      2      2       2       2       1       0      0      1
    1461          1           1           1       2       2      1      1       1       3       1       0      0      0
    1468          1           1           1       1       2      2      2       2       2       1       0      0      1
    1472          1           1           1       2       2      2      2       2       2       0       1      0      1
    1477          1           1           1       1       2      2      2       2       2       1       1      1      1
    1494          1           1           3       2       2      1      1       1       2       0       0      0      0
    1499          1           1           1       2       2      1      2       2       3       1       0      1      1
    1500          1           1           3       2       2      1      2       2       2       0       0      0      0
    1510          1           1           1       2       2      1      2       2       2       1       0      0      0
    1514          1           1           1       2       2      1      2       2       2       1       0      0      1
    1516          1           1           1       2       2      1      2       2       2       0       0      0      1
    1517          1           2           1       2       2      1      2       1       2       0       0      0      0
    1522          2           2           1       2       2      2      1       1       2       1       0      0      0
    1527          1           1           1       2       2      1      2       2       2       1       0      0      0
    1529          1           1           1       2       2      2      2       2       2       1       0      1      0
    1535          1           1           1       2       2      1      2       2       2       0       0      0      0
    1538          1           2           1       2       2      1      2       2       2       0       0      1      0
    1543          1           1           1       2       2      2      2       2       2       0       0      1      1
    1544          1           1           1       2       2      1      1       1       2       1       0      0      0
    1545          3           1           2       2       2      1      2       2       2       0       0      0      0
    1548          1           1           1       2       2      1      2       2       2       0       0      0      1
    1564          1           1           1       2       2      1      1       1       2       0       0      0      1
    1566          1           1           1       2       2      1      2       2       2       0       0      0      0
    1571          1           1           1       2       2      2      2       2       2       0       0      1      0
    1572          1           1           1       2       2      1      1       1       2       1       0      0      0
    1574          2           1           2       2       2      2      1       2       2       1       0      1      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 47
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 150 of 172
                                                               Survey Data File

 responseid     q5_5        q5_6        q5_7   q5_8    q5_9   q5_10   q5_11   q5_12   q5_13     q6
    1377         1           1           1      1       0       1       1       0       0        1
    1379         1           1           1      1       0       0       1       0       0        1
    1380         0           1           1      0       0       1       1       0       0        1
    1394         1           1           1      0       1       0       0       0       0        1
    1395         1           1           1      1       0       1       1       0       0        1
    1400         1           1           1      1       0       1       0       0       0        1
    1411         1           1           1      1       0       0       1       0       0        1
    1426         1           1           1      1       0       1       0       0       0        1
    1434         1           1           1      1       0       1       1       0       0        1
    1435         1           1           1      0       0       0       0       0       0        1
    1437         1           1           1      1       0       1       0       0       0        1
    1439         1           1           1      0       0       0       0       0       0        1
    1441         1           1           1      1       0       1       0       0       0        1
    1450         1           1           1      1       0       0       0       0       0        1
    1453         1           1           1      1       0       1       1       0       0        1
    1461         1           1           1      1       0       1       1       0       0        1
    1468         1           1           1      1       1       1       1       0       0        1
    1472         1           1           1      1       0       1       1       0       0        1
    1477         1           1           1      1       1       1       1       0       0        1
    1494         1           1           1      1       0       0       0       0       0        1
    1499         1           1           1      1       0       1       1       0       0        1
    1500         1           1           1      0       0       0       0       0       0        1
    1510         0           1           1      0       0       1       0       0       0        1
    1514         1           1           1      1       0       1       1       0       0        1
    1516         1           1           1      1       1       1       1       0       0        1
    1517         1           1           1      1       0       1       0       0       0        1
    1522         1           1           1      1       1       1       1       0       0        1
    1527         1           1           1      1       0       1       1       0       0        1
    1529         1           1           1      0       0       1       1       0       0        1
    1535         1           1           1      1       1       1       0       0       0        1
    1538         1           1           1      1       1       1       0       0       0        1
    1543         1           1           1      1       0       1       1       0       0        1
    1544         1           1           1      1       0       1       1       0       0        1
    1545         1           1           1      1       0       1       0       0       0        1
    1548         1           1           1      1       0       1       1       0       0        1
    1564         1           1           1      1       1       1       1       0       0        1
    1566         0           0           1      1       0       1       0       0       0        1
    1571         1           1           1      1       1       1       1       0       0        1
    1572         1           1           1      0       0       0       0       0       0        1
    1574         1           1           1      1       0       0       1       0       0        1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 48
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 151 of 172
                                                               Survey Data File

 responseid    interview_end         qa      hidqregion   qb   qc   qd_1    qd_2    qd_3    qd_4    qd_5    qd_6   qd_7
    1592      10/22/2017 11:58       IL          2         2   3     0       0       1       0       0       0      0
    1598      10/22/2017 12:07       NJ          1         2   2     0       0       1       0       0       0      0
    1613      10/22/2017 12:28       AZ          4         2   4     0       0       1       0       0       0      0
    1615      10/22/2017 12:27       MA          1         2   4     0       0       1       0       0       0      0
    1616      10/22/2017 12:28       IL          2         2   2     0       0       1       0       0       0      0
    1618      10/22/2017 12:29       NC          3         2   2     0       0       1       0       0       0      0
    1619      10/22/2017 12:32       TX          3         2   2     0       0       1       0       0       0      0
    1623      10/22/2017 12:39       IL          2         2   2     0       0       1       0       0       0      0
    1629      10/22/2017 12:39       AR          3         2   4     0       0       1       0       0       0      0
    1631      10/22/2017 12:46       FL          3         2   2     0       0       1       0       0       0      0
    1637      10/22/2017 12:46       CA          4         2   2     0       0       1       0       0       0      0
    1649      10/22/2017 12:56       TX          3         2   4     0       0       1       0       0       0      0
    1650      10/22/2017 12:57       TN          3         2   2     0       0       1       0       0       0      0
    1652      10/22/2017 13:03       IL          2         2   4     0       0       1       0       0       0      0
    1654      10/22/2017 13:05       TN          3         2   2     0       0       1       0       0       0      0
    1656      10/22/2017 13:09       DC          3         2   4     0       0       1       0       0       0      0
    1672      10/22/2017 13:20       GA          3         2   4     0       0       1       0       0       0      0
    1678      10/22/2017 13:36       DC          3         2   4     0       0       1       0       0       0      0
    1679      10/22/2017 13:26       MD          3         2   2     0       0       1       0       0       0      0
    1686      10/22/2017 13:35       PA          1         2   4     0       0       1       0       0       0      0
    1688      10/22/2017 13:47       VA          3         2   4     0       0       1       0       0       0      0
    1689      10/22/2017 13:39       GA          3         2   2     0       0       1       0       0       0      0
    1693      10/22/2017 13:42       NC          3         2   4     0       0       1       0       0       0      0
    1695      10/22/2017 13:42       IL          2         2   2     0       0       1       0       0       0      0
    1700      10/22/2017 13:48       KS          2         2   4     0       0       1       0       0       0      0
    1706      10/22/2017 13:55       NY          1         2   2     0       0       1       0       0       0      0
    1716      10/22/2017 14:05       TX          3         2   2     0       0       1       0       0       0      0
    1729      10/22/2017 14:16       TN          3         2   4     0       0       1       0       0       0      0
    1731      10/22/2017 14:20       GA          3         2   2     0       0       1       0       0       0      0
    1736      10/22/2017 14:25       FL          3         2   2     0       0       1       0       0       0      0
    1740      10/22/2017 14:29       NY          1         2   2     0       0       1       0       0       0      0
    1743      10/22/2017 14:30       MD          3         2   2     0       0       1       0       0       0      0
    1755      10/22/2017 14:55       MD          3         2   2     0       0       1       0       0       0      0
    1756      10/22/2017 14:58       VA          3         2   4     0       0       1       0       0       0      0
    1763      10/22/2017 15:08       GA          3         2   2     0       0       1       0       0       0      0
    1765      10/22/2017 15:17       OH          2         2   2     0       0       1       0       0       0      0
    1767      10/22/2017 15:20       NC          3         2   2     0       0       1       0       0       0      0
    1779      10/22/2017 15:37       OH          2         2   4     0       0       1       0       0       0      0
    1784      10/22/2017 16:00       DE          3         2   4     0       0       1       0       0       0      0
    1788      10/22/2017 16:00       PA          1         2   4     0       0       1       0       0       0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                Page 49
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 152 of 172
                                                               Survey Data File

 responseid     qd_8        qe_1        qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1    qf_2   qf_3   qf_4
    1592         0           1           1      1       1       0       1       0       0       1       1      1      1
    1598         0           1           1      0       1       1       1       0       0       1       1      1      1
    1613         0           0           1      1       1       0       1       0       0       1       0      1      1
    1615         0           1           1      0       1       1       1       0       0       1       0      1      1
    1616         0           0           1      0       1       0       0       0       0       0       1      1      1
    1618         0           1           1      0       1       0       0       0       0       1       0      1      1
    1619         0           1           1      0       1       0       1       0       0       1       0      1      1
    1623         0           1           1      0       1       0       1       0       0       1       1      1      1
    1629         0           1           1      1       1       0       1       0       0       1       1      1      1
    1631         0           1           1      1       1       1       1       0       0       1       1      1      1
    1637         0           1           1      0       1       0       1       0       0       0       1      1      1
    1649         0           0           1      0       0       0       1       0       0       1       0      1      1
    1650         0           1           1      1       1       1       1       0       0       1       1      1      1
    1652         0           0           1      0       1       0       0       0       0       0       0      1      1
    1654         0           1           1      0       1       0       1       0       0       0       0      1      1
    1656         0           1           1      0       1       1       1       0       0       1       0      1      1
    1672         0           1           1      0       1       0       0       0       0       1       1      1      1
    1678         0           1           1      0       0       1       1       0       0       0       0      1      1
    1679         0           1           1      1       1       1       1       0       0       1       1      1      1
    1686         0           1           1      1       1       0       0       0       0       0       0      1      1
    1688         0           0           1      0       1       1       0       0       0       0       0      1      1
    1689         0           0           1      1       1       1       1       0       0       0       0      1      1
    1693         0           1           1      1       1       0       1       0       0       1       0      1      1
    1695         0           1           1      1       1       1       1       0       0       1       1      1      1
    1700         0           1           1      1       1       1       0       0       0       0       0      1      1
    1706         0           1           1      0       1       1       1       0       0       1       0      1      0
    1716         0           0           1      0       0       0       0       0       0       0       0      1      1
    1729         0           1           1      1       1       1       1       0       0       1       0      1      1
    1731         0           1           1      1       1       0       0       0       0       1       1      1      1
    1736         0           1           1      1       1       1       1       0       0       1       0      1      1
    1740         0           1           1      0       1       0       0       0       0       0       1      1      1
    1743         0           1           1      0       1       0       1       0       0       1       1      1      1
    1755         0           0           1      1       1       0       0       0       0       1       1      1      1
    1756         0           1           1      0       1       0       1       0       0       1       0      1      1
    1763         0           0           1      0       0       0       0       0       0       0       0      1      1
    1765         0           1           1      0       1       1       1       0       0       1       1      1      1
    1767         0           1           1      0       1       0       1       0       0       1       0      1      1
    1779         0           0           1      0       1       0       0       0       0       0       0      1      1
    1784         0           1           1      1       1       0       1       0       0       0       0      1      1
    1788         0           1           1      1       1       1       1       0       0       1       0      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 50
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 153 of 172
                                                               Survey Data File

 responseid     qf_5        qf_6        qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3    qh_4   qi   qj
    1592         0           0           1      1       0       0       0       2       2       2       2     1    2
    1598         0           0           1      0       0       0       0       2       2       2       2     1    1
    1613         0           0           1      1       0       0       0       2       2       2       2     1    1
    1615         0           0           1      1       0       0       0       2       2       2       2     1    2
    1616         0           0           1      0       0       0       0       2       2       2       2     1    2
    1618         0           0           1      1       0       0       0       2       2       2       2     1    1
    1619         0           0           1      0       0       0       0       2       2       2       2     1    1
    1623         0           0           1      1       0       0       0       2       2       2       2     1    1
    1629         0           0           1      1       1       0       0       2       2       2       2     1    1
    1631         0           0           1      1       0       0       0       2       2       2       2     1    1
    1637         0           0           1      1       0       0       0       2       2       2       2     1    2
    1649         0           0           1      1       0       0       0       2       2       2       2     1    2
    1650         0           0           1      0       1       0       0       2       2       2       2     1    2
    1652         0           0           1      1       0       0       0       2       2       2       2     1    1
    1654         0           0           1      1       0       0       0       2       2       2       2     1    1
    1656         0           0           1      1       0       0       0       2       2       2       2     1    2
    1672         0           0           1      1       0       0       0       2       2       2       2     1    2
    1678         0           0           1      0       0       0       0       2       2       2       2     1    2
    1679         0           0           1      1       0       0       0       2       2       2       2     1    1
    1686         0           0           1      0       0       0       0       2       2       2       2     1    1
    1688         0           0           1      0       0       0       0       2       2       2       2     1    1
    1689         0           0           1      0       0       0       0       2       2       2       2     1    2
    1693         0           0           1      0       0       0       0       2       2       2       2     1    1
    1695         0           0           1      0       0       0       0       2       2       2       2     1    2
    1700         0           0           1      0       0       0       0       2       2       2       2     1    1
    1706         0           0           1      0       0       0       0       2       2       2       2     1    1
    1716         0           0           1      0       0       0       0       2       2       2       2     1    2
    1729         0           0           1      1       1       0       0       2       2       2       2     1    1
    1731         0           0           1      1       0       0       0       2       2       2       2     1    1
    1736         0           0           1      1       0       0       0       2       2       2       2     1    2
    1740         0           0           1      1       0       0       0       2       2       2       2     1    2
    1743         0           0           1      1       0       0       0       2       2       2       2     1    1
    1755         0           0           1      0       0       0       0       2       2       2       2     1    1
    1756         0           0           1      0       0       0       0       2       2       2       2     1    1
    1763         0           0           1      0       0       0       0       2       2       2       2     1    1
    1765         0           0           1      1       0       0       0       2       2       2       2     1    1
    1767         0           0           1      1       0       0       0       2       2       2       2     1    1
    1779         0           0           1      0       0       0       0       2       2       2       2     1    1
    1784         0           0           1      0       0       0       0       2       2       2       2     1    1
    1788         0           0           1      0       0       0       0       2       2       2       2     1    1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                              Page 51
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 154 of 172
                                                               Survey Data File

 responseid      qk           ql         q1     q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6    q3_7   q3_8   q3_9
    1592                                  5      5      1       1       1       1       2       1       1      1      1
    1598          1                       5      3      1       1       1       1       1       1       1      2      1
    1613          1                       5      4      2       1       1       1       1       1       1      1      1
    1615                                  5      3      2       2       1       1       1       2       1      2      1
    1616                                  5      3      3       3       2       2       1       1       1      2      3
    1618          1                       5      3      1       1       1       1       1       1       1      3      1
    1619          2           1           3      1      1       3       1       1       1       1       1      1      1
    1623          1                       4      3      1       1       1       1       1       1       1      3      1
    1629          2           1           4      5      2       2       2       2       1       1       1      1      1
    1631          1                       4      5      2       1       1       1       3       2       1      1      1
    1637                                  5      4      1       1       1       2       1       1       1      1      1
    1649                                  2      3      2       2       2       1       1       1       1      1      3
    1650                                  5      3      1       1       1       1       1       1       1      1      1
    1652          1                       3      4      2       2       1       1       1       1       1      1      1
    1654          1                       5      4      1       1       1       1       1       2       1      1      1
    1656                                  2      3      2       1       1       1       1       1       1      1      1
    1672                                  5      4      1       1       1       1       1       1       1      1      1
    1678                                  2      4      2       1       2       1       1       1       1      1      1
    1679          1                       4      3      1       2       1       1       3       1       1      1      1
    1686          1                       5      3      2       1       1       1       1       1       1      1      1
    1688          1                       5      3      2       1       1       1       1       1       1      1      1
    1689                                  5      4      1       3       1       1       1       3       1      3      1
    1693          1                       5      3      1       1       1       1       1       1       1      1      1
    1695                                  5      4      1       1       1       1       1       1       1      1      1
    1700          1                       5      1      1       2       1       1       1       1       1      1      1
    1706          1                       4      4      2       2       2       1       1       1       1      2      1
    1716                                  5      2      1       1       1       1       1       1       1      1      1
    1729          1                       5      4      2       1       1       1       1       1       1      1      1
    1731          1                       3      4      1       1       1       2       1       2       2      1      1
    1736                                  5      3      1       1       1       1       1       1       1      1      1
    1740                                  5      4      1       1       1       1       1       1       1      1      1
    1743          1                       5      4      1       1       1       1       1       1       1      2      1
    1755          2           1           2      3      1       1       1       1       1       1       1      1      1
    1756          1                       3      1      2       2       2       1       1       1       1      1      1
    1763          1                       5      4      2       2       1       1       1       1       1      2      1
    1765          1                       5      4      1       1       1       1       1       1       1      1      1
    1767          1                       5      5      1       1       2       1       1       1       1      2      1
    1779          1                       5      5      1       1       1       1       1       1       1      1      1
    1784          1                       4      3      3       2       3       1       1       1       1      1      1
    1788          1                       5      3      1       1       1       1       1       1       2      1      1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 52
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 155 of 172
                                                               Survey Data File

 responseid     q3_10       q3_11       q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1    q5_2   q5_3   q5_4
    1592          1           1           2       2       2      1      1       1       2       0       0      0      0
    1598          1           2           1       2       2      1      1       2       2       1       0      0      1
    1613          1           1           1       2       2      1      2       2       2       1       0      0      0
    1615          1           1           2       2       2      2      2       2       2       1       0      1      0
    1616          3           3           1       2       2      1      2       2       2       0       0      0      1
    1618          1           1           1       2       2      1      1       1       3       0       0      0      1
    1619          1           2           3       2       2      1      1       2       2       0       0      0      1
    1623          1           3           1       2       2      1      1       2       3       1       0      0      1
    1629          1           1           2       2       2      2      2       2       2       1       0      0      0
    1631          1           1           1       2       2      1      1       1       2       1       0      0      0
    1637          1           1           2       2       2      1      1       1       2       0       0      0      1
    1649          1           1           1       2       2      2      2       2       2       1       0      0      0
    1650          1           1           2       2       2      1      1       1       2       0       0      0      0
    1652          1           1           1       2       2      2      2       2       2       0       0      0      0
    1654          1           2           2       2       2      1      1       2       3       0       0      0      0
    1656          1           1           1       3       2      1      1       1       2       1       0      0      0
    1672          2           2           1       2       2      1      1       1       2       1       0      0      1
    1678          1           1           1       2       2      1      2       2       2       0       0      0      0
    1679          1           1           1       2       2      1      2       2       2       0       0      0      1
    1686          1           2           1       2       2      1      1       1       2       0       0      0      0
    1688          1           1           1       2       2      1      2       2       2       0       0      0      0
    1689          1           1           1       2       2      1      2       2       2       0       0      0      0
    1693          1           1           1       2       2      1      1       1       2       1       0      0      0
    1695          1           1           3       2       2      1      2       2       2       1       1      0      1
    1700          1           1           1       2       2      1      1       2       2       0       0      0      0
    1706          1           1           1       2       2      1      2       2       3       1       0      0      0
    1716          1           1           2       2       2      1      1       2       2       0       0      0      0
    1729          1           1           1       2       2      2      2       2       2       0       0      0      0
    1731          1           1           1       2       1      1      1       1       2       1       0      1      1
    1736          1           1           1       2       2      1      1       2       2       1       0      0      0
    1740          1           1           2       2       2      1      1       1       2       0       0      0      1
    1743          1           1           1       2       2      1      1       1       2       1       0      0      1
    1755          1           1           1       2       2      1      2       2       2       0       0      0      0
    1756          1           1           1       2       2      1      2       2       2       1       0      0      0
    1763          1           1           1       2       2      1      2       2       2       0       0      0      1
    1765          1           1           1       1       2      1      2       2       2       0       0      0      1
    1767          1           1           1       2       2      1      1       2       2       1       0      0      0
    1779          1           1           2       2       2      2      2       2       2       0       0      0      0
    1784          1           1           3       2       2      2      2       2       3       0       0      0      0
    1788          1           1           1       2       2      1      1       2       2       1       1      0      0


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 53
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 156 of 172
                                                               Survey Data File

 responseid     q5_5        q5_6        q5_7   q5_8    q5_9   q5_10   q5_11   q5_12   q5_13     q6
    1592         1           1           1      1       0       0       0       0       0        1
    1598         1           1           1      1       0       1       1       0       0        1
    1613         1           1           0      0       0       0       0       0       0        1
    1615         1           1           1      0       0       1       1       0       0        1
    1616         1           1           1      1       0       0       0       0       0        1
    1618         1           1           1      0       0       1       1       0       0        1
    1619         1           1           1      0       0       0       0       0       0        1
    1623         1           1           1      1       1       1       1       0       0        1
    1629         1           1           0      0       1       1       1       0       0        1
    1631         1           1           0      1       0       0       0       0       0        1
    1637         1           1           1      0       1       1       1       0       0        1
    1649         1           1           1      1       1       1       0       0       0        1
    1650         1           1           1      1       0       1       1       0       0        1
    1652         1           1           1      0       0       1       1       0       0        1
    1654         1           1           0      0       0       1       0       0       0        1
    1656         1           0           1      0       1       0       0       0       0        1
    1672         1           1           1      1       0       0       1       0       0        1
    1678         1           1           1      1       0       0       1       0       0        1
    1679         1           1           1      1       1       1       0       0       0        1
    1686         1           1           1      1       0       0       1       0       0        1
    1688         1           1           1      1       0       0       1       0       0        1
    1689         1           1           1      1       0       1       1       0       0        1
    1693         1           1           1      1       0       1       0       0       0        1
    1695         1           1           1      1       1       1       1       0       0        1
    1700         1           1           1      0       0       0       0       0       0        1
    1706         1           1           0      1       0       1       0       0       0        1
    1716         1           1           1      1       0       0       0       0       0        1
    1729         1           1           0      1       0       1       0       0       0        1
    1731         1           1           1      1       0       1       0       0       0        1
    1736         1           1           1      1       1       1       1       0       0        1
    1740         1           1           1      1       1       1       1       0       0        1
    1743         1           1           0      1       0       1       0       0       0        1
    1755         0           0           1      0       0       0       1       0       0        1
    1756         1           1           0      0       0       0       0       0       0        1
    1763         1           1           1      1       0       1       1       0       0        1
    1765         1           1           1      1       0       1       1       0       0        1
    1767         1           1           1      1       0       1       1       0       0        1
    1779         1           1           1      0       0       0       0       0       0        1
    1784         1           1           1      1       0       1       0       0       0        1
    1788         1           1           1      0       0       0       0       0       0        1


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 54
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 157 of 172
                                                               Survey Data File

 responseid     interview_end        qa      hidqregion   qb   qc   qd_1    qd_2    qd_3    qd_4    qd_5    qd_6   qd_7
    1794      10/22/2017 15:59       NY          1         2   2     0       0       1       0       0       0      0
    1798      10/22/2017 16:21       TX          3         2   4     0       0       1       0       0       0      0
    1802       10/23/2017 9:36       FL          3         2   4     0       0       1       0       0       0      0
    1808       10/23/2017 9:51       GA          3         2   2     0       0       1       0       0       0      0
    1809       10/23/2017 9:52       NC          3         2   4     0       0       1       0       0       0      0
    1810       10/23/2017 9:53       IL          2         2   4     0       0       1       0       0       0      0
    1819      10/23/2017 10:05       GA          3         2   4     0       0       1       0       0       0      0
    1828      10/23/2017 10:24       MD          3         2   2     0       0       1       0       0       0      0
    1837      10/23/2017 10:44       MS          3         2   4     0       0       1       0       0       0      0
    1843      10/23/2017 10:53       VA          3         2   4     0       0       1       0       0       0      0
    1850      10/23/2017 11:09       TX          3         2   2     0       0       1       0       0       0      0
    1854      10/23/2017 11:11       VA          3         2   2     0       0       1       0       0       0      0
    1864      10/23/2017 11:28       GA          3         2   2     0       0       1       0       0       0      0
    1872      10/23/2017 12:11       OH          2         2   4     0       0       1       0       0       0      0
    1884      10/23/2017 13:12       IL          2         2   4     0       0       1       0       0       0      0
    1888      10/23/2017 13:25       NC          3         2   4     0       0       1       0       0       0      0
    1889      10/23/2017 13:32       SC          3         2   4     0       0       1       0       0       0      0
    1898      10/23/2017 14:17       TX          3         2   3     0       0       1       0       0       0      0
    1905      10/23/2017 14:43       FL          3         2   4     0       0       1       0       0       0      0




Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                Page 55
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 158 of 172
                                                               Survey Data File

 responseid     qd_8        qe_1        qe_2   qe_3    qe_4    qe_5    qe_6    qe_7    qe_8    qf_1    qf_2   qf_3   qf_4
    1794         0           0           1      0       1       0       1       0       0       0       1      1      1
    1798         0           1           1      0       1       0       1       0       0       0       0      1      1
    1802         0           1           1      0       1       0       1       0       0       1       0      1      1
    1808         0           1           1      1       1       1       1       0       0       1       1      1      1
    1809         0           1           1      1       1       1       1       0       0       0       0      1      1
    1810         0           1           1      1       1       0       1       0       0       1       1      1      1
    1819         0           0           1      1       1       0       0       0       0       1       0      1      1
    1828         0           0           1      1       1       0       0       0       0       0       1      1      1
    1837         0           1           1      1       1       0       0       0       0       1       0      1      1
    1843         0           0           1      0       1       0       0       0       0       0       0      1      1
    1850         0           1           1      1       1       1       1       0       0       0       1      1      1
    1854         0           1           1      1       1       0       0       0       0       0       1      1      1
    1864         0           1           1      1       1       1       1       0       0       1       1      1      1
    1872         0           0           1      0       1       0       1       0       0       1       0      1      1
    1884         0           1           1      0       1       0       0       0       0       0       1      1      1
    1888         0           0           1      0       1       0       1       0       0       1       0      1      1
    1889         0           1           1      1       1       0       1       0       0       0       0      1      1
    1898         0           1           1      0       0       0       1       0       0       1       0      1      0
    1905         0           1           1      0       1       1       0       0       0       1       0      1      1




Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 56
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 159 of 172
                                                               Survey Data File

 responseid     qf_5        qf_6        qg_1   qg_2    qg_3    qg_4    qg_5    qh_1    qh_2    qh_3    qh_4   qi   qj
    1794         0           0           1      1       0       0       0       2       2       2       2     1    2
    1798         0           0           1      0       0       0       0       2       2       2       2     1    1
    1802         0           0           1      0       1       0       0       2       2       2       2     1    2
    1808         0           0           1      1       0       0       0       2       2       2       2     1    2
    1809         0           0           1      0       0       0       0       2       2       2       2     1    1
    1810         0           0           1      0       1       0       0       2       2       2       2     1    2
    1819         0           0           1      0       0       0       0       2       2       2       2     1    1
    1828         0           0           1      0       0       0       0       2       2       2       2     1    2
    1837         0           0           1      1       0       0       0       2       2       2       2     1    1
    1843         0           0           1      0       0       0       0       2       2       2       2     1    2
    1850         0           0           1      1       0       0       0       2       2       2       2     1    2
    1854         0           0           1      1       0       0       0       2       2       2       2     1    1
    1864         0           0           1      0       1       0       0       2       2       2       2     1    2
    1872         0           0           1      0       0       0       0       2       2       2       2     1    2
    1884         0           0           1      1       0       0       0       2       2       2       2     1    1
    1888         0           0           1      0       0       0       0       2       2       2       2     1    1
    1889         0           0           1      0       0       0       0       2       2       2       2     1    1
    1898         0           0           1      0       0       0       0       2       2       2       2     1    2
    1905         0           0           1      0       0       0       0       2       2       2       2     1    1




Exhibit 7 - Hibbard Expert Rebuttal Report                                                                              Page 57
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 160 of 172
                                                               Survey Data File

 responseid      qk           ql         q1     q2     q3_1    q3_2    q3_3    q3_4    q3_5    q3_6    q3_7   q3_8   q3_9
    1794                                  5      3      1       1       2       1       1       1       1      1      1
    1798          1                       3      3      3       1       1       1       1       1       1      1      1
    1802                                  5      2      2       2       2       2       1       1       1      1      1
    1808                                  5      4      1       1       1       3       1       1       1      1      1
    1809          1                       5      4      1       1       1       1       1       1       1      1      1
    1810                                  5      1      2       1       2       1       1       1       1      1      1
    1819          1                       5      4      1       2       1       1       1       1       1      1      1
    1828                                  5      2      1       1       1       1       1       1       1      1      1
    1837          1                       4      4      2       1       1       1       1       1       1      1      1
    1843                                  4      2      3       1       1       1       1       1       1      1      1
    1850                                  3      1      1       2       2       1       1       1       1      1      1
    1854          1                       4      3      1       2       1       1       1       1       1      1      1
    1864                                  5      3      1       1       1       1       1       1       1      1      1
    1872                                  5      2      2       1       1       2       1       2       1      1      1
    1884          1                       4      4      1       1       1       1       1       1       1      1      1
    1888          1                       5      4      2       1       1       1       1       1       1      1      1
    1889          1                       5      4      1       1       1       1       1       1       1      1      1
    1898                                  5      2      1       2       1       1       1       1       1      1      1
    1905          1                       5      2      1       3       1       1       1       1       1      1      3




Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 58
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 161 of 172
                                                               Survey Data File

 responseid     q3_10       q3_11       q3_12   q3_13   q3_14   q4_1   q4_2    q4_3    q4_4    q5_1    q5_2   q5_3   q5_4
    1794          3           3           1       2       2      1      1       1       2       0       0      0      1
    1798          1           1           1       2       2      1      2       2       2       0       1      0      0
    1802          1           1           1       2       2      1      1       2       2       1       0      0      0
    1808          1           1           1       2       2      1      2       2       2       1       0      0      1
    1809          1           1           3       2       2      1      1       2       2       0       0      0      0
    1810          1           1           1       2       2      2      3       3       2       0       0      0      0
    1819          1           1           1       2       2      1      2       2       2       1       0      0      0
    1828          1           1           2       2       2      1      1       1       2       0       0      0      1
    1837          1           1           1       2       2      1      1       1       2       1       0      0      0
    1843          1           1           1       2       2      1      1       2       2       0       0      0      0
    1850          1           1           1       2       2      1      2       2       2       0       0      0      1
    1854          1           1           1       2       2      1      2       2       2       0       0      0      1
    1864          1           1           1       2       2      1      1       2       2       0       0      0      1
    1872          1           1           3       2       2      1      1       1       3       1       0      0      0
    1884          1           1           1       2       2      2      2       2       2       0       0      0      0
    1888          1           1           1       2       2      1      2       2       2       1       0      0      0
    1889          1           1           1       2       2      1      2       2       2       0       0      0      0
    1898          1           1           3       2       2      1      1       2       3       1       0      0      0
    1905          3           1           3       2       2      2      2       2       2       1       0      0      0




Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                  Page 59
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 162 of 172
                                                               Survey Data File

 responseid     q5_5        q5_6        q5_7   q5_8    q5_9   q5_10   q5_11   q5_12   q5_13     q6
    1794         1           1           1      1       0       1       0       0       0        1
    1798         1           1           1      1       0       0       1       0       0        1
    1802         1           1           1      1       0       1       1       0       0        1
    1808         1           1           1      1       1       1       1       0       0        1
    1809         1           1           1      1       0       1       1       0       0        1
    1810         0           0           0      0       0       0       0       1       0        1
    1819         1           1           1      1       0       0       1       0       0        1
    1828         1           1           1      0       0       1       1       0       0        1
    1837         0           0           0      0       0       0       0       0       0        1
    1843         1           1           1      0       0       0       1       0       0        1
    1850         1           1           1      1       0       0       0       0       0        1
    1854         1           1           1      1       0       1       0       0       0        1
    1864         1           1           1      1       0       1       0       0       0        1
    1872         1           1           1      0       0       0       1       0       0        1
    1884         1           1           1      1       0       0       0       0       0        1
    1888         1           1           1      1       1       0       1       0       0        1
    1889         1           1           1      1       0       0       1       0       0        1
    1898         1           1           1      1       0       1       0       0       0        1
    1905         0           0           0      0       0       0       0       0       0        1




Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 60
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 163 of 172
                                                              Survey Data Map

                                                                                Variable Information
Variable                                                                                         Label
responseid           ResponseID
interview_end        Interview End
qa                   In what state do you live?
hidqregion           Region
qb                   What is your gender?
qc                   What is your age?
qd_1                 Please specify your race or ethnicity. - White or Caucasian
qd_2                 Please specify your race or ethnicity. - Hispanic or Latino
qd_3                 Please specify your race or ethnicity. - Black or African American
qd_4                 Please specify your race or ethnicity. - Native American or American Indian
qd_5                 Please specify your race or ethnicity. - Asian or Pacific Islander
qd_6                 Please specify your race or ethnicity. - Other
qd_7                 Please specify your race or ethnicity. - I don’t know
qd_8                 Please specify your race or ethnicity. - Prefer not to answer
qe_1                 Which, if any, of the following items have you purchased in the past 5 years? - Nail care products (like hardener and polish)
qe_2                 Which, if any, of the following items have you purchased in the past 5 years? - Hair care products (like shampoo, hair care kits, and conditioner)
qe_3                 Which, if any, of the following items have you purchased in the past 5 years? - Foot care products (like creams and orthotics)
qe_4                 Which, if any, of the following items have you purchased in the past 5 years? - Skin care products (like lotions and cleansers)
qe_5                 Which, if any, of the following items have you purchased in the past 5 years? - First aid kit
qe_6                 Which, if any, of the following items have you purchased in the past 5 years? - Vitamins (like multi-vitamins, Vitamin A, or Vitamin C)
qe_7                 Which, if any, of the following items have you purchased in the past 5 years? - None of these
qe_8                 Which, if any, of the following items have you purchased in the past 5 years? - I don’t know
qf_1                 Which, if any, of the following hair care products have you purchased in the past 5 years? - Hair color kit
qf_2                 Which, if any, of the following hair care products have you purchased in the past 5 years? - Hair extensions
qf_3                 Which, if any, of the following hair care products have you purchased in the past 5 years? - Hair relaxer kit
qf_4                 Which, if any, of the following hair care products have you purchased in the past 5 years? - Shampoo
qf_5                 Which, if any, of the following hair care products have you purchased in the past 5 years? - None of these
qf_6                 Which, if any, of the following hair care products have you purchased in the past 5 years? - I don’t know
qg_1                 A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if any, of the following types of hair...? - No-lye hair
                     relaxer kit (described on the package as “no-lye”)
qg_2                 A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if any, of the following types of hair...? -
                     Conditioning hair relaxer kit (described on the package as “conditioning”)
qg_3                 A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if any, of the following types of hair...? - Children’s
                     hair relaxer kit (described on the package as for children)
qg_4                 A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if any, of the following types of hair...? - None of
                     these
qg_5                 A hair relaxer kit contains lotions or creams that relax or straighten naturally curly or kinky hair. Which, if any, of the following types of hair...? - I don’t
                     know



Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                                                                           Page 1
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 164 of 172
                                                              Survey Data Map

                                                                              Variable Information
Variable                                                                                       Label
qh_1                 Do you, or does anyone in your household, work in any of the following types of businesses? - Marketing research
qh_2                 Do you, or does anyone in your household, work in any of the following types of businesses? - Advertising or public relations
qh_3                 Do you, or does anyone in your household, work in any of the following types of businesses? - Manufacturer, distributor, or retailer of hair care products
qh_4                 Do you, or does anyone in your household, work in any of the following types of businesses? - Hair salon or hair stylist
qi                   In the past 30 days, how many surveys have you participated in regarding hair care products?
qj                   Do you usually wear eyeglasses or contact lenses when you use an electronic device like the one you are using now?
qk                   Are you wearing your eyeglasses or contact lenses right now?
ql                   Please put on your eyeglasses or contact lenses to complete the remainder of the survey. After you have put on your eyeglasses or contact lenses, please select
                     the appropriate option below.
q1                   How many times have you ever purchased a no-lye hair relaxer kit? As a reminder, a no-lye hair relaxer kit contains lotions or creams that relax or straighten
                     naturally curly or kinky hair.
q2                   How often do you typically purchase no-lye hair relaxer kits?
q3_1                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers use strong chemicals to straighten hair.
q3_2                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers may cause hair to fall out.
q3_3                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers may irritate the scalp.
q3_4                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers may damage hair or skin.
q3_5                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers come in a package that has safety warnings.
q3_6                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers should be put on hair after applying scalp protector.
q3_7                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers should be applied to hair while wearing gloves.
q3_8                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers should be applied to hair after conducting a strand test.
q3_9                 Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers provide results that vary depending on hair type.
q3_10                Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers come with conditioner.
q3_11                Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers come with moisturizer.
q3_12                Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers are recommended by people I trust.
q3_13                Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers come with silver earrings.


Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                                                                     Page 2
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 165 of 172
                                                              Survey Data Map

                                                                               Variable Information
Variable                                                                                        Label
q3_14                Please answer this question thinking about no-lye hair relaxer kits. Some, all, or none of the statements below may describe your beliefs about... - No-lye hair
                     relaxers should be applied only while driving.
q4_1                 Which, if any, of the following have you ever experienced as a result of using a no-lye hair relaxer? - Scalp burning
q4_2                 Which, if any, of the following have you ever experienced as a result of using a no-lye hair relaxer? - Hair breakage
q4_3                 Which, if any, of the following have you ever experienced as a result of using a no-lye hair relaxer? - Hair loss
q4_4                 Which, if any, of the following have you ever experienced as a result of using a no-lye hair relaxer? - Darcy disease
q5_1                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair coloring or hair dye
q5_2                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair bleach or lightener
q5_3                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair highlights
q5_4                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair braids or extensions
q5_5                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Shampoo
q5_6                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Conditioner
q5_7                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair brush or comb
q5_8                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hair dryer
q5_9                 Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Hot comb
q5_10                Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Flat iron
q5_11                Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     Curling iron
q5_12                Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. -
                     None of these
q5_13                Below is a list of items sometimes used for hair care. Please select the items, if any, that you typically use on or in your hair at least once every 3 months. - I
                     don’t know
q6                   Please read the statement that follows and click either 'I agree' or 'I disagree.' If any portion of the statement is not true, please click 'I disagree.'...




Exhibit 7 - Hibbard Expert Rebuttal Report                                                                                                                                         Page 3
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 166 of 172
                                                              Survey Data Map

                                                                 Variable Values
Value                                                                          Label
qa              98   Other or I don’t know
                AK   Alaska
                AL   Alabama
                AR   Arkansas
                AZ   Arizona
                CA   California
                CO   Colorado
                CT   Connecticut
                DC   Washington D.C.
                DE   Delaware
                FL   Florida
                GA   Georgia
                HI   Hawaii
                IA   Iowa
                ID   Idaho
                IL   Illinois
                IN   Indiana
                KS   Kansas
                KY   Kentucky
                LA   Louisiana
                MA   Massachusetts
                MD   Maryland
                ME   Maine
                MI   Michigan
                MN   Minnesota
                MO   Missouri
                MS   Mississippi
                MT   Montana
                NC   North Carolina
                ND   North Dakota
                NE   Nebraska
                NH   New Hampshire
                NJ   New Jersey
                NM   New Mexico
                NV   Nevada
                NY   New York
                OH   Ohio
                OK   Oklahoma



Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 4
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 167 of 172
                                                              Survey Data Map

                                                                 Variable Values
Value                                                                          Label
                OR   Oregon
                PA   Pennsylvania
                RI   Rhode Island
                SC   South Carolina
                SD   South Dakota
                TN   Tennessee
                TX   Texas
                UT   Utah
                VA   Virginia
                VT   Vermont
                WA   Washington
                WI   Wisconsin
                WV   West Virginia
                WY   Wyoming
hidqregion       1   Northeast
                 2   Midwest
                 3   South
                 4   West
qb               1   Male
                 2   Female
                 3   Prefer not to answer
qc               1   17 years old or younger
                 2   18 to 34 years old
                 3   35 to 54 years old
                 4   55 years old or older
                 5   Prefer not to answer
qd_1             0   No
                 1   Yes
qd_2             0   No
                 1   Yes
qd_3             0   No
                 1   Yes
qd_4             0   No
                 1   Yes
qd_5             0   No
                 1   Yes
qd_6             0   No
                 1   Yes



Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 5
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 168 of 172
                                                              Survey Data Map

                                                                 Variable Values
Value                                                                          Label
qd_7             0   No
                 1   Yes
qd_8             0   No
                 1   Yes
qe_1             0   No
                 1   Yes
qe_2             0   No
                 1   Yes
qe_3             0   No
                 1   Yes
qe_4             0   No
                 1   Yes
qe_5             0   No
                 1   Yes
qe_6             0   No
                 1   Yes
qe_7             0   No
                 1   Yes
qe_8             0   No
                 1   Yes
qf_1             0   No
                 1   Yes
qf_2             0   No
                 1   Yes
qf_3             0   No
                 1   Yes
qf_4             0   No
                 1   Yes
qf_5             0   No
                 1   Yes
qf_6             0   No
                 1   Yes
qg_1             0   No
                 1   Yes
qg_2             0   No
                 1   Yes
qg_3             0   No
                 1   Yes



Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 6
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 169 of 172
                                                              Survey Data Map

                                                                                 Variable Values
Value                                                                                          Label
qg_4             0   No
                 1   Yes
qg_5             0   No
                 1   Yes
qh_1             1   Yes
                 2   No
                 3   I don’t know
qh_2             1   Yes
                 2   No
                 3   I don’t know
qh_3             1   Yes
                 2   No
                 3   I don’t know
qh_4             1   Yes
                 2   No
                 3   I don’t know
qi               1   None
                 2   1 or 2
                 3   3 or more
                 4   I don’t know
qj               1   Yes, I do usually wear eyeglasses or contact lenses when I use this type of device
                 2   No, I do not usually wear eyeglasses or contact lenses when I use this type of device
qk               1   Yes, I am wearing my eyeglasses or contact lenses right now
                 2   No, I am not wearing my eyeglasses or contact lenses right now
ql               1   Yes, I am wearing my eyeglasses or contact lenses
                 2   No, I am not wearing my eyeglasses or contact lenses
q1               1   Never
                 2   1 to 2 times
                 3   3 to 5 times
                 4   6 to 10 times
                 5   More than 10 times
                 6   I don’t know




Exhibit 7 - Hibbard Expert Rebuttal Report                                                                   Page 7
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 170 of 172
                                                              Survey Data Map

                                                                                 Variable Values
Value                                                                                          Label
q2               1   Less often than once per year
                 2   Once per year
                 3   2 to 3 times per year
                 4   Once every 2 to 3 months
                 5   About once per month
                 6   More often than once per month
                 7   I don’t know
q3_1             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_2             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_3             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_4             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_5             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_6             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_7             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_8             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_9             1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_10            1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know




Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 8
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 171 of 172
                                                              Survey Data Map

                                                                                   Variable Values
Value                                                                                            Label
q3_11            1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_12            1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_13            1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q3_14            1   Yes, this does describe my beliefs about no-lye hair relaxers
                 2   No, this does not describe my beliefs about no-lye hair relaxers
                 3   I don’t know
q4_1             1   Yes, I have experienced this as a result of using a no-lye hair relaxer
                 2   No, I have not experienced this as a result of using a no-lye hair relaxer
                 3   I don’t know
q4_2             1   Yes, I have experienced this as a result of using a no-lye hair relaxer
                 2   No, I have not experienced this as a result of using a no-lye hair relaxer
                 3   I don’t know
q4_3             1   Yes, I have experienced this as a result of using a no-lye hair relaxer
                 2   No, I have not experienced this as a result of using a no-lye hair relaxer
                 3   I don’t know
q4_4             1   Yes, I have experienced this as a result of using a no-lye hair relaxer
                 2   No, I have not experienced this as a result of using a no-lye hair relaxer
                 3   I don’t know
q5_1             0   No
                 1   Yes
q5_2             0   No
                 1   Yes
q5_3             0   No
                 1   Yes
q5_4             0   No
                 1   Yes
q5_5             0   No
                 1   Yes
q5_6             0   No
                 1   Yes
q5_7             0   No
                 1   Yes



Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 9
                                     Case 1:16-cv-06593-JSR Document 165-5 Filed 01/20/18 Page 172 of 172
                                                              Survey Data Map

                                                                 Variable Values
Value                                                                          Label
q5_8             0   No
                 1   Yes
q5_9             0   No
                 1   Yes
q5_10            0   No
                 1   Yes
q5_11            0   No
                 1   Yes
q5_12            0   No
                 1   Yes
q5_13            0   No
                 1   Yes
q6               1   I agree
                 2   I disagree




Exhibit 7 - Hibbard Expert Rebuttal Report                                                                  Page 10
